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                                       In Defense of Animals v. United States Department of Agriculture (Civil Action No. 02-0557)

                                                                              Vaughn Index



Bates        Category of Records               Description                           WIF/W IP      Exemption(s)      Description Items Withheld in Part (WIP) or Records
Stamp #(s)                                                                                                           Withheld in Full (WIF)
*

LSR0228      Miscellaneous Records             Table of Contents for HLS             WIP           (b)(4)            The appendices section of the Table of Contents lists three
                                               Executive Rep ort                                                     HLS clients.


LSR0229      Miscellaneous Records             Executive Summary for HLS              WIP          (b)(4) &          The executive summary section contains the names of HLS
                                               Executive Rep ort                                   (b)(7)(C)         clients, HLS client employees, and HLS employees.

LSR0231      Miscellaneous Records             Executive Summary for HLS              WIP          (b)(4) &          The executive summary section contains the names of HLS
                                               Executive Rep ort                                   (b)(7)(C)         clients, HLS client employees, and HLS employees.

LSR2296      Miscellaneous Records             Animal Welfare Act Compliance          WIP          (b)(4) &          The form contains the sponsor code/ study number for a
                                               form for a particular study                         (b)(7)(C)         particular drug study and the signatures for HLS employees
                                               conducted by HLS                                                      who were members of the IACUC.

LSR0466      Miscellaneous Records             HLS purchase form for purchasing       WIP          (b)(4) &          The form contains the unit price for each cage, the total
                                               animal cages used in drug testing                   (b)(7)(C)         price paid for the cages, and the name and signature of an
                                                                                                                     HLS employee.

LSR0467      Miscellaneous Records             HLS purchase form for purchasing       WIP          (b)(4) &          The form contains the unit price for each cage, the total
                                               animal cages used in drug testing                   (b)(7)(C)         price paid for the cages, and the name and signature of an
                                                                                                                     HLS employee.

LSR0469      Miscellaneous Records             HLS purchase form for purchasing       WIP          (b)(4) &          The form contains the unit price for each cage, the total
                                               animal cages used in drug testing                   (b)(7)(C)         price paid for the cages, and the name and signature of an
                                                                                                                     HLS employee.

LSR0470      Miscellaneous Records             Purchase Requisition Form for          WIP          (b)(4) &          The form contains the unit price for ea ch cage, a
                                               purchasin g animal ca ges used in                   (b)(7)(C)         modification to the price of th e cages, the total price paid
                                               drug testing                                                          for the cages, and the name and signature of an HLS
                                                                                                                     employee.
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LSR0471   Miscellaneous Records              Capital Appropriation Proposal            WIP   (b)(4)      The form contains the amount of money proposed to be
                                             form for primate rack modification                          spent on primate caging oriented towards paired housing.

LSR0472   Miscellaneous Records              HLS Co sts and Cashflow form              WIP   (b)(4) &    The form contains the amount of money designated for
                                                                                             (b)(7)(C)   primate caging oriented towards paired housing and
                                                                                                         signatures of HLS employees.

LSR0029   Final Test Reports and Related     General information p age for a           WIF   (b)(4)      This page contains general information on the study,
          Records                            study of the effects of a drug on an                        including the title, study number, issue number, and
                                             animal                                                      sponsor study num ber.

LSR0031   Final Test Reports and Related     Summary report for a study of the         WIF   (b)(4)      The report contains information about how the study was
          Records                            effects of a drug on an animal                              conducted and how the report for the study was drafted.

LSR0032   Final Test Reports and Related     Abstract for a study of the effects of    WIF   (b)(4)      The abstra ct contains a summa ry of the study of the effects
          Records                            a drug on an animal                                         of drug on an animal, including information about the
                                                                                                         design and results of the study.

LSR0033   Final Test Reports and Related     Conclusions for a study of the            WIF   (b)(4)      This page contains information regarding the results of the
          Records                            effects of a drug on an animal                              study on th e effects of a d rug on an a nimal.

LSR0034   Final Test Reports and Related     Summary of dose administration of         WIF   (b)(4)      This summary of dose administration contains information
          Records                            the drug for a study on the effects of                      about the design of the study, including the number of
                                             a drug on an animal                                         animal use d in the study and the ad ministration o f a drug to
                                                                                                         the animal, and information on the results of the study.

LSR0035   Final Test Reports and Related     Summary of dose administration of         WIF   (b)(4)      This summary of dose administration contains information
          Records                            the drug for a study on the effects of                      about the design of the study, including the number of
                                             a drug on an animal                                         animal use d in the study and the ad ministration o f a drug to
                                                                                                         the animal, a nd informa tion on the res ults of the study .

LSR0037   Final Test Reports and Related      Cover page of the Draft Final            WIF   (b)(4)      This cover page contains the study number, study title, and
          Records                             Report for a study of the effects of a                     the individu al and com pany to w hich the stud y is to be sen t.
                                              drug on an animal

LSR0038   Final Test Reports and Related      Abstract in the Draft Final R eport      WIF   (b)(4)      The abstra ct contains a summa ry of the study of the effects
          Records                             for a study of the effects of a drug                       of drug on an animal, including information about the
                                              on an animal                                               design and results of the study.
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LSR0039   Final Test Reports and Related     Table of Conten ts for the Draft         WIF   (b)(4)   The table of contents contains an enumeration of the
          Records                            Final Report for a study on the                         contents of th e draft final repo rt, including the main
                                             effects of a drug on an animal                          categories (In troduction, M aterials and M ethods, R esults
                                                                                                     and Discussion, Conclusion, and Appendices) and
                                                                                                     subcategories under the four main categories.

LSR0040   Final Test Reports and Related     Table of Conten ts for the Draft         WIF   (b)(4)   The table of contents contains an enumeration of the
          Records                            Final Report for a study on the                         contents of th e draft final repo rt, including the main
                                             effects of a drug on an animal                          categories (In troduction, M aterials and M ethods, R esults
                                                                                                     and Discussion, Conclusion, and Appendices) and
                                                                                                     subcateg ories unde r the four ma in categories .

LSR0041   Final Test Reports and Related     Introduction for the Draft Final         WIF   (b)(4)   The introduction for the study contains information on the
          Records                            Report for a study on the effects of a                  purpose of the study and the way the study was conducted.
                                             drug on an animal

LSR0042   Final Test Reports and Related     Materials and M ethods for the Draft     WIF   (b)(4)   This section of the study contains the dates the study was
          Records                            Final Report for a study on the                         conducted, the materials used in the study and for the
                                             effects of a drug on an animal                          control, the test animals used, the selection of these
                                                                                                     animals, the group assignment of the animals, the
                                                                                                     identification of the animals, the experimental outline, the
                                                                                                     housing and care of the animals, the test substance and
                                                                                                     administration, method of recording observations, types of
                                                                                                     information recorded, method for statistical analysis, and
                                                                                                     information on compliance with protocols.

LSR0043   Final Test Reports and Related     Materials and M ethods for the Draft     WIF   (b)(4)   This section of the study contains the dates the study was
          Records                            Final Report for a study on the                         conducted, the materials used in the study and for the
                                             effects of a drug on an animal                          control, the test animals used, the selection of these
                                                                                                     animals, the group assignment of the animals, the
                                                                                                     identification of the animals, the experimental outline, the
                                                                                                     housing and care of the animals, the test substance and
                                                                                                     administration, method of recording observations, types of
                                                                                                     information recorded, method for statistical analysis, and
                                                                                                     information on compliance with protocols.
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LSR0044   Final Test Reports and Related     Materials and M ethods for the Draft   WIF   (b)(4)   This section of the study contains the dates the study was
          Records                            Final Report for a study on the                       conducted, the materials used in the study and for the
                                             effects of a drug on an animal                        control, the test animals used, the selection of these
                                                                                                   animals, the group assignment of the animals, the
                                                                                                   identification of the animals, the experimental outline, the
                                                                                                   housing and care of the animals, the test substance and
                                                                                                   administration, method of recording observations, types of
                                                                                                   information recorded, method for statistical analysis, and
                                                                                                   information on compliance with protocols.

LSR0045   Final Test Reports and Related     Materials and M ethods for the Draft   WIF   (b)(4)   This section of the study contains the dates the study was
          Records                            Final Report for a study on the                       conducted, the materials used in the study and for the
                                             effects of a drug on an animal                        control, the test animals used, the selection of these
                                                                                                   animals, the group assignment of the animals, the
                                                                                                   identification of the animals, the experimental outline, the
                                                                                                   housing and care of the animals, the test substance and
                                                                                                   administration, method of recording observations, types of
                                                                                                   information recorded, method for statistical analysis, and
                                                                                                   information on compliance with protocols.

LSR0046   Final Test Reports and Related     Materials and M ethods for the Draft   WIF   (b)(4)   This section of the study contains the dates the study was
          Records                            Final Report for a study on the                       conducted, the materials used in the study and for the
                                             effects of a drug on an animal                        control, the test animals used, the selection of these
                                                                                                   animals, the group assignment of the animals, the
                                                                                                   identification of the animals, the experimental outline, the
                                                                                                   housing and care of the animals, the test substance and
                                                                                                   administration, method of recording observations, types of
                                                                                                   information recorded, method for statistical analysis, and
                                                                                                   information on compliance with protocols.

LSR0047   Final Test Reports and Related     Materials and M ethods for the Draft   WIF   (b)(4)   This section of the study contains the dates the study was
          Records                            Final Report for a study on the                       conducted, the materials used in the study and for the
                                             effects of a drug on an animal                        control, the test animals used, the selection of these
                                                                                                   animals, the group assignment of the animals, the
                                                                                                   identification of the animals, the experimental outline, the
                                                                                                   housing and care of the animals, the test substance and
                                                                                                   administration, method of recording observations, types of
                                                                                                   information recorded, method for statistical analysis, and
                                                                                                   information on compliance with protocols.
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LSR0048   Final Test Reports and Related     Materials and M ethods for the Draft   WIF   (b)(4)   This section of the study contains the dates the study was
          Records                            Final Report for a study on the                       conducted, the materials used in the study and for the
                                             effects of a drug on an animal                        control, the test animals used, the selection of these
                                                                                                   animals, the group assignment of the animals, the
                                                                                                   identification of the animals, the experimental outline, the
                                                                                                   housing and care of the animals, the test substance and
                                                                                                   administration, method of recording observations, types of
                                                                                                   information recorded, method for statistical analysis, and
                                                                                                   information on compliance with protocols.

LSR0049   Final Test Reports and Related     Materials and M ethods for the Draft   WIF   (b)(4)   This section of the study contains the dates the study was
          Records                            Final Report for a study on the                       conducted, the materials used in the study and for the
                                             effects of a drug on an animal                        control, the test animals used, the selection of these
                                                                                                   animals, the group assignment of the animals, the
                                                                                                   identification of the animals, the experimental outline, the
                                                                                                   housing and care of the animals, the test substance and
                                                                                                   administration, method of recording observations, types of
                                                                                                   information recorded, method for statistical analysis, and
                                                                                                   information on compliance with protocols.

LSR0050   Final Test Reports and Related     Materials and M ethods for the Draft   WIF   (b)(4)   This section of the study contains the dates the study was
          Records                            Final Report for a study on the                       conducted, the materials used in the study and for the
                                             effects of a drug on an animal                        control, the test animals used, the selection of these
                                                                                                   animals, the group assignment of the animals, the
                                                                                                   identification of the animals, the experimental outline, the
                                                                                                   housing and care of the animals, the test substance and
                                                                                                   administration, method of recording observations, types of
                                                                                                   information recorded, method for statistical analysis, and
                                                                                                   information on compliance with protocols.

LSR0051   Final Test Reports and Related     Materials and M ethods for the Draft   WIF   (b)(4)   This section of the study contains the dates the study was
          Records                            Final Report for a study on the                       conducted, the materials used in the study and for the
                                             effects of a drug on an animal                        control, the test animals used, the selection of these
                                                                                                   animals, the group assignment of the animals, the
                                                                                                   identification of the animals, the experimental outline, the
                                                                                                   housing and care of the animals, the test substance and
                                                                                                   administration, method of recording observations, types of
                                                                                                   information recorded, method for statistical analysis, and
                                                                                                   information on compliance with protocols.
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LSR0052   Final Test Reports and Related     Materials and M ethods for the Draft   WIF   (b)(4)   This section of the study contains the dates the study was
          Records                            Final Report for a study on the                       conducted, the materials used in the study and for the
                                             effects of a drug on an animal                        control, the test animals used, the selection of these
                                                                                                   animals, the group assignment of the animals, the
                                                                                                   identification of the animals, the experimental outline, the
                                                                                                   housing and care of the animals, the test substance and
                                                                                                   administration, method of recording observations, types of
                                                                                                   information recorded, method for statistical analysis, and
                                                                                                   information on compliance with protocols.

LSR0053   Final Test Reports and Related     Materials and M ethods for the Draft   WIF   (b)(4)   This section of the study contains the dates the study was
          Records                            Final Report for a study on the                       conducted, the materials used in the study and for the
                                             effects of a drug on an animal                        control, the test animals used, the selection of these
                                                                                                   animals, the group assignment of the animals, the
                                                                                                   identification of the animals, the experimental outline, the
                                                                                                   housing and care of the animals, the test substance and
                                                                                                   administration, method of recording observations, types of
                                                                                                   information recorded, method for statistical analysis, and
                                                                                                   information on compliance with protocols.

LSR0054   Final Test Reports and Related     Materials and M ethods for the Draft   WIF   (b)(4)   This section of the study contains the dates the study was
          Records                            Final Report for a study on the                       conducted, the materials used in the study and for the
                                             effects of a drug on an animal                        control, the test animals used, the selection of these
                                                                                                   animals, the group assignment of the animals, the
                                                                                                   identification of the animals, the experimental outline, the
                                                                                                   housing and care of the animals, the test substance and
                                                                                                   administration, method of recording observations, types of
                                                                                                   information recorded, method for statistical analysis, and
                                                                                                   information on compliance with protocols.

LSR0055   Final Test Reports and Related     Materials and M ethods for the Draft   WIF   (b)(4)   This section of the study contains the dates the study was
          Records                            Final Report for a study on the                       conducted, the materials used in the study and for the
                                             effects of a drug on an animal                        control, the test animals used, the selection of these
                                                                                                   animals, the group assignment of the animals, the
                                                                                                   identification of the animals, the experimental outline, the
                                                                                                   housing and care of the animals, the test substance and
                                                                                                   administration, method of recording observations, types of
                                                                                                   information recorded, method for statistical analysis, and
                                                                                                   information on compliance with protocols.
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LSR0056   Final Test Reports and Related     Materials and M ethods for the Draft    WIF   (b)(4)   This section of the study contains the dates the study was
          Records                            Final Report for a study on the                        conducted, the materials used in the study and for the
                                             effects of a drug on an animal                         control, the test animals used, the selection of these
                                                                                                    animals, the group assignment of the animals, the
                                                                                                    identification of the animals, the experimental outline, the
                                                                                                    housing and care of the animals, the test substance and
                                                                                                    administration, method of recording observations, types of
                                                                                                    information recorded, method for statistical analysis, and
                                                                                                    information on compliance with protocols.

LSR0057   Final Test Reports and Related     Results and Discussion section for      WIF   (b)(4)   This section of the study contains information on mortality,
          Records                            the Draft Final Report for a study on                  dosing observations, the reaction of various systems in the
                                             the effects of a drug on an animal                     animals body to the drug, clinical laboratory studies.

LSR0058   Final Test Reports and Related     Results and Discussion section for      WIF   (b)(4)   This section of the study contains information on mortality,
          Records                            the Draft Final Report for a study on                  dosing observations, the reaction of various systems in the
                                             the effects of a drug on an animal                     animals bo dy to the dru g, clinical labora tory studies.

LSR0059   Final Test Reports and Related     Conclusion section for the Draft        WIF   (b)(4)   This section contains the conclusions of the study.
          Records                            Final Report for a study on the
                                             effects of a drug on an animal

LSR0060   Final Test Reports and Related     Appendix A -1 to Draft Final Report     WIF   (b)(4)   Appendix A-1 contains information on the generel
          Records                            for a study of the effects on the                      methodology and references used in the study.
                                             effects of a drug on an animal

LSR0061   Final Test Reports and Related      Appendix A -2 to Draft Final Report    WIF   (b)(4)   Appendix A-2 contains information on the clinical
          Records                             for a study of the effects on the                     chemistry methodology and references used in the study.
                                              effects of a drug on an animal

LSR0062   Final Test Reports and Related      Appendix B -1 to Draft Final Report    WIF   (b)(4)   Appen dix B-1 co ntains inform ation on the animals us ed in
          Records                             for a study of the effects on the                     the study.
                                              effects of a drug on an animal

LSR0063   Final Test Reports and Related      Appendix C -1 to Draft Final Report    WIF   (b)(4)   Appendix C-1 contains dosing observations during the
          Records                             for a study of the effects on the                     study.
                                              effects of a drug on an animal
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LSR0064   Final Test Reports and Related     Appendix C -2 to Draft Final Report      WIF   (b)(4)      Appendix C-2 contains dosing observations during the
          Records                            for a study of the effects on the                          study.
                                             effects of a drug on an animal

LSR0065   Final Test Reports and Related     Appendix D -1 to Draft Final Report      WIF   (b)(4) &    Appen dix D-1 co ntains a sum mary elec trocardiogra phic
          Records                            for a study of the effects on the              (b)(7)(C)   report for the study and the name of an HLS employee
                                             effects of a drug on an animal

LSR0066   Final Test Reports and Related     Appendix E -1 to Draft Final Report      WIF   (b)(4)      Appendix E-1 contains information on monitoring of the
          Records                            for a study of the effects on the                          animals body during the study.
                                             effects of a drug on an animal

LSR0067   Final Test Reports and Related     Cover sh eet for statistical an alysis   WIF   (b)(4)      The cover sheet contains the title for an analysis of a drug
          Records                            of data from a study of the effects of                     tested by HLS and the HLS employees who prepared the
                                             a drug on an animal                                        analysis.

LSR0068   Final Test Reports and Related     Introduction for the statistical         WIF   (b)(4)      The introduction contains the design of and methods used
          Records                            analysis of data from a study of the                       in the study.
                                             effects of a drug on an animal

LSR0069   Final Test Reports and Related     Data A nalysis M ethods an d Results     WIF   (b)(4)      These sections contain the methods used for analyzing the
          Records                            sections from a study of the effects                       data produ ced from th e study an d the results of th e analysis
                                             of a drug on an animal                                     of the data.

LSR0070   Final Test Reports and Related     Results and Summary sections from        WIF   (b)(4)      These se ctions conta in the results of th e analysis o f the data
          Records                            a study of the effects of a drug on an                     and a summary of the study and analysis.
                                             animal

LSR0072   Final Test Reports and Related      Table 1 from a study of the effects     WIF   (b)(4)      The table c ontains data resulting from a treatment u sed in
          Records                             of a drug on an animal                                    the study.

LSR0073   Final Test Reports and Related      Table 2 from a study of the effects     WIF   (b)(4)      The table contains data resulting from the use of the subject
          Records                             of a drug on an animal                                    drug in the study.

LSR0074   Final Test Reports and Related      Table 3 from a study of the effects     WIF   (b)(4)      The table contains data resulting from the use of the subject
          Records                             of a drug on an animal                                    drug in the stu dy as com pared to a co ntrol.

LSR0075   Final Test Reports and Related      Graph of data from a study of the       WIF   (b)(4)      The graph contains data resulting from the use of the
          Records                             effects of a drug on an animal                            subject drug in the study a s compa red to a con trol.
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LSR0076   Final Test Reports and Related     Graph of data from a study of the    WIF   (b)(4)   The graph contains data resulting from the use of the
          Records                            effects of a drug on an animal                      subject drug in the study a s compa red to a con trol.

LSR0077   Final Test Reports and Related     Graph of data from a study of the    WIF   (b)(4)   The graph contains data resulting from the use of the
          Records                            effects of a drug on an animal                      subject drug in the study a s compa red to a con trol.

LSR0078   Final Test Reports and Related     Graph of data from a study of the    WIF   (b)(4)   The graph contains data resulting from the use of the
          Records                            effects of a drug on an animal                      subject drug in the study a s compa red to a con trol.

LSR0079   Final Test Reports and Related     Graph of data from a study of the    WIF   (b)(4)   The graph contains data resulting from the use of the
          Records                            effects of a drug on an animal                      subject drug in the study a s compa red to a con trol.

LSR0080   Final Test Reports and Related     Graph of data from a study of the    WIF   (b)(4)   The graph contains data resulting from the use of the
          Records                            effects of a drug on an animal                      subject drug in the study a s compa red to a con trol.

LSR0081   Final Test Reports and Related     Graph of data from a study of the    WIF   (b)(4)   The graph contains data resulting from the use of the
          Records                            effects of a drug on an animal                      subject drug in the study a s compa red to a con trol.

LSR0082   Final Test Reports and Related      Graph of data from a study of the   WIF   (b)(4)   The graph contains data resulting from the use of the
          Records                             effects of a drug on an animal                     subject drug in the study a s compa red to a con trol.

LSR0083   Final Test Reports and Related      Graph of data from a study of the   WIF   (b)(4)   The graph contains data resulting from the use of the
          Records                             effects of a drug on an animal                     subject drug in the study a s compa red to a con trol.

LSR0084   Final Test Reports and Related      Graph of data from a study of the   WIF   (b)(4)   The graph contains data resulting from the use of the
          Records                             effects of a drug on an animal                     subject drug in the study a s compa red to a con trol.

LSR0085   Final Test Reports and Related      Graph of data from a study of the   WIF   (b)(4)   The graph contains data resulting from the use of the
          Records                             effects of a drug on an animal                     subject drug in the study a s compa red to a con trol.

LSR0086   Final Test Reports and Related      Graph of data from a study of the   WIF   (b)(4)   The graph contains data resulting from the use of the
          Records                             effects of a drug on an animal                     subject drug in the study a s compa red to a con trol.

LSR0087   Final Test Reports and Related      Graph of data from a study of the   WIF   (b)(4)   The graph contains data resulting from the use of the
          Records                             effects of a drug on an animal                     subject drug in the study a s compa red to a con trol.

LSR0088   Final Test Reports and Related      Graph of data from a study of the   WIF   (b)(4)   The graph contains data resulting from the use of the
          Records                             effects of a drug on an animal                     subject drug in the study a s compa red to a con trol.

LSR0089   Final Test Reports and Related      Graph of data from a study of the   WIF   (b)(4)   The graph contains data resulting from the use of the
          Records                             effects of a drug on an animal                     subject drug in the study a s compa red to a con trol.
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LSR0090   Final Test Reports and Related     Graph of data from a study of the       WIF   (b)(4)   The graph contains data resulting from the use of the
          Records                            effects of a drug on an animal                         subject drug in the study a s compa red to a con trol.

LSR0091   Final Test Reports and Related     Appendix to a study of the effects of   WIF   (b)(4)   The appendix contains a table of the body weight of the
          Records                            a drug on an animal                                    animals used in the study at various times during the study.

LSR0092   Final Test Reports and Related     Appendix to a study of the effects of   WIF   (b)(4)   The appendix contains a table of the body weight of the
          Records                            a drug on an animal                                    animals us ed in the stud y at various tim es during th e study.

LSR0093   Final Test Reports and Related     Appendix to a study of the effects of   WIF   (b)(4)   The appendix contains clinical chemistry values for the
          Records                            a drug on an animal                                    study.

LSR0094   Final Test Reports and Related     Appendix to a study of the effects of   WIF   (b)(4)   The appendix contains clinical chemistry values for the
          Records                            a drug on an animal                                    study.

LSR0095   Final Test Reports and Related     Appendix to a study of the effects of   WIF   (b)(4)   The appendix contains clinical chemistry values for the
          Records                            a drug on an animal                                    study.

LSR0096   Final Test Reports and Related     Appendix to a study of the effects of   WIF   (b)(4)   The appendix contains clinical chemistry values for the
          Records                            a drug on an animal                                    study.

LSR0097   Final Test Reports and Related     Table of information for a study of     WIF   (b)(4)   The table contains an analysis of dose solutions used in the
          Records                            the effects of a drug on an animal                     study.

LSR0098   Final Test Reports and Related     Certificate of Analysis for the study   WIF   (b)(4)   The Certificate of Analysis contains information including
          Records                                                                                   the compound code number; the batch number; and
                                                                                                    information regarding the analysis, result, reference, and
                                                                                                    assay.

LSR0099   Final Test Reports and Related     Investigational Drug Substance          WIF   (b)(4)   This form c ontains inform ation abou t the comp ound use d in
          Records                            Information Form                                       the study, including the code number, name, structure,
                                                                                                    formula, batch, batch size, date of production, and storage
                                                                                                    conditions.

LSR0100   Final Test Reports and Related     Cover p age for pha rmacokin etic       WIF   (b)(4)   The cover page contains the title of the report and the name
          Records                            report for a study of the effects of                   and contact information for the author of the report
                                             drug on an animal
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LSR0101   Final Test Reports and Related     Summary and Table 1 for the             WIF   (b)(4)      The summary section for the report contains a summary of
          Records                            pharmacokinetic report for a study                        the findings in the pharmacokinetic report. Table 1
                                             of the effects of drug on an animal                       contains information about drug concentration in the
                                                                                                       animals tested.

LSR0102   Final Test Reports and Related     Figure 1 for th e pharma cokinetic      WIF   (b)(4)      Figure 1 co ntains inform ation abou t drug conc entration in
          Records                            report for a study of the effects of                      the animals tested.
                                             drug on an animal

LSR0103   Final Test Reports and Related     Appen dix J for the ph armacok inetic   WIF   (b)(4) &    The appendix contains information about the testing
          Records                            report for a study of the effects of          (b)(7)(C)   facility’s person nel.
                                             drug on an animal

LSR0104   Final Test Reports and Related     Appen dix L for the p harmaco kinetic   WIF   (b)(4) &    The appendix contains the Statement of Compliance and
          Records                            report for a study of the effects of          (b)(7)(C)   the name of the study director for the study.
                                             drug on an animal

LSR0105   Final Test Reports and Related     Appendix M for the                      WIF   (b)(4)      The appendix contains report amendments for the study.
          Records                            pharmacokinetic report for a study
                                             of the effects of drug on an animal

LSR0390   Final Test Reports and Related     Propose d Study S chedule               WIF   (b)(4) &    The schedule contains information on the proposed dates
          Records                                                                          (b)(7)(C)   for various evaluations of the animals in the studies. The
                                                                                                       schedule also contains information on HLS employees
                                                                                                       involved in the study.

LSR1063   Final Test Reports and Related     Study Sc hedule                         WIF   (b)(4) &    The schedule contains information on the dates for various
          Records                                                                          (b)(7)(C)   evaluations of the animals in the studies and identification
                                                                                                       numbers for the animals. The schedule also contains
                                                                                                       information on HLS employees involved in the study.

LSR1064   Final Test Reports and Related     Information sheet for study on the      WIF   (b)(4) &    The sheet contains the code for the company sponsoring the
          Records                            effects of a drug on an animal                (b)(7)(C)   study, the study number, the species of animal used in the
                                                                                                       study, the number of animals used in the study, information
                                                                                                       on the administration of the drug being studied, information
                                                                                                       on compliance with the Animal Welfare Act, and the name
                                                                                                       of the Study Director.
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LSR1067   Final Test Reports and Related     Abstract for a study on the effects of        WIF   (b)(4)      The abstra ct contains a summa ry of the study of the effects
          Records                            a drug on an animal                                             of drug on an animal, including information about the
                                                                                                             design and results of the study.

LSR1068   Final Test Reports and Related     Chart entitled Individual Treatment           WIF   (b)(4)      The chart contains information on the treatment of an
          Records                            Data for an animal in a study on the                            individual animal in the study, such as the time and date of
                                             effects of a drug on an animal                                  the treatmen t and obse rvations on the treatmen t.

LSR1069   Final Test Reports and Related     Chart entitled Individual Treatment           WIF   (b)(4)      The chart contains information on the treatment of an
          Records                            Data for an animal in a study on the                            individual animal in the study, such as the time and date of
                                             effects of a drug on an animal                                  the treatment and observations on the treatment

LSR1128   Final Test Reports and Related     Cover page of the Draft Final                 WIF   (b)(4)      The cover page contains the study number, the title of the
          Records                            Report for a study on the effects of a                          study, and to whom the study w as sent.
                                             drug on an animal

LSR1129   Final Test Reports and Related     Signature page of the Draft Final             WIF   (b)(4) &    The signature page contains the study number and the
          Records                            Report for a study on the effects of a              (b)(7)(C)   names of the scientists conducting and reviewing the study.
                                             drug on an animal

LSR1130   Final Test Reports and Related     Quality Assurance Statement of the            WIF   (b)(4) &    The statement contains the study number, information on
          Records                            Draft Final Report for a study on the               (b)(7)(C)   when the study was reviewed for quality assurance, and the
                                             effects of a drug on an animal                                  names of an HLS employee working on the study

LSR1131   Final Test Reports and Related     Abstract for the Draft Final R eport          WIF   (b)(4)      The abstra ct contains a summa ry of the study of the effects
          Records                            for a study on the effects of a drug                            of drug on an animal, including information about the
                                             on an animal                                                    design and results of the study.

LSR1132   Final Test Reports and Related     Table of Conten ts for the Draft              WIF   (b)(4)      The table of contents contains an enumeration of the
          Records                            Final Report for a study on the                                 contents of th e draft final repo rt, including the main
                                             effects of a drug on an animal                                  categories (In troduction, M aterials and M ethods, R esults
                                                                                                             and Discussion, Conclusion, and Appendices) and
                                                                                                             subcategories under the four main categories.




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LSR1133   Final Test Reports and Related     Table of Conten ts for the Draft              WIF   (b)(4)   The table of contents contains an enumeration of the
          Records                            Final Report for a study on the                              contents of th e draft final repo rt, including the main
                                             effects of a drug on an animal                               categories (In troduction, M aterials and M ethods, R esults
                                                                                                          and Discussion, Conclusion, and Appendices) and
                                                                                                          subcateg ories unde r the four ma in categories .

LSR1134   Final Test Reports and Related     Introduction and Materials and                WIF   (b)(4)   The introduction for the study contains information on the
          Records                            Methods Section for the Draft Final                          purpose o f the study an d the way the study w as condu cted.
                                             Report for a study on the effects of a                       The materials and methods section contains information on
                                             drug on an animal                                            regulatory references, study management, experimental
                                                                                                          outline, study dates, test materials, control materials, test
                                                                                                          animals, experimental evaluations, data storage, and
                                                                                                          protocol.

LSR1135   Final Test Reports and Related     Introduction and Materials and                WIF   (b)(4)   The introduction for the study contains information on the
          Records                            Methods Section for the Draft Final                          purpose o f the study an d the way the study w as condu cted.
                                             Report for a study on the effects of a                       The materials and methods section contains information on
                                             drug on an animal                                            regulatory references, study management, experimental
                                                                                                          outline, study dates, test materials, control materials, test
                                                                                                          animals, experimental evaluations, data storage, and
                                                                                                          protocol.

LSR1136   Final Test Reports and Related     Introduction and Materials and                WIF   (b)(4)   The introduction for the study contains information on the
          Records                            Methods Section for the Draft Final                          purpose o f the study an d the way the study w as condu cted.
                                             Report for a study on the effects of a                       The materials and methods section contains information on
                                             drug on an animal                                            regulatory references, study management, experimental
                                                                                                          outline, study dates, test materials, control materials, test
                                                                                                          animals, experimental evaluations, data storage, and
                                                                                                          protocol.

LSR1137   Final Test Reports and Related     Introduction and Materials and                WIF   (b)(4)   The introduction for the study contains information on the
          Records                            Methods Section for the Draft Final                          purpose o f the study an d the way the study w as condu cted.
                                             Report for a study on the effects of a                       The materials and methods section contains information on
                                             drug on an animal                                            regulatory references, study management, experimental
                                                                                                          outline, study dates, test materials, control materials, test
                                                                                                          animals, experimental evaluations, data storage, and
                                                                                                          protocol.



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LSR1138   Final Test Reports and Related     Introduction and Materials and                WIF   (b)(4)   The introduction for the study contains information on the
          Records                            Methods Section for the Draft Final                          purpose o f the study an d the way the study w as condu cted.
                                             Report for a study on the effects of a                       The materials and methods section contains information on
                                             drug on an animal                                            regulatory references, study management, experimental
                                                                                                          outline, study dates, test materials, control materials, test
                                                                                                          animals, experimental evaluations, data storage, and
                                                                                                          protocol.

LSR1139   Final Test Reports and Related     Introduction and Materials and                WIF   (b)(4)   The introduction for the study contains information on the
          Records                            Methods Section for the Draft Final                          purpose o f the study an d the way the study w as condu cted.
                                             Report for a study on the effects of a                       The materials and methods section contains information on
                                             drug on an animal                                            regulatory references, study management, experimental
                                                                                                          outline, study dates, test materials, control materials, test
                                                                                                          animals, experimental evaluations, data storage, and
                                                                                                          protocol.

LSR1140   Final Test Reports and Related     Introduction and Materials and                WIF   (b)(4)   The introduction for the study contains information on the
          Records                            Methods Section for the Draft Final                          purpose o f the study an d the way the study w as condu cted.
                                             Report for a study on the effects of a                       The materials and methods section contains information on
                                             drug on an animal                                            regulatory references, study management, experimental
                                                                                                          outline, study dates, test materials, control materials, test
                                                                                                          animals, experimental evaluations, data storage, and
                                                                                                          protocol.

LSR1141   Final Test Reports and Related     Introduction and Materials and                WIF   (b)(4)   The introduction for the study contains information on the
          Records                            Methods Section for the Draft Final                          purpose o f the study an d the way the study w as condu cted.
                                             Report for a study on the effects of a                       The materials and methods section contains information on
                                             drug on an animal                                            regulatory references, study management, experimental
                                                                                                          outline, study dates, test materials, control materials, test
                                                                                                          animals, experimental evaluations, data storage, and
                                                                                                          protocol.




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LSR1142   Final Test Reports and Related     Introduction and Materials and                WIF   (b)(4)   The introduction for the study contains information on the
          Records                            Methods Section for the Draft Final                          purpose o f the study an d the way the study w as condu cted.
                                             Report for a study on the effects of a                       The materials and methods section contains information on
                                             drug on an animal                                            regulatory references, study management, experimental
                                                                                                          outline, study dates, test materials, control materials, test
                                                                                                          animals, experimental evaluations, data storage, and
                                                                                                          protocol.

LSR1143   Final Test Reports and Related     Introduction and Materials and                WIF   (b)(4)   The introduction for the study contains information on the
          Records                            Methods Section for the Draft Final                          purpose o f the study an d the way the study w as condu cted.
                                             Report for a study on the effects of a                       The materials and methods section contains information on
                                             drug on an animal                                            regulatory references, study management, experimental
                                                                                                          outline, study dates, test materials, control materials, test
                                                                                                          animals, experimental evaluations, data storage, and
                                                                                                          protocol.

LSR1144   Final Test Reports and Related     Introduction and Materials and                WIF   (b)(4)   The introduction for the study contains information on the
          Records                            Methods Section for the Draft Final                          purpose o f the study an d the way the study w as condu cted.
                                             Report for a study on the effects of a                       The materials and methods section contains information on
                                             drug on an animal                                            regulatory references, study management, experimental
                                                                                                          outline, study dates, test materials, control materials, test
                                                                                                          animals, experimental evaluations, data storage, and
                                                                                                          protocol.

LSR1145   Final Test Reports and Related     Introduction and Materials and                WIF   (b)(4)   The introduction for the study contains information on the
          Records                            Methods Section for the Draft Final                          purpose o f the study an d the way the study w as condu cted.
                                             Report for a study on the effects of a                       The materials and methods section contains information on
                                             drug on an animal                                            regulatory references, study management, experimental
                                                                                                          outline, study dates, test materials, control materials, test
                                                                                                          animals, experimental evaluations, data storage, and
                                                                                                          protocol.




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LSR1146   Final Test Reports and Related     Introduction and Materials and                WIF   (b)(4)   The introduction for the study contains information on the
          Records                            Methods Section for the Draft Final                          purpose o f the study an d the way the study w as condu cted.
                                             Report for a study on the effects of a                       The materials and methods section contains information on
                                             drug on an animal                                            regulatory references, study management, experimental
                                                                                                          outline, study dates, test materials, control materials, test
                                                                                                          animals, experimental evaluations, data storage, and
                                                                                                          protocol.

LSR1147   Final Test Reports and Related     Introduction and Materials and                WIF   (b)(4)   The introduction for the study contains information on the
          Records                            Methods Section for the Draft Final                          purpose o f the study an d the way the study w as condu cted.
                                             Report for a study on the effects of a                       The materials and methods section contains information on
                                             drug on an animal                                            regulatory references, study management, experimental
                                                                                                          outline, study dates, test materials, control materials, test
                                                                                                          animals, experimental evaluations, data storage, and
                                                                                                          protocol.

LSR1148   Final Test Reports and Related     Introduction and Materials and                WIF   (b)(4)   The introduction for the study contains information on the
          Records                            Methods Section for the Draft Final                          purpose o f the study an d the way the study w as condu cted.
                                             Report for a study on the effects of a                       The materials and methods section contains information on
                                             drug on an animal                                            regulatory references, study management, experimental
                                                                                                          outline, study dates, test materials, control materials, test
                                                                                                          animals, experimental evaluations, data storage, and
                                                                                                          protocol.

LSR1149   Final Test Reports and Related     Introduction and Materials and                WIF   (b)(4)   The introduction for the study contains information on the
          Records                            Methods Section for the Draft Final                          purpose o f the study an d the way the study w as condu cted.
                                             Report for a study on the effects of a                       The materials and methods section contains information on
                                             drug on an animal                                            regulatory references, study management, experimental
                                                                                                          outline, study dates, test materials, control materials, test
                                                                                                          animals, experimental evaluations, data storage, and
                                                                                                          protocol.




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LSR1150   Final Test Reports and Related     Introduction and Materials and                WIF   (b)(4)   The introduction for the study contains information on the
          Records                            Methods Section for the Draft Final                          purpose o f the study an d the way the study w as condu cted.
                                             Report for a study on the effects of a                       The materials and methods section contains information on
                                             drug on an animal                                            regulatory references, study management, experimental
                                                                                                          outline, study dates, test materials, control materials, test
                                                                                                          animals, experimental evaluations, data storage, and
                                                                                                          protocol.

LSR1151   Final Test Reports and Related     Introduction and Materials and                WIF   (b)(4)   The introduction for the study contains information on the
          Records                            Methods Section for the Draft Final                          purpose o f the study an d the way the study w as condu cted.
                                             Report for a study on the effects of a                       The materials and methods section contains information on
                                             drug on an animal                                            regulatory references, study management, experimental
                                                                                                          outline, study dates, test materials, control materials, test
                                                                                                          animals, experimental evaluations, data storage, and
                                                                                                          protocol.

LSR1152   Final Test Reports and Related     Introduction and Materials and                WIF   (b)(4)   The introduction for the study contains information on the
          Records                            Methods Section for the Draft Final                          purpose o f the study an d the way the study w as condu cted.
                                             Report for a study on the effects of a                       The materials and methods section contains information on
                                             drug on an animal                                            regulatory references, study management, experimental
                                                                                                          outline, study dates, test materials, control materials, test
                                                                                                          animals, experimental evaluations, data storage, and
                                                                                                          protocol.

LSR1153   Final Test Reports and Related     Introduction and Materials and                WIF   (b)(4)   The introduction for the study contains information on the
          Records                            Methods Section for the Draft Final                          purpose o f the study an d the way the study w as condu cted.
                                             Report for a study on the effects of a                       The materials and methods section contains information on
                                             drug on an animal                                            regulatory references, study management, experimental
                                                                                                          outline, study dates, test materials, control materials, test
                                                                                                          animals, experimental evaluations, data storage, and
                                                                                                          protocol.

LSR1154   Final Test Reports and Related     Results and Discussion section for            WIF   (b)(4)   This section of the study contains information on mortality,
          Records                            the Draft Final Report for a study on                        daily observations, the reaction of various systems in the
                                             the effects of a drug on an animal                           animals body to the drug, clinical laboratory studies.




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LSR1155   Final Test Reports and Related     Results and Discussion section for           WIF   (b)(4)   This section of the study contains information on mortality,
          Records                            the Draft Final Report for a study on                       daily observations, the reaction of various systems in the
                                             the effects of a drug on an animal                          animals bo dy to the dru g, clinical labora tory studies.

LSR1156   Final Test Reports and Related     Results and Discussion section for           WIF   (b)(4)   This section of the study contains information on mortality,
          Records                            the Draft Final Report for a study on                       daily observations, the reaction of various systems in the
                                             the effects of a drug on an animal                          animals bo dy to the dru g, clinical labora tory studies.

LSR1157   Final Test Reports and Related     Results and Discussion and                   WIF   (b)(4)   This results and discussion section of the study contains
          Records                            Conclusion section s for the Draft                          information on mortality, daily observations, the reaction of
                                             Final Report for a study on the                             various systems in the animals body to the drug, clinical
                                             effects of a drug on an animal                              laboratory studies. The conclusion section of the study
                                                                                                         contains the conclusions of the study.

LSR1158   Final Test Reports and Related     References section fo r the Draft            WIF   (b)(4)   This section contains research references for the study.
          Records                            Final Report for a study on the
                                             effects of a drug on an animal

LSR1159   Final Test Reports and Related     Appendix A for the Draft Final               WIF   (b)(4)   Appen dix A con tains informa tion on the an imals used in
          Records                            Report for a study on the effects of a                      the study.
                                             drug on an animal

LSR1160   Final Test Reports and Related     Appendix B for the Draft Final               WIF   (b)(4)   Appen dix B con tains daily ob servations o n the anim als
          Records                            Report for a study on the effects of a                      used in the study.
                                             drug on an animal

LSR1161   Final Test Reports and Related     Appendix B for the Draft Final               WIF   (b)(4)   Appen dix B con tains daily ob servations o n the anim als
          Records                            Report for a study on the effects of a                      used in the s tudy.
                                             drug on an animal

LSR1162   Final Test Reports and Related     Appendix B for the Draft Final               WIF   (b)(4)   Appen dix B con tains daily ob servations o n the anim als
          Records                            Report for a study on the effects of a                      used in the study.
                                             drug on an animal

LSR1163   Final Test Reports and Related     Appendix B for the Draft Final               WIF   (b)(4)   Appen dix B con tains daily ob servations o n the anim als
          Records                            Report for a study on the effects of a                      used in the s tudy.
                                             drug on an animal




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LSR1164   Final Test Reports and Related     Appendix B for the Draft Final                WIF   (b)(4)      Appen dix B con tains daily ob servations o n the anim als
          Records                            Report for a study on the effects of a                          used in the s tudy.
                                             drug on an animal

LSR1165   Final Test Reports and Related     Appendix C for the Draft Final                WIF   (b)(4)      Appen dix C con tains informa tion on the an imals used in
          Records                            Report for a study on the effects of a                          the study.
                                             drug on an animal

LSR1166   Final Test Reports and Related     Appendix D for the Draft Final                WIF   (b)(4)      Appen dix D con tains informa tion on the an imals used in
          Records                            Report for a study on the effects of a                          the study.
                                             drug on an animal

LSR1167   Final Test Reports and Related     Appendix E for the Draft Final                WIF   (b)(4)      Appendix E contains information on the animals used in the
          Records                            Report for a study on the effects of a                          study.
                                             drug on an animal

LSR1168   Final Test Reports and Related     Study Sc hedule                               WIF   (b)(4) &    The schedule contains information on the dates for various
          Records                                                                                (b)(7)(C)   evaluations of the animals in the studies and identification
                                                                                                             numbers for the animals. The schedule also contains
                                                                                                             information on HLS employees involved in the study.

LSR1171   Final Test Reports and Related     Information sheet for study on the            WIF   (b)(4) &    The sheet contains the code for the company sponsoring the
          Records                            effects of a drug on an animal                      (b)(7)(C)   study, the study number, the species of animal used in the
                                                                                                             study, the number of animals used in the study, information
                                                                                                             on the administration of the drug being studied, information
                                                                                                             on compliance with the Animal Welfare Act, and the name
                                                                                                             of the Study Director.

LSR1973   Final Test Reports and Related     Appendix C-2 for a study on the               WIF   (b)(4)      Appendix C-3 contains observations of animal in the study
          Records                            effects of a drug on an animal                                  over a five w eek time inte rval.

LSR1974   Final Test Reports and Related     Appendix C-3 for a study on the               WIF   (b)(4)      Appendix C-3 contains observations of animal in the study
          Records                            effects of a drug on an animal                                  over a five w eek time inte rval.




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LSR1706   Interim Tes t Reports           Form contains a table on the                  WIF   (b)(4)   The table contains the study name and observations about
                                          Individual weekly physical                                   two test animals at two time intervals.
                                          observatio ns for two te st animals in
                                          a study on the effects of a drug on
                                          an animal


LSR1707   Interim Tes t Reports           Form co ntains a table o n the Daily          WIF   (b)(4)   The table contains the study name, observations about the
                                          Individual Observations for test                             test animals over a course of five days, and information
                                          animals in a study on the effects of                         about the interval for dosing the animals.
                                          a drug on an animal




LSR1708   Interim Tes t Reports           Form co ntains a table o n the Daily          WIF   (b)(4)   The table contains the study name, observations about the
                                          Individual Observations for test                             test animals over a course of five days, and information
                                          animals in a study on the effects of                         about the interval for dosing the animals.
                                          a drug on an animal




LSR1709   Interim Tes t Reports           Form co ntains a table o n the Daily          WIF   (b)(4)   The table contains the study name, observations about the
                                          Individual Observations for test                             test animals over a course of four days, and information
                                          animals in a study on the effects of                         about the interval for dosing the animals.
                                          a drug on an animal




LSR1710   Interim Tes t Reports           Status Report for a study on the              WIF   (b)(4)   The status report contains summaries of clinical
                                          effects of a drug on an animal                               observations taken during the tests, including urinalysis,
                                                                                                       blood pressure, hematology, clinical chemistry, food and
                                                                                                       fluid intake, fecal and fluid output, body weight, and
                                                                                                       mortality.




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LSR1711   Interim Tes t Reports           Status Report for a study on the              WIF   (b)(4)   The status report contains summaries of clinical
                                          effects of a drug on an animal                               observations taken during the tests, including urinalysis,
                                                                                                       blood pressure, hematology, clinical chemistry, food and
                                                                                                       fluid intake, fecal and fluid output, body weight, and
                                                                                                       mortality.

LSR1712   Interim Tes t Reports           Status Report for a study on the              WIF   (b)(4)   The status report contains summaries of clinical
                                          effects of a drug on an animal                               observations taken during the tests, including urinalysis,
                                                                                                       blood pressure, hematology, clinical chemistry, food and
                                                                                                       fluid intake, fecal and fluid output, body weight, and
                                                                                                       mortality.

LSR1713   Interim Tes t Reports           Status Report for a study on the              WIF   (b)(4)   The status report contains summaries of clinical
                                          effects of a drug on an animal                               observations taken during the tests, including urinalysis,
                                                                                                       blood pressure, hematology, clinical chemistry, food and
                                                                                                       fluid intake, fecal and fluid output, body weight, and
                                                                                                       mortality.

LSR1714   Interim Tes t Reports           Status Report for a study on the              WIF   (b)(4)   The status report contains summaries of clinical
                                          effects of a drug on an animal                               observations taken during the tests, including urinalysis,
                                                                                                       blood pressure, hematology, clinical chemistry, food and
                                                                                                       fluid intake, fecal and fluid output, body weight, and
                                                                                                       mortality.

LSR1715   Interim Tes t Reports           Cover Sheet for Pilot Status R eport          WIF   (b)(4)   The cover sheet contains the name of the study, the study
                                          for a study on the effects of a drug                         number, and the person to whom the status report was
                                          on an animal                                                 submitted.

LSR1765   Interim Tes t Reports           Form contains a table on the                  WIF   (b)(4)   The table contains the study name and observations about
                                          Individual weekly physical                                   two test animals at two time intervals.
                                          observatio ns for two te st animals in
                                          a study on the effects of a drug on
                                          an animal

LSR1766   Interim Tes t Reports           Form co ntains a table o n the Daily          WIF   (b)(4)   The table contains the study name, observations about the
                                          Individual Observations for test                             test animals over a course of five days, and information
                                          animals in a study on the effects of                         about the interval for dosing the animals.
                                          a drug on an animal


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LSR1767   Interim Tes t Reports           Form co ntains a table o n the Daily        WIF   (b)(4)   The table contains the study name, observations about the
                                          Individual Observations for test                           test animals over a course of five days, and information
                                          animals in a study on the effects of                       about the interval for dosing the animals.
                                          a drug on an animal

LSR1768   Interim Tes t Reports           Form co ntains a table o n the Daily        WIF   (b)(4)   The table contains the study name, observations about the
                                          Individual Observations for test                           test animals over a course of four days, and information
                                          animals in a study on the effects of                       about the interval for dosing the animals.
                                          a drug on an animal

LSR1769   Interim Tes t Reports           Status Report for a study on the            WIF   (b)(4)   The status report contains summaries of clinical
                                          effects of a drug on an animal                             observations taken during the tests, including urinalysis,
                                                                                                     blood pressure, hematology, clinical chemistry, food and
                                                                                                     fluid intake, fecal and fluid output, body weight, and
                                                                                                     mortality.

LSR1770   Interim Tes t Reports           Status Report for a study on the            WIF   (b)(4)   The status report contains summaries of clinical
                                          effects of a drug on an animal                             observations taken during the tests, including urinalysis,
                                                                                                     blood pressure, hematology, clinical chemistry, food and
                                                                                                     fluid intake, fecal and fluid output, body weight, and
                                                                                                     mortality.

LSR1771   Interim Tes t Reports           Status Report for a study on the            WIF   (b)(4)   The status report contains summaries of clinical
                                          effects of a drug on an animal                             observations taken during the tests, including urinalysis,
                                                                                                     blood pressure, hematology, clinical chemistry, food and
                                                                                                     fluid intake, fecal and fluid output, body weight, and
                                                                                                     mortality.

LSR1772   Interim Tes t Reports           Status Report for a study on the            WIF   (b)(4)   The status report contains summaries of clinical
                                          effects of a drug on an animal                             observations taken during the tests, including urinalysis,
                                                                                                     blood pressure, hematology, clinical chemistry, food and
                                                                                                     fluid intake, fecal and fluid output, body weight, and
                                                                                                     mortality.




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LSR1773   Interim Tes t Reports               Status Report for a study on the              WIF   (b)(4)      The status report contains summaries of clinical
                                              effects of a drug on an animal                                  observations taken during the tests, including urinalysis,
                                                                                                              blood pressure, hematology, clinical chemistry, food and
                                                                                                              fluid intake, fecal and fluid output, body weight, and
                                                                                                              mortality.

LSR1774   Interim Tes t Reports               Cover Sheet for Pilot Status R eport          WIF   (b)(4)      The cover sheet contains the name of the study, the study
                                              for a study on the effects of a drug                            number, and the person to whom the status report was
                                              on an animal                                                    submitted.

LSR1909   Interim Tes t Reports               Interim Electrocardiographic R eport          WIF   (b)(4) &    The report contains the method, results, and interpretation
                                              for a study on the effects of a drug                (b)(7)(C)   of electrocardiograms taken of the animals in the study and
                                              on an animal                                                    the name of an HLS employee.

LSR1910   Interim Tes t Reports               Interim Electrocardiographic R eport          WIF   (b)(4) &    The report contains the method, results, and interpretation
                                              for a study on the effects of a drug                (b)(7)(C)   of electrocardiograms taken of the animals in the study and
                                              on an animal                                                    the name of an HL S employ ee.

LSR1294   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)      The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                          the study over a specified interval of time. The chart also
                                              of a drug on an animal                                          contains a description of the study, the study number, the
                                                                                                              animal numbe r, the time and date the observa tions were
                                                                                                              taken, and the initials of the HLS employee recording the
                                                                                                              observations.

LSR1295   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)      The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                          the study over a specified interval of time. The chart also
                                              of a drug on an animal                                          contains a description of the study, the study number, the
                                                                                                              animal numbe r, the time and date the observa tions were
                                                                                                              taken, and the initials of the HLS employee recording the
                                                                                                              observatio ns.

LSR1296   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)      The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                          the study over a specified interval of time. The chart also
                                              of a drug on an animal                                          contains a description of the study, the study number, the
                                                                                                              animal numbe r, the time and date the observa tions were
                                                                                                              taken, and the initials of the HLS employee recording the
                                                                                                              observatio ns.


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LSR1297   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observations.

LSR1298   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observations.

LSR1299   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observations.

LSR1300   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observations.

LSR1314   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observations.




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LSR1315   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.

LSR1316   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.

LSR1317   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observations.

LSR1318   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.

LSR1319   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.




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LSR1332   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observations.

LSR1333   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.

LSR1334   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS.

LSR1345   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observations.

LSR1346   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.




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LSR1347   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.

LSR1352   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observations.

LSR1353   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.

LSR1354   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.

LSR1396   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observations.




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LSR1397   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.

LSR1398   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.

LSR1399   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observations.

LSR1400   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.

LSR1401   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.




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LSR1402   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observations.

LSR1403   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.

LSR1404   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.

LSR1405   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.

LSR1406   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observations.




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LSR1407   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.

LSR1408   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observations.

LSR1409   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.

LSR1410   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.

LSR1411   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observations.




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LSR1412   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.

LSR1413   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.

LSR1414   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observations.

LSR1415   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.

LSR1416   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.




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LSR1417   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observations.

LSR1418   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.

LSR1419   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.

LSR1420   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observations.

LSR1421   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.




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LSR1422   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.

LSR1423   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observations.

LSR1424   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.

LSR1425   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
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LSR1426   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observations.




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LSR1427   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
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                                                                                                           observatio ns.

LSR1428   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.

LSR1431   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
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                                                                                                           observations.

LSR1432   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
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LSR1433   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
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LSR1434   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
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                                                                                                           observations.

LSR1435   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
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LSR1436   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
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                                                                                                           observatio ns.

LSR1818   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
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                                                                                                           observations.

LSR1823   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
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LSR1824   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
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                                                                                                           observations.

LSR1827   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
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                                                                                                           observations.

LSR1881   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
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LSR1882   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
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LSR1897   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
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LSR1898   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
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                                                                                                           observatio ns.

LSR1899   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
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LSR1916   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observations.

LSR1980   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observations.

LSR1981   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
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LSR1982   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
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                                                                                                           observations.

LSR1983   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
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LSR1984   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
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LSR1985   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observations.

LSR1986   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
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LSR1987   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observations.

LSR1988   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
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LSR1989   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
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LSR1991   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
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LSR1992   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
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LSR2007   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observations.

LSR2008   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
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LSR2009   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.

LSR2012   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observations.

LSR2016   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
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LSR2017   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.

LSR2018   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.

LSR2021   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
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LSR2022   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
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LSR2023   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
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LSR2026   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
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LSR2027   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
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LSR2028   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
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LSR2032   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
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LSR2033   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
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LSR2034   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.

LSR2037   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observations.

LSR2038   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.

LSR2039   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.

LSR2046   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observations.




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LSR2047   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.

LSR2048   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.

LSR2049   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observations.

LSR2050   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.

LSR2051   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.




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LSR2052   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observations.

LSR2053   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.

LSR2054   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.

LSR2055   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observations.

LSR2056   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.




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LSR2057   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.

LSR2058   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observations.

LSR2059   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.

LSR2060   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observatio ns.

LSR2061   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)   The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                       the study over a specified interval of time. The chart also
                                              of a drug on an animal                                       contains a description of the study, the study number, the
                                                                                                           animal numbe r, the time and date the observa tions were
                                                                                                           taken, and the initials of the HLS employee recording the
                                                                                                           observations.




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LSR2062   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)      The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                          the study over a specified interval of time. The chart also
                                              of a drug on an animal                                          contains a description of the study, the study number, the
                                                                                                              animal numbe r, the time and date the observa tions were
                                                                                                              taken, and the initials of the HLS employee recording the
                                                                                                              observations.

LSR2125   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)      The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                          the study over a specified interval of time. The chart also
                                              of a drug on an animal                                          contains a description of the study, the study number, the
                                                                                                              animal numbe r, the time and date the observa tions were
                                                                                                              taken, and the initials of the HLS employee recording the
                                                                                                              observations.

LSR2126   Clinical O bservation Raw D ata     Chart containing information for              WIF   (b)(4)      The cha rt contains clinic al observa tions for one animal in
          Reports                             one anim al in a study o n the effects                          the study over a specified interval of time. The chart also
                                              of a drug on an animal                                          contains a description of the study, the study number, the
                                                                                                              animal numbe r, the time and date the observa tions were
                                                                                                              taken, and the initials of the HLS employee recording the
                                                                                                              observations.

LSR1313   Necropsy and Postmortem             Necropsy Record Form for one                  WIF   (b)(4) &    The record form contains information related to the animal
          Examin ation Rep orts               animal in a study on the effec ts of a              (b)(7)(C)   at the time of death, including the method of sacrifice for
                                              drug on an animal                                               the animal or type of death of the animal, observations
                                                                                                              about the animal at the time of de ath, the study numbe r,
                                                                                                              animal number, and the names of HLS emp loyees.

LSR1625   Necropsy and Postmortem             Necropsy Record Form for one                  WIF   (b)(4) &    The record form contains information related to the animal
          Examin ation Rep orts               animal in a study on the effec ts of a              (b)(7)(C)   at the time of death, including the method of sacrifice for
                                              drug on an animal                                               the animal or type of death of the animal, observations
                                                                                                              about the animal at the time of de ath, the study numbe r,
                                                                                                              animal number, and the names of HLS emp loyees.




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LSR1627   Necropsy and Postmortem           Necropsy Record Form for one                  WIF   (b)(4) &    The record form contains information related to the animal
          Examin ation Rep orts             animal in a study on the effec ts of a              (b)(7)(C)   at the time of death, including the method of sacrifice for
                                            drug on an animal                                               the animal or type of death of the animal, observations
                                                                                                            about the animal at the time of de ath, the study numbe r,
                                                                                                            animal number, and the names of HLS emp loyees.

LSR1630   Necropsy and Postmortem           Necropsy Record Form for one                  WIF   (b)(4) &    The record form contains information related to the animal
          Examin ation Rep orts             animal in a study on the effec ts of a              (b)(7)(C)   at the time of death, including the method of sacrifice for
                                            drug on an animal                                               the animal or type of death of the animal, observations
                                                                                                            about the animal at the time of de ath, the study numbe r,
                                                                                                            animal number, and the names of HLS emp loyees.

LSR1799   Necropsy and Postmortem           Necropsy Record Form for one                  WIF   (b)(4) &    The record form contains information related to the animal
          Examin ation Rep orts             animal in a study on the effec ts of a              (b)(7)(C)   at the time of death, including the method of sacrifice for
                                            drug on an animal                                               the animal or type of death of the animal, observations
                                                                                                            about the animal at the time of de ath, the study numbe r,
                                                                                                            animal number, and the names of HLS emp loyees.

LSR1802   Necropsy and Postmortem           Necropsy Record Form for one                  WIF   (b)(4) &    The record form contains information related to the animal
          Examin ation Rep orts             animal in a study on the effec ts of a              (b)(7)(C)   at the time of death, including the method of sacrifice for
                                            drug on an animal                                               the animal or type of death of the animal, observations
                                                                                                            about the animal at the time of de ath, the study numbe r,
                                                                                                            animal number, and the names of HLS emp loyees.

LSR1825   Necropsy and Postmortem           Necropsy Record Form for one                  WIF   (b)(4) &    The record form contains information related to the animal
          Examin ation Rep orts             animal in a study on the effec ts of a              (b)(7)(C)   at the time of death, including the method of sacrifice for
                                            drug on an animal                                               the animal or type of death of the animal, observations
                                                                                                            about the animal at the time of de ath, the study numbe r,
                                                                                                            animal number, and the names of HLS emp loyees.

LSR1829   Necropsy and Postmortem           Necropsy Record Form for one                  WIF   (b)(4) &    The record form contains information related to the animal
          Examin ation Rep orts             animal in a study on the effec ts of a              (b)(7)(C)   at the time of death, including the method of sacrifice for
                                            drug on an animal                                               the animal or type of death of the animal, observations
                                                                                                            about the animal at the time of de ath, the study numbe r,
                                                                                                            animal number, and the names of HLS emp loyees.




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LSR1831   Necropsy and Postmortem           Animal Termination History for                WIF   (b)(4) &    The history chart contains the company sponsoring the
          Examin ation Rep orts             animals in a study on the effects of                (b)(7)(C)   study, the study number, the animal numbers for the
                                            a drug on an animal                                             animals that terminated, the type of death of the animal, the
                                                                                                            date of death, and the initials of HLS employees.

LSR1883   Necropsy and Postmortem           Necropsy Record Form for one                  WIF   (b)(4) &    The record form contains information related to the animal
          Examin ation Rep orts             animal in a study on the effec ts of a              (b)(7)(C)   at the time of death, including the method of sacrifice for
                                            drug on an animal                                               the animal or type of death of the animal, observations
                                                                                                            about the animal at the time of de ath, the study numbe r,
                                                                                                            animal number, and the names of HLS emp loyees.

LSR1884   Necropsy and Postmortem           Necropsy Record Form for one                  WIF   (b)(4) &    The record form contains information related to the animal
          Examin ation Rep orts             animal in a study on the effec ts of a              (b)(7)(C)   at the time of death, including the method of sacrifice for
                                            drug on an animal                                               the animal or type of death of the animal, observations
                                                                                                            about the animal at the time of de ath, the study numbe r,
                                                                                                            animal nu mber, and the name s of HLS employe es.

LSR1885   Necropsy and Postmortem           Necropsy Record Form for one                  WIF   (b)(4) &    The record form contains information related to the animal
          Examin ation Rep orts             animal in a study on the effec ts of a              (b)(7)(C)   at the time of death, including the method of sacrifice for
                                            drug on an animal                                               the animal or type of death of the animal, observations
                                                                                                            about the animal at the time of de ath, the study numbe r,
                                                                                                            animal number, and the names of HLS emp loyees.

LSR1911   Necropsy and Postmortem           Record of Administration for                  WIF   (b)(4) &    The record form contains information related to the drugs
          Examin ation Rep orts             Controlled Drugs used by the                        (b)(7)(C)   administered to animals in the study at the time of death,
                                            Necropsy Department                                             including the name o f the drug used, the study nu mber,
                                                                                                            observations about the animal before and after death, the
                                                                                                            study number, animal number, the date the drug was
                                                                                                            administered, and the names of HLS employees
                                                                                                            administering the drug.




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LSR1912   Necropsy and Postmortem           Record of Administration for                  WIF   (b)(4) &    The record form contains information related to the drugs
          Examin ation Rep orts             Controlled Drugs used by the                        (b)(7)(C)   administered to animals in the study at the time of death,
                                            Necropsy Department                                             including the name o f the drug used, the study nu mber,
                                                                                                            observations about the animal before and after death, the
                                                                                                            study number, animal number, the date the drug was
                                                                                                            administered, and the names of HLS employees
                                                                                                            administering the drug.

LSR2010   Necropsy and Postmortem           Necropsy Record Form for one                  WIF   (b)(4) &    The record form contains information related to the animal
          Examin ation Rep orts             animal in a study on the effec ts of a              (b)(7)(C)   at the time of death, including the method of sacrifice for
                                            drug on an animal                                               the animal or type of death of the animal, observations
                                                                                                            about the animal at the time of de ath, the study numbe r,
                                                                                                            animal number, and the names of HLS emp loyees.

LSR2013   Necropsy and Postmortem           Necropsy Record Form for one                  WIF   (b)(4) &    The record form contains information related to the animal
          Examin ation Rep orts             animal in a study on the effec ts of a              (b)(7)(C)   at the time of death, including the method of sacrifice for
                                            drug on an animal                                               the animal or type of death of the animal, observations
                                                                                                            about the animal at the time of de ath, the study numbe r,
                                                                                                            animal number, and the names of HLS emp loyees.

LSR2019   Necropsy and Postmortem           Necropsy Record Form for one                  WIF   (b)(4) &    The record form contains information related to the animal
          Examin ation Rep orts             animal in a study on the effec ts of a              (b)(7)(C)   at the time of death, including the method of sacrifice for
                                            drug on an animal                                               the animal or type of death of the animal, observations
                                                                                                            about the animal at the time of de ath, the study numbe r,
                                                                                                            animal number, and the names of HLS emp loyees.

LSR2024   Necropsy and Postmortem           Necropsy Record Form for one                  WIF   (b)(4) &    The record form contains information related to the animal
          Examin ation Rep orts             animal in a study on the effec ts of a              (b)(7)(C)   at the time of death, including the method of sacrifice for
                                            drug on an animal                                               the animal or type of death of the animal, observations
                                                                                                            about the animal at the time of de ath, the study numbe r,
                                                                                                            animal number, and the names of HLS emp loyees.

LSR2030   Necropsy and Postmortem           Necropsy Record Form for one                  WIF   (b)(4) &    The record form contains information related to the animal
          Examin ation Rep orts             animal in a study on the effec ts of a              (b)(7)(C)   at the time of death, including the method of sacrifice for
                                            drug on an animal                                               the animal or type of death of the animal, observations
                                                                                                            about the animal at the time of de ath, the study numbe r,
                                                                                                            animal number, and the names of HLS emp loyees.



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LSR2035   Necropsy and Postmortem           Necropsy Record Form for one                  WIF   (b)(4) &    The record form contains information related to the animal
          Examin ation Rep orts             animal in a study on the effec ts of a              (b)(7)(C)   at the time of death, including the method of sacrifice for
                                            drug on an animal                                               the animal or type of death of the animal, observations
                                                                                                            about the animal at the time of de ath, the study numbe r,
                                                                                                            animal number, and the names of HLS emp loyees.

LSR2040   Necropsy and Postmortem           Necropsy Record Form for one                  WIF   (b)(4) &    The record form contains information related to the animal
          Examin ation Rep orts             animal in a study on the effec ts of a              (b)(7)(C)   at the time of death, including the method of sacrifice for
                                            drug on an animal                                               the animal or type of death of the animal, observations
                                                                                                            about the animal at the time of de ath, the study numbe r,
                                                                                                            animal number, and the names of HLS emp loyees.

LSR2121   Necropsy and Postmortem           Necropsy Record Form for one                  WIF   (b)(4) &    The record form contains information related to the animal
          Examin ation Rep orts             animal in a study on the effec ts of a              (b)(7)(C)   at the time of death, including the method of sacrifice for
                                            drug on an animal                                               the animal or type of death of the animal, observations
                                                                                                            about the animal at the time of de ath, the study numbe r,
                                                                                                            animal number, and the names of HLS emp loyees.

LSR2130   Necropsy and Postmortem           Necropsy Record Form for one                  WIF   (b)(4) &    The record form contains information related to the animal
          Examin ation Rep orts             animal in a study on the effec ts of a              (b)(7)(C)   at the time of death, including the method of sacrifice for
                                            drug on an animal                                               the animal or type of death of the animal, observations
                                                                                                            about the animal at the time of de ath, the study numbe r,
                                                                                                            animal number, and the names of HLS emp loyees.

LSR0317   Viability Records                 Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                            for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
                                            of a drug on an animal                                          for the study. The table includes the company code for the
                                                                                                            company sponsoring the study, the study number, animal
                                                                                                            numbers, observations about the animals in the study, and
                                                                                                            the initials of HLS employees.

LSR0317   Viability Records                 Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                            for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
                                            of a drug on an animal                                          for the study. The table includes the company code for the
                                                                                                            company sponsoring the study, the study number, animal
                                                                                                            numbers, observations about the animals in the study, and
                                                                                                            the initials of HLS employees.



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LSR0318   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
                                      of a drug on an animal                                          for the study. The table includes the company code for the
                                                                                                      company sponsoring the study, the study number, animal
                                                                                                      numbers, observations about the animals in the study, and
                                                                                                      the initials of HLS employees.

LSR0319   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
                                      of a drug on an animal                                          for the study. The table includes the company code for the
                                                                                                      company sponsoring the study, the study number, animal
                                                                                                      numbers, observations about the animals in the study, and
                                                                                                      the initials of HLS employees.

LSR0320   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
                                      of a drug on an animal                                          for the study. The table includes the company code for the
                                                                                                      company sponsoring the study, the study number, animal
                                                                                                      numbers, observations about the animals in the study, and
                                                                                                      the initials of HLS employees.

LSR0321   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
                                      of a drug on an animal                                          for the study. The table includes the company code for the
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                                                                                                      numbers, observations about the animals in the study, and
                                                                                                      the initials of HLS employees.

LSR0322   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
                                      of a drug on an animal                                          for the study. The table includes the company code for the
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                                                                                                      the initials of HLS employees.




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LSR0323   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
                                      of a drug on an animal                                          for the study. The table includes the company code for the
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                                                                                                      numbers, observations about the animals in the study, and
                                                                                                      the initials of HLS employees.

LSR0324   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
                                      of a drug on an animal                                          for the study. The table includes the company code for the
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                                                                                                      the initials of HLS employees.

LSR0325   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
                                      of a drug on an animal                                          for the study. The table includes the company code for the
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                                                                                                      numbers, observations about the animals in the study, and
                                                                                                      the initials of HLS employees.

LSR0326   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
                                      of a drug on an animal                                          for the study. The table includes the company code for the
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                                                                                                      the initials of HLS employees.

LSR0327   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
                                      of a drug on an animal                                          for the study. The table includes the company code for the
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LSR0330   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
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LSR0396   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
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LSR0397   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
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LSR0398   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
                                      of a drug on an animal                                          for the study. The table includes the company code for the
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LSR0399   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
                                      of a drug on an animal                                          for the study. The table includes the company code for the
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LSR0400   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
                                      of a drug on an animal                                          for the study. The table includes the company code for the
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LSR0401   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
                                      of a drug on an animal                                          for the study. The table includes the company code for the
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LSR0402   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
                                      of a drug on an animal                                          for the study. The table includes the company code for the
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LSR0403   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
                                      of a drug on an animal                                          for the study. The table includes the company code for the
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LSR0404   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
                                      of a drug on an animal                                          for the study. The table includes the company code for the
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LSR0405   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
                                      of a drug on an animal                                          for the study. The table includes the company code for the
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LSR0406   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
                                      of a drug on an animal                                          for the study. The table includes the company code for the
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LSR0407   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
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LSR0408   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
                                      of a drug on an animal                                          for the study. The table includes the company code for the
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LSR0409   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
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LSR0410   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
                                      of a drug on an animal                                          for the study. The table includes the company code for the
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LSR0411   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
                                      of a drug on an animal                                          for the study. The table includes the company code for the
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LSR0412   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
                                      of a drug on an animal                                          for the study. The table includes the company code for the
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LSR0413   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
                                      of a drug on an animal                                          for the study. The table includes the company code for the
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LSR1074   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
                                      of a drug on an animal                                          for the study. The table includes the company code for the
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LSR1075   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
                                      of a drug on an animal                                          for the study. The table includes the company code for the
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LSR1076   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
                                      of a drug on an animal                                          for the study. The table includes the company code for the
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LSR1077   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
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LSR1078   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
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LSR1079   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
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                                      of a drug on an animal                                          for the study. The table includes the company code for the
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LSR1080   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
                                      of a drug on an animal                                          for the study. The table includes the company code for the
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LSR1081   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
                                      of a drug on an animal                                          for the study. The table includes the company code for the
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                                                                                                      numbers, observations about the animals in the study, and
                                                                                                      the initials of HLS employees.

LSR1082   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
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LSR1083   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
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LSR1084   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
                                      of a drug on an animal                                          for the study. The table includes the company code for the
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LSR1085   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
                                      of a drug on an animal                                          for the study. The table includes the company code for the
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                                                                                                      numbers, observations about the animals in the study, and
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LSR1086   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
                                      of a drug on an animal                                          for the study. The table includes the company code for the
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LSR1087   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
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LSR1088   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
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LSR1089   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
                                      of a drug on an animal                                          for the study. The table includes the company code for the
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LSR1090   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
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LSR1091   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
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LSR1092   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
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LSR1093   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
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LSR1094   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
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LSR1095   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
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LSR1096   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
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LSR1097   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
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LSR1098   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
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LSR1099   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
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LSR1100   Viability Records           Table containing the viab ility record        WIF   (b)(4) &    This table was created specifically for a particular study
                                      for animals in a study on the effects               (b)(7)(C)   and includ es column s for observ ations that are p articularly
                                      of a drug on an animal                                          for the study. The table includes the company code for the
                                                                                                      company sponsoring the study, the study number, animal
                                                                                                      numbers, observations about the animals in the study, and
                                                                                                      the initials of HLS employees.

LSR0142   Viability Records           Animal Observation Table for                  WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of                (b)(7)(C)   HLS employees
                                      a drug on an animal

LSR0143   Viability Records           Animal Observation Table for                  WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of                (b)(7)(C)   HLS employees
                                      a drug on an animal

LSR0144   Viability Records           Animal Observation Table for                  WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of                (b)(7)(C)   HLS employees
                                      a drug on an animal

LSR0145   Viability Records           Animal Observation Table for                  WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of                (b)(7)(C)   HLS employees
                                      a drug on an animal

LSR0146   Viability Records           Animal Observation Table for                  WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of                (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR0147   Viability Records           Animal Observation Table for                  WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of                (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                             that reveal the anticipated or actual effects of the drug
                                                                                                      tested in the study.

LSR0148   Viability Records           Animal Observation Table for                  WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of                (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                             that reveal the anticipated or actual effects of the drug
                                                                                                      tested in the study.




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LSR0149   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR0150   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR0151   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR0152   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR0153   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR0154   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR0155   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR0156   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR0157   Viability Records           Animal Observation Table for                WIP   (b)(7)(C)   The redactions include initials of HLS employees.
                                      animals in a study on the effects of
                                      a drug on an animal



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LSR0158   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR0159   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1301   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1302   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1303   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1304   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1305   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1306   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.


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LSR1307   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1308   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1309   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1310   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1320   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1321   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1322   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.




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LSR1323   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
(?)                                   animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1324   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1325   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1326   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1327   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1328   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
(?)                                   animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1329   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
(?)                                   animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.




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LSR1330   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1335   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1336   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1337   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1338   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1339   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1340   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.




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LSR1341   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1342   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1343   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1350   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1351   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1357   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1358   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1440   Viability Records           Daily En vironmen tal and Via bility        WIP   (b)(4) &    The redactions include the study number and initials of
                                      Check Re cord                                     (b)(7)(C)   HLS employees.




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LSR1444   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
(?)                                   animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1445   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
(?)                                   animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1446   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1447   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1448   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
(?)                                   animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1449   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
(?)                                   animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1450   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1453   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.




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LSR1454   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1455   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1456   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1457   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1458   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1459   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
(?)                                   animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1460   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.




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LSR1461   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1462   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1463   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1464   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
(?)                                   animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1465   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1466   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1467   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.




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LSR1468   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1469   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1470   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1471   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1473   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1474   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1476   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.




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LSR1477   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1478   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1479   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1480   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1481   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1482   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1483   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.




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LSR1484   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1485   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1486   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1487   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1488   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1489   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1490   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.




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LSR1491   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1492   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1493   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1494   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1495   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1496   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1497   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.




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LSR1498   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1499   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1500   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1501   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1502   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1503   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1504   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.




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LSR1505   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1506   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1507   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1508   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1509   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1510   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1511   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.




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LSR1512   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1513   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1514   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1515   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1516   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1517   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1518   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.




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LSR1519   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1520   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1521   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1522   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1523   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1524   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1525   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.




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LSR1526   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1527   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1528   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1529   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1530   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1531   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1532   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.




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LSR1533   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1534   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1535   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1536   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1537   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1538   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1539   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.




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LSR1540   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1541   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1542   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1543   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1544   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1545   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1546   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.




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LSR1547   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1548   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1549   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1550   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1551   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1552   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1553   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.




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LSR1554   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1555   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1556   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1557   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1558   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1559   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1560   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.




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LSR1561   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1562   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1563   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1564   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1565   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1566   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1567   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.




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LSR1568   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1569   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1570   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1571   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1572   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1573   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1574   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.




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LSR1575   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1576   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1577   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1578   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1579   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1580   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1581   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.




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LSR1582   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1583   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1584   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1585   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1586   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1587   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1588   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.




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LSR1589   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1590   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1591   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1623   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1629   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1631   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1643   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.




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LSR1644   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1646   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
(?)                                   animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1647   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1649   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
(?)                                   animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1650   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1651   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1652   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1653   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1654   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal



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LSR1656   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
(?)                                   animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1657   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
(?)                                   animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1658   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
(?)                                   animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1659   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
(?)                                   animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1660   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
(?)                                   animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1661   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1662   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1665   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
(?)                                   animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1666   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
(?)                                   animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.



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LSR1667   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1668   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
(?)                                   animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1669   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1670   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1671   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1672   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
(?)                                   animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1673   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1674   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1675   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
(?)                                   animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal



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LSR1676   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1677   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1678   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1679   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
(?)                                   animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1682   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1683   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1684   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1685   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1686   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal




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LSR1687   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1688   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1689   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1690   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1691   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1719   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1775   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1776   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1777   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal




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LSR1778   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1779   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1780   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1781   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1782   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1783   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1784   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1785   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1786   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal




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LSR1787   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1789   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1790   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1801   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1804   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1805   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1806   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1807   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1808   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal




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LSR1809   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1810   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1811   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1812   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1813   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1814   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1815   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1816   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1817   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal




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LSR1819   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1820   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1821   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1822   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of              (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1879   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1880   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1894   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.

LSR1895   Viability Records           Animal Observation Table for                WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of              (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                           that reveal the anticipated or actual effects of the drug
                                                                                                    tested in the study.




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LSR1896   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR1913   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR1914   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR1915   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR1919   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR1920   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of           (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1931   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of           (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1932   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of           (b)(7)(C)   HLS employees.
                                      a drug on an animal




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LSR1933   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of           (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1934   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of           (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1935   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of           (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1936   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of           (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1937   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of           (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1938   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of           (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1939   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of           (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1940   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of           (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1941   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of           (b)(7)(C)   HLS employees.
                                      a drug on an animal




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LSR1942   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of           (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1943   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of           (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR1994   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR1995   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR1996   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR1997   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR1998   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR1999   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.




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LSR2000   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2001   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2002   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2003   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2029   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of           (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR2110   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2111   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2112   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.


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LSR2113   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2114   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2115   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2116   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2117   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2118   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2119   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2127   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of           (b)(7)(C)   HLS employees.
                                      a drug on an animal


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LSR2128   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2129   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of           (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR2235   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2236   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2237   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of           (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR2238   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2239   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2240   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of           (b)(7)(C)   HLS employees.
                                      a drug on an animal




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LSR2241   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of           (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR2242   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of           (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR2243   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of           (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR2244   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2245   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of           (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR2307   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2308   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2309   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.




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LSR2310   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2311   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2312   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2313   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2314   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2315   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2316   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.




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LSR2317   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2318   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2319   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2320   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2321   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2322   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2323   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.




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LSR2324   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2325   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2326   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2327   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2328   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2329   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2330   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.




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LSR2331   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2332   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2333   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2334   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2335   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2336   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2337   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.




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LSR2338   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2339   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2340   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2341   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2342   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2343   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2344   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.




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LSR2345   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2346   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2347   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2348   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2349   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2350   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2351   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.




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LSR2352   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2353   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2354   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2355   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of           (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR2356   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number and initials of
(?)                                   animals in a study on the effects of           (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR2357   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number and initials of
(?)                                   animals in a study on the effects of           (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR2358   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number and initials of
(?)                                   animals in a study on the effects of           (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR2359   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.




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LSR2360   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2361   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2362   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2364   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number and initials of
                                      animals in a study on the effects of           (b)(7)(C)   HLS employees.
                                      a drug on an animal

LSR2365   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2366   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2367   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.

LSR2368   Viability Records           Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                      animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                      a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                 tested in the study.


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LSR2373   Viability Records                   Animal Observation Table for             WIP   (b)(4) &    The redactions include the study number, initials of HLS
                                              animals in a study on the effects of           (b)(7)(C)   employees, and observations about the animals in the study
                                              a drug on an animal                                        that reveal the anticipated or actual effects of the drug
                                                                                                         tested in the study.

LSR0140   Veterinary Treatment Requests and   Request for Veterinary Services          WIP   (b)(4) &    The redactions include the a code for the company
          Logs                                Form for animals in a study on the             (b)(7)(C)   sponsoring the study, the study number, animal numbers,
                                              effects of a drug on an animal                             the names of H LS employe es, and a description fo
                                                                                                         treatments that were requested and provided for the purpose
                                                                                                         of alleviating medical conditions of the test animals. For
                                                                                                         these descriptions, only information that reveals conditions
                                                                                                         apparently caused by the tested compounds is redacted.


LSR0141   Veterinary Treatment Requests and   Request for Veterinary Services          WIP   (b)(4) &    The redactions include the a code for the company
          Logs                                Form for animals in a study on the             (b)(7)(C)   sponsoring the study, the study number, animal numbers,
                                              effects of a drug on an animal                             the names of HLS employees, and a description for
                                                                                                         treatments that were requested and provided for the purpose
                                                                                                         of alleviating medical conditions of the test animals. For
                                                                                                         these descriptions, only information that reveals conditions
                                                                                                         apparently caused by the tested compounds is redacted.

LSR0414   Veterinary Treatment Requests and   Request for Veterinary Services          WIP   (b)(4) &    The redactions include the a code for the company
          Logs                                Form for animals in a study on the             (b)(7)(C)   sponsoring the study, the study number, animal numbers,
                                              effects of a drug on an animal                             and the names of HLS employees.

LSR0415   Veterinary Treatment Requests and   Request for Veterinary Services          WIP   (b)(7)(C)   The redactions include the name of HLS employee.
          Logs                                Form for animals in a study on the
                                              effects of a drug on an animal

LSR0416   Veterinary Treatment Requests and   Request for Veterinary Services          WIP   (b)(4) &    The redactions include the a code for the company
          Logs                                Form for animals in a study on the             (b)(7)(C)   sponsoring the study, the study number, animal numbers,
                                              effects of a drug on an animal                             and the names of HLS employees.

LSR0417   Veterinary Treatment Requests and   Request for Veterinary Services          WIP   (b)(4) &    The redactions include the a code for the company
          Logs                                Form for animals in a study on the             (b)(7)(C)   sponsoring the study, the study number, animal numbers,
                                              effects of a drug on an animal                             and the names of HLS employees.



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LSR1441   Veterinary Treatment Requests and   Request for Veterinary Services        WIP   (b)(4) &    The redactions include the a code for the company
          Logs                                Form for animals in a study on the           (b)(7)(C)   sponsoring the study, the study number, animal numbers,
                                              effects of a drug on an animal                           and the names of HLS employees.

LSR1442   Veterinary Treatment Requests and   Request for Veterinary Services        WIP   (b)(4) &    The redactions include the a code for the company
          Logs                                Form for animals in a study on the           (b)(7)(C)   sponsoring the study, the study number, animal numbers,
                                              effects of a drug on an animal                           and the names of HLS employees.

LSR1443   Veterinary Treatment Requests and   Request for Veterinary Services        WIP   (b)(7)(C)   The redactions include the name of HLS employee.
          Logs                                Form for animals in a study on the
                                              effects of a drug on an animal

LSR1645   Veterinary Treatment Requests and   Request for Veterinary Services        WIP   (b)(4) &    The redactions include the a code for the company
          Logs                                Form for animals in a study on the           (b)(7)(C)   sponsoring the study, the study number, animal numbers,
                                              effects of a drug on an animal                           and the names of HLS employees.

LSR1648   Veterinary Treatment Requests and   Request for Veterinary Services        WIP   (b)(4) &    The redactions include the a code for the company
(?)       Logs                                Form for animals in a study on the           (b)(7)(C)   sponsoring the study, the study number, animal numbers,
                                              effects of a drug on an animal                           and the names of HLS employees.

LSR1655   Veterinary Treatment Requests and   Request for Veterinary Services        WIP   (b)(4) &    The redactions include the a code for the company
          Logs                                Form for animals in a study on the           (b)(7)(C)   sponsoring the study, the study number, animal numbers,
                                              effects of a drug on an animal                           and the names of HLS employees.

LSR1663   Veterinary Treatment Requests and   Request for Veterinary Services        WIP   (b)(4) &    The redactions include the a code for the company
          Logs                                Form for animals in a study on the           (b)(7)(C)   sponsoring the study, the study number, animal numbers,
                                              effects of a drug on an animal                           and the names of HLS employees.

LSR1664   Veterinary Treatment Requests and   Request for Veterinary Services        WIP   (b)(7)(C)   The redactions include the name of HLS employee.
          Logs                                Form for animals in a study on the
                                              effects of a drug on an animal

LSR1692   Veterinary Treatment Requests and   Request for Veterinary Services        WIP   (b)(4) &    The redactions include the a code for the company
          Logs                                Form for animals in a study on the           (b)(7)(C)   sponsoring the study, the study number, animal numbers,
                                              effects of a drug on an animal                           and the names of HLS employees.




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LSR1693   Veterinary Treatment Requests and   Request for Veterinary Services          WIP   (b)(7)(C)   The redactions include the name of HLS employee.
          Logs                                Form for animals in a study on the
                                              effects of a drug on an animal

LSR2108   Veterinary Treatment Requests and   Request for Veterinary Services          WIP   (b)(4) &    The redactions include the a code for the company
          Logs                                Form for animals in a study on the             (b)(7)(C)   sponsoring the study, the study number, animal numbers,
                                              effects of a drug on an animal                             and the names of HLS employees.

LSR2363   Veterinary Treatment Requests and   Request for Veterinary Services          WIP   (b)(4) &    The redactions include the a code for the company
          Logs                                Form for animals in a study on the             (b)(7)(C)   sponsoring the study, the study number, animal numbers,
                                              effects of a drug on an animal                             and the names of HLS employees.

LSR2375   Veterinary Treatment Requests and   Request for Veterinary Services          WIP   (b)(4) &    The redactions include the a code for the company
          Logs                                Form for animals in a study on the             (b)(7)(C)   sponsoring the study, the study number, animal numbers,
                                              effects of a drug on an animal                             and the names of HLS employees.

LSR2376   Veterinary Treatment Requests and   Request for Veterinary Services          WIP   (b)(7)(C)   The redactions include the name of HLS employee.
          Logs                                Form for animals in a study on the
                                              effects of a drug on an animal

LSR0226   Veterinary Treatment Requests and   Veterinary Examination for Animal        WIF   (b)(4) &    The layout of the form and the manner in which the
          Logs                                Acceptance Form for animals in a               (b)(7)(C)   information is documented on the form was specified in the
                                              study on the effects of a drug on an                       HLS Standard Operating Procedures for the study. The
                                              animal                                                     form contains the study number, animal numbers,
                                                                                                         observatio ns regardin g the anim al related to w hether to
                                                                                                         accept the animal for the study, and a decision on whether
                                                                                                         to accept the animal for the study.

LSR0226   Veterinary Treatment Requests and   Veterinary Examination for Animal        WIF   (b)(4) &    The layout of the form and the manner in which the
          Logs                                Acceptance Form for animals in a               (b)(7)(C)   information is documented on the form was specified in the
                                              study on the effects of a drug on an                       HLS Standard Operating Procedures for the study. The
                                              animal                                                     form contains the study number, animal numbers,
                                                                                                         observatio ns regardin g the anim al related to w hether to
                                                                                                         accept the animal for the study, and a decision on whether
                                                                                                         to accept the animal for the study.




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LSR0312   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
                                                                                                          company code for the company sponsoring the study, the
                                                                                                          study number, animal numbers, observations about the
                                                                                                          animals in the study, and the name and initials of HLS
                                                                                                          employees.

LSR0315   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
                                                                                                          company code for the company sponsoring the study, the
                                                                                                          study number, animal numbers, observations about the
                                                                                                          animals in the study, and the name and initials of HLS
                                                                                                          employees.

LSR0316   Veterinary Treatment Requests and   Veterinary Request Treatment Log          WIF   (b)(4) &    The layout of the form and the manner in which the
          Logs                                for animals in a study on the effects           (b)(7)(C)   information is documented on the form was specified in the
                                              of a drug on an animal                                      HLS Standard Operating Procedures for the study. The
                                                                                                          form contains a description of the treatment provided to the
                                                                                                          animals in the study, as specified on the Request for
                                                                                                          Veterinary Service Form and the name of HLS employees.

LSR0328   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
                                                                                                          company code for the company sponsoring the study, the
                                                                                                          study number, animal numbers, observations about the
                                                                                                          animals in the study, and the name and initials of HLS
                                                                                                          employees.




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LSR0329   Veterinary Treatment Requests and   Request for Veterinary Services       WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the           (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                          are particularly for the study. The table includes the
                                                                                                      company code for the company sponsoring the study, the
                                                                                                      study number, animal numbers, observations about the
                                                                                                      animals in the study, and the name and initials of HLS
                                                                                                      employees.

LSR0329   Veterinary Treatment Requests and   Request for Veterinary Services       WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the           (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                          are particularly for the study. The table includes the
                                                                                                      company code for the company sponsoring the study, the
                                                                                                      study number, animal numbers, observations about the
                                                                                                      animals in the study, and the name and initials of HLS
                                                                                                      employees.

LSR0394   Veterinary Treatment Requests and   Request for Veterinary Services       WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the           (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                          are particularly for the study. The table includes the
                                                                                                      company code for the company sponsoring the study, the
                                                                                                      study number, animal numbers, observations about the
                                                                                                      animals in the study, and the name and initials of HLS
                                                                                                      employees.

LSR0395   Veterinary Treatment Requests and   Request for Veterinary Services       WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the           (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                          are particularly for the study. The table includes the
                                                                                                      company code for the company sponsoring the study, the
                                                                                                      study number, animal numbers, observations about the
                                                                                                      animals in the study, and the name and initials of HLS
                                                                                                      employees.




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LSR1103   Veterinary Treatment Requests and   Request for Veterinary Services       WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the           (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                          are particularly for the study. The table includes the
                                                                                                      company code for the company sponsoring the study, the
                                                                                                      study number, animal numbers, observations about the
                                                                                                      animals in the study, and the name and initials of HLS
                                                                                                      employees.

LSR1104   Veterinary Treatment Requests and   Request for Veterinary Services       WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the           (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                          are particularly for the study. The table includes the
                                                                                                      company code for the company sponsoring the study, the
                                                                                                      study number, animal numbers, observations about the
                                                                                                      animals in the study, and the name and initials of HLS
                                                                                                      employees.

LSR1070   Veterinary Treatment Requests and   Request for Veterinary Services       WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the           (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                          are particularly for the study. The table includes the
                                                                                                      company code for the company sponsoring the study, the
                                                                                                      study number, animal numbers, observations about the
                                                                                                      animals in the study, and the name and initials of HLS
                                                                                                      employees.

LSR1071   Veterinary Treatment Requests and   Request for Veterinary Services       WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the           (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                          are particularly for the study. The table includes the
                                                                                                      company code for the company sponsoring the study, the
                                                                                                      study number, animal numbers, observations about the
                                                                                                      animals in the study, and the name and initials of HLS
                                                                                                      employees.




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LSR0316   Veterinary Treatment Requests and   Veterinary Request Treatment Log          WIF   (b)(4) &    The layout of the form and the manner in which the
          Logs                                for animals in a study on the effects           (b)(7)(C)   information is documented on the form was specified in the
                                              of a drug on an animal                                      HLS Standard Operating Procedures for the study. The
                                                                                                          form contains a description of the treatment provided to the
                                                                                                          animals in the study, as specified on the Request for
                                                                                                          Veterinary Service Form and the name of HLS employees.

LSR1172   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
                                                                                                          company code for the company sponsoring the study, the
                                                                                                          study number, animal numbers, observations about the
                                                                                                          animals in the study, and the name and initials of HLS
                                                                                                          employees.

LSR1173   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
                                                                                                          company code for the company sponsoring the study, the
                                                                                                          study number, animal numbers, observations about the
                                                                                                          animals in the study, and the name and initials of HLS
                                                                                                          employees.

LSR1174   Veterinary Treatment Requests and   Veterinary Request Treatment Log          WIF   (b)(4) &    The layout of the form and the manner in which the
          Logs                                for animals in a study on the effects           (b)(7)(C)   information is documented on the form was specified in the
                                              of a drug on an animal                                      HLS Standard Operating Procedures for the study. The
                                                                                                          form contains a description of the treatment provided to the
                                                                                                          animals in the study, as specified on the Request for
                                                                                                          Veterinary Service Form and the name of HLS employees.

LSR1175   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
                                                                                                          company code for the company sponsoring the study, the
                                                                                                          study number, animal numbers, observations about the
                                                                                                          animals in the study, and the name and initials of HLS
                                                                                                          employees.



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LSR1176   Veterinary Treatment Requests and   Veterinary Request Treatment Log          WIF   (b)(4) &    The layout of the form and the manner in which the
          Logs                                for animals in a study on the effects           (b)(7)(C)   information is documented on the form was specified in the
                                              of a drug on an animal                                      HLS Standard Operating Procedures for the study. The
                                                                                                          form contains a description of the treatment provided to the
                                                                                                          animals in the study, as specified on the Request for
                                                                                                          Veterinary Service Form and the name of HLS employees.

LSR1177   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
                                                                                                          company code for the company sponsoring the study, the
                                                                                                          study number, animal numbers, observations about the
                                                                                                          animals in the study, and the name and initials of HLS
                                                                                                          employees.

LSR1178   Veterinary Treatment Requests and   Veterinary Request Treatment Log          WIF   (b)(4) &    The layout of the form and the manner in which the
          Logs                                for animals in a study on the effects           (b)(7)(C)   information is documented on the form was specified in the
                                              of a drug on an animal                                      HLS Standard Operating Procedures for the study. The
                                                                                                          form contains a description of the treatment provided to the
                                                                                                          animals in the study, as specified on the Request for
                                                                                                          Veterinary Service Form and the name of HLS employees.

LSR1179   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
                                                                                                          company code for the company sponsoring the study, the
                                                                                                          study number, animal numbers, observations about the
                                                                                                          animals in the study, and the name and initials of HLS
                                                                                                          employees.

LSR1180   Veterinary Treatment Requests and   Veterinary Request Treatment Log          WIF   (b)(4) &    The layout of the form and the manner in which the
          Logs                                for animals in a study on the effects           (b)(7)(C)   information is documented on the form was specified in the
                                              of a drug on an animal                                      HLS Standard Operating Procedures for the study. The
                                                                                                          form contains a description of the treatment provided to the
                                                                                                          animals in the study, as specified on the Request for
                                                                                                          Veterinary Service Form and the name of HLS employees.




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LSR1181   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
                                                                                                          company code for the company sponsoring the study, the
                                                                                                          study number, animal numbers, observations about the
                                                                                                          animals in the study, and the name and initials of HLS
                                                                                                          employees.

LSR1182   Veterinary Treatment Requests and   Veterinary Request Treatment Log          WIF   (b)(4) &    The layout of the form and the manner in which the
          Logs                                for animals in a study on the effects           (b)(7)(C)   information is documented on the form was specified in the
                                              of a drug on an animal                                      HLS Standard Operating Procedures for the study. The
                                                                                                          form contains a description of the treatment provided to the
                                                                                                          animals in the study, as specified on the Request for
                                                                                                          Veterinary Service Form and the name of HLS employees.

LSR1183   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
                                                                                                          company code for the company sponsoring the study, the
                                                                                                          study number, animal numbers, observations about the
                                                                                                          animals in the study, and the name and initials of HLS
                                                                                                          employees.

LSR1184   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
                                                                                                          company code for the company sponsoring the study, the
                                                                                                          study number, animal numbers, observations about the
                                                                                                          animals in the study, and the name and initials of HLS
                                                                                                          employees.

LSR1185   Veterinary Treatment Requests and   Veterinary Request Treatment Log          WIF   (b)(4) &    The layout of the form and the manner in which the
          Logs                                for animals in a study on the effects           (b)(7)(C)   information is documented on the form was specified in the
                                              of a drug on an animal                                      HLS Standard Operating Procedures for the study. The
                                                                                                          form contains a description of the treatment provided to the
                                                                                                          animals in the study, as specified on the Request for
                                                                                                          Veterinary Service Form and the name of HLS employees.



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LSR1186   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
                                                                                                          company code for the company sponsoring the study, the
                                                                                                          study number, animal numbers, observations about the
                                                                                                          animals in the study, and the name and initials of HLS
                                                                                                          employees.

LSR1187   Veterinary Treatment Requests and   Veterinary Request Treatment Log          WIF   (b)(4) &    The layout of the form and the manner in which the
          Logs                                for animals in a study on the effects           (b)(7)(C)   information is documented on the form was specified in the
                                              of a drug on an animal                                      HLS Standard Operating Procedures for the study. The
                                                                                                          form contains a description of the treatment provided to the
                                                                                                          animals in the study, as specified on the Request for
                                                                                                          Veterinary Service Form and the name of HLS employees.

LSR1188   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
                                                                                                          company code for the company sponsoring the study, the
                                                                                                          study number, animal numbers, observations about the
                                                                                                          animals in the study, and the name and initials of HLS
                                                                                                          employees.

LSR1189   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
                                                                                                          company code for the company sponsoring the study, the
                                                                                                          study number, animal numbers, observations about the
                                                                                                          animals in the study, and the name and initials of HLS
                                                                                                          employees.




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LSR1190   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
                                                                                                          company code for the company sponsoring the study, the
                                                                                                          study number, animal numbers, observations about the
                                                                                                          animals in the study, and the name and initials of HLS
                                                                                                          employees.

LSR1191   Veterinary Treatment Requests and   Veterinary Request Treatment Log          WIF   (b)(4) &    The layout of the form and the manner in which the
          Logs                                for animals in a study on the effects           (b)(7)(C)   information is documented on the form was specified in the
                                              of a drug on an animal                                      HLS Standard Operating Procedures for the study. The
                                                                                                          form contains a description of the treatment provided to the
                                                                                                          animals in the study, as specified on the Request for
                                                                                                          Veterinary Service Form and the name of HLS employees.

LSR1192   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
                                                                                                          company code for the company sponsoring the study, the
                                                                                                          study number, animal numbers, observations about the
                                                                                                          animals in the study, and the name and initials of HLS
                                                                                                          employees.

LSR1193   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
                                                                                                          company code for the company sponsoring the study, the
                                                                                                          study number, animal numbers, observations about the
                                                                                                          animals in the study, and the name and initials of HLS
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LSR1194   Veterinary Treatment Requests and   Request for Veterinary Services       WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the           (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                          are particularly for the study. The table includes the
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                                                                                                      animals in the study, and the name and initials of HLS
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LSR1195   Veterinary Treatment Requests and   Request for Veterinary Services       WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the           (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                          are particularly for the study. The table includes the
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                                                                                                      animals in the study, and the name and initials of HLS
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LSR1196   Veterinary Treatment Requests and   Request for Veterinary Services       WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the           (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                          are particularly for the study. The table includes the
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                                                                                                      animals in the study, and the name and initials of HLS
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LSR1197   Veterinary Treatment Requests and   Request for Veterinary Services       WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the           (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                          are particularly for the study. The table includes the
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LSR1198   Veterinary Treatment Requests and   Veterinary Request Treatment Log          WIF   (b)(4) &    The layout of the form and the manner in which the
          Logs                                for animals in a study on the effects           (b)(7)(C)   information is documented on the form was specified in the
                                              of a drug on an animal                                      HLS Standard Operating Procedures for the study. The
                                                                                                          form contains a description of the treatment provided to the
                                                                                                          animals in the study, as specified on the Request for
                                                                                                          Veterinary Service Form and the name of HLS employees.

LSR1199   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
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LSR1200   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
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LSR1201   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
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LSR1220   Veterinary Treatment Requests and   Veterinary Examination for Animal        WIF   (b)(4) &    The layout of the form and the manner in which the
          Logs                                Acceptance Form for animals in a               (b)(7)(C)   information is documented on the form was specified in the
                                              study on the effects of a drug on an                       HLS Standard Operating Procedures for the study. The
                                              animal                                                     form contains the study number, animal numbers,
                                                                                                         observatio ns regardin g the anim al related to w hether to
                                                                                                         accept the animal for the study, and a decision on whether
                                                                                                         to accept the animal for the study.

LSR1221   Veterinary Treatment Requests and   Veterinary Examination for Animal        WIF   (b)(4) &    The layout of the form and the manner in which the
          Logs                                Acceptance Form for animals in a               (b)(7)(C)   information is documented on the form was specified in the
                                              study on the effects of a drug on an                       HLS Standard Operating Procedures for the study. The
                                              animal                                                     form contains the study number, animal numbers,
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                                                                                                         accept the animal for the study, and a decision on whether
                                                                                                         to accept the animal for the study.

LSR1312   Veterinary Treatment Requests and   Request for Veterinary Services          WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the              (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                             are particularly for the study. The table includes the
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LSR1331   Veterinary Treatment Requests and   Request for Veterinary Services          WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the              (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                             are particularly for the study. The table includes the
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LSR1344   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
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                                                                                                          employees.

LSR1348   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
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                                                                                                          employees.

LSR1349   Veterinary Treatment Requests and   Veterinary Request Treatment Log          WIF   (b)(4) &    The layout of the form and the manner in which the
          Logs                                for animals in a study on the effects           (b)(7)(C)   information is documented on the form was specified in the
                                              of a drug on an animal                                      HLS Standard Operating Procedures for the study. The
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                                                                                                          animals in the study, as specified on the Request for
                                                                                                          Veterinary Service Form and the name of HLS employees.

LSR1355   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
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LSR1356   Veterinary Treatment Requests and   Veterinary Request Treatment Log          WIF   (b)(4) &    The layout of the form and the manner in which the
          Logs                                for animals in a study on the effects           (b)(7)(C)   information is documented on the form was specified in the
                                              of a drug on an animal                                      HLS Standard Operating Procedures for the study. The
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LSR1451   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
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LSR1452   Veterinary Treatment Requests and   Veterinary Request Treatment Log          WIF   (b)(4) &    The layout of the form and the manner in which the
          Logs                                for animals in a study on the effects           (b)(7)(C)   information is documented on the form was specified in the
                                              of a drug on an animal                                      HLS Standard Operating Procedures for the study. The
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LSR1472   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
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LSR1475   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
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LSR1680   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
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LSR1681   Veterinary Treatment Requests and   Veterinary Request Treatment Log          WIF   (b)(4) &    The layout of the form and the manner in which the
          Logs                                for animals in a study on the effects           (b)(7)(C)   information is documented on the form was specified in the
                                              of a drug on an animal                                      HLS Standard Operating Procedures for the study. The
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                                                                                                          animals in the study, as specified on the Request for
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LSR1828   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
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LSR1887   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
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LSR1888   Veterinary Treatment Requests and   Veterinary Request Treatment Log          WIF   (b)(4) &    The layout of the form and the manner in which the
          Logs                                for animals in a study on the effects           (b)(7)(C)   information is documented on the form was specified in the
                                              of a drug on an animal                                      HLS Standard Operating Procedures for the study. The
                                                                                                          form contains a description of the treatment provided to the
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LSR1889   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
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LSR1890   Veterinary Treatment Requests and   Veterinary Request Treatment Log          WIF   (b)(4) &    The layout of the form and the manner in which the
          Logs                                for animals in a study on the effects           (b)(7)(C)   information is documented on the form was specified in the
                                              of a drug on an animal                                      HLS Standard Operating Procedures for the study. The
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LSR1891   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
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LSR1892   Veterinary Treatment Requests and   Veterinary Request Treatment Log          WIF   (b)(4) &    The layout of the form and the manner in which the
          Logs                                for animals in a study on the effects           (b)(7)(C)   information is documented on the form was specified in the
                                              of a drug on an animal                                      HLS Standard Operating Procedures for the study. The
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                                                                                                          animals in the study, as specified on the Request for
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LSR1893   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
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LSR1900   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
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LSR1901   Veterinary Treatment Requests and   Veterinary Request Treatment Log          WIF   (b)(4) &    The layout of the form and the manner in which the
          Logs                                for animals in a study on the effects           (b)(7)(C)   information is documented on the form was specified in the
                                              of a drug on an animal                                      HLS Standard Operating Procedures for the study. The
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LSR1902   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
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LSR1903   Veterinary Treatment Requests and   Veterinary Request Treatment Log          WIF   (b)(4) &    The layout of the form and the manner in which the
          Logs                                for animals in a study on the effects           (b)(7)(C)   information is documented on the form was specified in the
                                              of a drug on an animal                                      HLS Standard Operating Procedures for the study. The
                                                                                                          form contains a description of the treatment provided to the
                                                                                                          animals in the study, as specified on the Request for
                                                                                                          Veterinary Service Form and the name of HLS employees.

LSR1917   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
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LSR1930   Veterinary Treatment Requests and   Request for Veterinary Services       WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the           (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                          are particularly for the study. The table includes the
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LSR1990   Veterinary Treatment Requests and   Request for Veterinary Services       WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the           (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                          are particularly for the study. The table includes the
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LSR1993   Veterinary Treatment Requests and   Request for Veterinary Services       WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the           (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                          are particularly for the study. The table includes the
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LSR2015   Veterinary Treatment Requests and   Request for Veterinary Services       WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the           (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                          are particularly for the study. The table includes the
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LSR2106   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
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LSR2107   Veterinary Treatment Requests and   Veterinary Request Treatment Log          WIF   (b)(4) &    The layout of the form and the manner in which the
          Logs                                for animals in a study on the effects           (b)(7)(C)   information is documented on the form was specified in the
                                              of a drug on an animal                                      HLS Standard Operating Procedures for the study. The
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                                                                                                          animals in the study, as specified on the Request for
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LSR2109   Veterinary Treatment Requests and   Veterinary Request Treatment Log          WIF   (b)(4) &    The layout of the form and the manner in which the
          Logs                                for animals in a study on the effects           (b)(7)(C)   information is documented on the form was specified in the
                                              of a drug on an animal                                      HLS Standard Operating Procedures for the study. The
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LSR2234   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
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LSR2273   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
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LSR2274   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
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LSR2275   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
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LSR2276   Veterinary Treatment Requests and   Veterinary Request Treatment Log          WIF   (b)(4) &    The layout of the form and the manner in which the
          Logs                                for animals in a study on the effects           (b)(7)(C)   information is documented on the form was specified in the
                                              of a drug on an animal                                      HLS Standard Operating Procedures for the study. The
                                                                                                          form contains a description of the treatment provided to the
                                                                                                          animals in the study, as specified on the Request for
                                                                                                          Veterinary Service Form and the name of HLS employees.

LSR2369   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
                                                                                                          company code for the company sponsoring the study, the
                                                                                                          study number, animal numbers, observations about the
                                                                                                          animals in the study, and the name and initials of HLS
                                                                                                          employees.




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LSR2370   Veterinary Treatment Requests and   Request for Veterinary Services       WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the           (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                          are particularly for the study. The table includes the
                                                                                                      company code for the company sponsoring the study, the
                                                                                                      study number, animal numbers, observations about the
                                                                                                      animals in the study, and the name and initials of HLS
                                                                                                      employees.

LSR2372   Veterinary Treatment Requests and   Request for Veterinary Services       WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the           (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                          are particularly for the study. The table includes the
                                                                                                      company code for the company sponsoring the study, the
                                                                                                      study number, animal numbers, observations about the
                                                                                                      animals in the study, and the name and initials of HLS
                                                                                                      employees.

LSR2374   Veterinary Treatment Requests and   Request for Veterinary Services       WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the           (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                          are particularly for the study. The table includes the
                                                                                                      company code for the company sponsoring the study, the
                                                                                                      study number, animal numbers, observations about the
                                                                                                      animals in the study, and the name and initials of HLS
                                                                                                      employees.

LSR2377   Veterinary Treatment Requests and   Request for Veterinary Services       WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the           (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                          are particularly for the study. The table includes the
                                                                                                      company code for the company sponsoring the study, the
                                                                                                      study number, animal numbers, observations about the
                                                                                                      animals in the study, and the name and initials of HLS
                                                                                                      employees.




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LSR2378   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
                                                                                                          company code for the company sponsoring the study, the
                                                                                                          study number, animal numbers, observations about the
                                                                                                          animals in the study, and the name and initials of HLS
                                                                                                          employees.

LSR2379   Veterinary Treatment Requests and   Veterinary Request Treatment Log          WIF   (b)(4) &    The layout of the form and the manner in which the
          Logs                                for animals in a study on the effects           (b)(7)(C)   information is documented on the form was specified in the
                                              of a drug on an animal                                      HLS Standard Operating Procedures for the study. The
                                                                                                          form contains a description of the treatment provided to the
                                                                                                          animals in the study, as specified on the Request for
                                                                                                          Veterinary Service Form and the name of HLS employees.

LSR2380   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
                                                                                                          company code for the company sponsoring the study, the
                                                                                                          study number, animal numbers, observations about the
                                                                                                          animals in the study, and the name and initials of HLS
                                                                                                          employees.

LSR2381   Veterinary Treatment Requests and   Request for Veterinary Services           WIF   (b)(4) &    This form was created specifically for a particular study
          Logs                                Form for animal in a study on the               (b)(7)(C)   and includes reasons for requesting veterinary services that
                                              effects of a drug on an animal                              are particularly for the study. The table includes the
                                                                                                          company code for the company sponsoring the study, the
                                                                                                          study number, animal numbers, observations about the
                                                                                                          animals in the study, and the name and initials of HLS
                                                                                                          employees.




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LSR0139   Internal Huntington Memoranda   Memorandum from an HLS                   WIP   (b)(4) &    This Memorandum contains the discussion of issues arising
                                          employee to the Study File for an              (b)(7)(C)   during the course of study, pursuant to the confidential
                                          animal study on the effects of a drug                      standard operating procedures and test protocols for the
                                          on an animal                                               study. The redactions include the study number, the
                                                                                                     company code for the company sponsoring the study, the
                                                                                                     names and initials of HLS employees, and a description of
                                                                                                     observation and treatment of animals in the study.

LSR0139   Internal Huntington Memoranda   Memorandum from an one HLS               WIP   (b)(4) &    This Memorandum contains the discussion of issues arising
                                          employee to another HLS employee               (b)(7)(C)   during the course of study, pursuant to the confidential
                                          for an animal study on the effects of                      standard operating procedures and test protocols for the
                                          a drug on an animal                                        study. The redactions include the study number, the
                                                                                                     company code for the company sponsoring the study, the
                                                                                                     names and initials of HLS employees, and a description of
                                                                                                     observation and treatment of animals in the study.

LSR1203   Internal Huntington Memoranda   Memorandum from an HLS                   WIP   (b)(4) &    This Memorandum contains the discussion of issues arising
                                          employee to the Study File for an              (b)(7)(C)   during the course of study, pursuant to the confidential
                                          animal study on the effects of a drug                      standard operating procedures and test protocols for the
                                          on an animal                                               study. The redactions include the study number, the
                                                                                                     company code for the company sponsoring the study, the
                                                                                                     names and initials of HLS employees, and a description of
                                                                                                     observation and treatment of animals in the study.

LSR1204   Internal Huntington Memoranda    Memorandum from an HLS                  WIP   (b)(4) &    This Memorandum contains the discussion of issues arising
                                           employee to the Study File for an             (b)(7)(C)   during the course of study, pursuant to the confidential
                                           animal study on the effects of a drug                     standard operating procedures and test protocols for the
                                           on an animal                                              study. The redactions include the study number, the
                                                                                                     company code for the company sponsoring the study, the
                                                                                                     names and initials of HLS employees, and a description of
                                                                                                     observation and treatment of animals in the study.




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LSR1213   Internal Huntington Memoranda   Memorandum from an HLS                   WIP   (b)(4) &    This Memorandum contains the discussion of issues arising
                                          employee to the Study File for an              (b)(7)(C)   during the course of study, pursuant to the confidential
                                          animal study on the effects of a drug                      standard operating procedures and test protocols for the
                                          on an animal                                               study. The redactions include the study number, the
                                                                                                     company code for the company sponsoring the study, the
                                                                                                     names and initials of HLS employees, and a description of
                                                                                                     observation and treatment of animals in the study.

LSR1214   Internal Huntington Memoranda   Memorandum from an HLS                   WIP   (b)(4) &    This Memorandum contains the discussion of issues arising
                                          employee to the Study File for an              (b)(7)(C)   during the course of study, pursuant to the confidential
                                          animal study on the effects of a drug                      standard operating procedures and test protocols for the
                                          on an animal                                               study. The redactions include the study number, the
                                                                                                     company code for the company sponsoring the study, the
                                                                                                     names and initials of HLS employees, and a description of
                                                                                                     observation and treatment of animals in the study.

LSR1975   Internal Huntington Memoranda   Memorandum from an HLS                   WIP   (b)(4) &    This Memorandum contains the discussion of issues arising
                                          employee to the Study File for an              (b)(7)(C)   during the course of study, pursuant to the confidential
                                          animal study on the effects of a drug                      standard operating procedures and test protocols for the
                                          on an animal                                               study. The redactions include the study number, the
                                                                                                     company code for the company sponsoring the study, and
                                                                                                     name and initials of HLS employees.

LSR0213   Internal Huntington Memoranda    Memorandum from an HLS                  WIF   (b)(4) &    This Memorandum contains the discussion of issues arising
                                           employee to the Study File for an             (b)(7)(C)   during the course of study, pursuant to the confidential
                                           animal study on the effects of a drug                     standard operating procedures and test protocols for the
                                           on an animal                                              study. The Memorandum includes the study number, the
                                                                                                     company code for the company sponsoring the study, the
                                                                                                     names and initials of HLS employees, and a description of
                                                                                                     observation and treatment of animals in the study.




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LSR0389   Internal Huntington Memoranda   Interdepartmental Memorandum             WIF   (b)(4) &    This Memorandum contains the discussion of issues arising
                                          from an HLS employee to the Study              (b)(7)(C)   during the course of study, pursuant to the confidential
                                          File for an animal study on the                            standard operating procedures and test protocols for the
                                          effects of a drug on an animal                             study. The Memorandum includes the study number, the
                                                                                                     company code for the company sponsoring the study, the
                                                                                                     names and initials of HLS employees, and a description of
                                                                                                     observation and treatment of animals in the study.

LSR0393   Internal Huntington Memoranda   Memorandum from an HLS                   WIF   (b)(4) &    This Memorandum contains the discussion of issues arising
                                          employee to the Study File for an              (b)(7)(C)   during the course of study, pursuant to the confidential
                                          animal study on the effects of a drug                      standard operating procedures and test protocols for the
                                          on an animal                                               study. The Memorandum includes the study number, the
                                                                                                     company code for the company sponsoring the study, the
                                                                                                     names and initials of HLS employees, and a description of
                                                                                                     observation and treatment of animals in the study.

LSR0418   Internal Huntington Memoranda   Interdepartmental Memorandum             WIF   (b)(4) &    This Memorandum contains the discussion of issues arising
                                          from an HLS employee to the Study              (b)(7)(C)   during the course of study, pursuant to the confidential
                                          File for an animal study on the                            standard operating procedures and test protocols for the
                                          effects of a drug on an animal                             study. The Memorandum includes the study number, the
                                                                                                     company code for the company sponsoring the study, the
                                                                                                     names and initials of HLS employees, and a description of
                                                                                                     observations and treatment of animals in the study.

LSR1202   Internal Huntington Memoranda    Memorandum from an HLS                  WIF   (b)(4) &    This Memorandum contains the discussion of issues arising
                                           employee to the Study File for an             (b)(7)(C)   during the course of study, pursuant to the confidential
                                           animal study on the effects of a drug                     standard operating procedures and test protocols for the
                                           on an animal                                              study. The Memorandum includes the study number, the
                                                                                                     company code for the company sponsoring the study, the
                                                                                                     names and initials of HLS employees, and a description of
                                                                                                     observation and treatment of animals in the study.




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LSR1209   Internal Huntington Memoranda   Memorandum from an HLS                   WIF   (b)(4) &    This Memorandum contains the discussion of issues arising
                                          employee to the Study File for an              (b)(7)(C)   during the course of study, pursuant to the confidential
                                          animal study on the effects of a drug                      standard operating procedures and test protocols for the
                                          on an animal                                               study. The Memorandum includes the study number, the
                                                                                                     company code for the company sponsoring the study, the
                                                                                                     names and initials of HLS employees, and a description of
                                                                                                     observation and treatment of animals in the study.

LSR1210   Internal Huntington Memoranda   Memorandum from an HLS                   WIF   (b)(4) &    This Memorandum contains the discussion of issues arising
                                          employee to the Study File for an              (b)(7)(C)   during the course of study, pursuant to the confidential
                                          animal study on the effects of a drug                      standard operating procedures and test protocols for the
                                          on an animal                                               study. The Memorandum includes the study number, the
                                                                                                     company code for the company sponsoring the study, the
                                                                                                     names and initials of HLS employees, and a description of
                                                                                                     observation and treatment of animals in the study.

LSR1211   Internal Huntington Memoranda   Fax Dispatch from one HLS, Ltd.          WIF   (b)(4) &    This Fax Dispatch contains the discussion of issues arising
                                          employee to an HLS-New Jersey                  (b)(7)(C)   during the course of study, pursuant to the confidential
                                          employee                                                   standard operating procedures and test protocols for the
                                                                                                     study. This Fax Dispatch contains information about
                                                                                                     supplies for a study, the name of the study, the name and
                                                                                                     company code for the company sponsoring the study, and
                                                                                                     the names and initials of HLS employees.

LSR1224   Internal Huntington Memoranda    Memorandum from an one HLS              WIF   (b)(4) &    This Memorandum contains the discussion of issues arising
                                           employee to another HLS employee              (b)(7)(C)   during the course of study, pursuant to the confidential
                                           for an animal study on the effects of                     standard operating procedures and test protocols for the
                                           a drug on an animal                                       study. The Memorandum includes the study number, the
                                                                                                     company code for the company sponsoring the study, the
                                                                                                     names and initials of HLS employees, and a description of
                                                                                                     observation and treatment of animals in the study.




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LSR1225   Internal Huntington Memoranda   Memorandum from an one HLS               WIF   (b)(4) &    This Memorandum contains the discussion of issues arising
                                          employee to another HLS employee               (b)(7)(C)   during the course of study, pursuant to the confidential
                                          for an animal study on the effects of                      standard operating procedures and test protocols for the
                                          a drug on an animal                                        study. The Memorandum includes the study number, the
                                                                                                     company code for the company sponsoring the study, the
                                                                                                     names and initials of HLS employees, and a description of
                                                                                                     observation and treatment of animals in the study.

LSR1632   Internal Huntington Memoranda   Memorandum from an HLS                   WIF   (b)(4) &    This Memorandum contains the discussion of issues arising
                                          employee to the Study File for an              (b)(7)(C)   during the course of study, pursuant to the confidential
                                          animal study on the effects of a drug                      standard operating procedures and test protocols for the
                                          on an animal                                               study. The Memorandum includes the study number, the
                                                                                                     company code for the company sponsoring the study, the
                                                                                                     names and initials of HLS employees, and a description of
                                                                                                     observation and treatment of animals in the study.

LSR1720   Internal Huntington Memoranda   Memorandum from an one HLS               WIF   (b)(4) &    This Memorandum contains the discussion of issues arising
                                          employee to another HLS employee               (b)(7)(C)   during the course of study, pursuant to the confidential
                                          for an animal study on the effects of                      standard operating procedures and test protocols for the
                                          a drug on an animal                                        study. The Memorandum includes the study number, the
                                                                                                     company code for the company sponsoring the study, the
                                                                                                     names and initials of HLS employees, and a description of
                                                                                                     observation and treatment of animals in the study.

LSR1791   Internal Huntington Memoranda    Memorandum from an one HLS              WIF   (b)(4) &    This Memorandum contains the discussion of issues arising
                                           employee to another HLS employee              (b)(7)(C)   during the course of study, pursuant to the confidential
                                           for an animal study on the effects of                     standard operating procedures and test protocols for the
                                           a drug on an animal                                       study. The Memorandum includes the study number, the
                                                                                                     company code for the company sponsoring the study, the
                                                                                                     names and initials of HLS employees, and a description of
                                                                                                     observation and treatment of animals in the study.




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LSR1792   Internal Huntington Memoranda   Memorandum from an one HLS               WIF   (b)(4) &    This Memorandum contains the discussion of issues arising
                                          employee to another HLS employee               (b)(7)(C)   during the course of study, pursuant to the confidential
                                          for an animal study on the effects of                      standard operating procedures and test protocols for the
                                          a drug on an animal                                        study. The Memorandum includes the study number, the
                                                                                                     company code for the company sponsoring the study, the
                                                                                                     names and initials of HLS employees, and a description of
                                                                                                     observation and treatment of animals in the study.

LSR1793   Internal Huntington Memoranda   Memorandum from an one HLS               WIF   (b)(4) &    This Memorandum contains the discussion of issues arising
                                          employee to another HLS employee               (b)(7)(C)   during the course of study, pursuant to the confidential
                                          for an animal study on the effects of                      standard operating procedures and test protocols for the
                                          a drug on an animal                                        study. The Memorandum includes the study number, the
                                                                                                     company code for the company sponsoring the study, the
                                                                                                     names and initials of HLS employees, and a description of
                                                                                                     observation and treatment of animals in the study.

LSR1794   Internal Huntington Memoranda   Memorandum from an one HLS               WIF   (b)(4) &    This Memorandum contains the discussion of issues arising
                                          employee to another HLS employee               (b)(7)(C)   during the course of study, pursuant to the confidential
                                          for an animal study on the effects of                      standard operating procedures and test protocols for the
                                          a drug on an animal                                        study. The Memorandum includes the study number, the
                                                                                                     company code for the company sponsoring the study, the
                                                                                                     names and initials of HLS employees, and a description of
                                                                                                     observation and treatment of animals in the study.

LSR1795   Internal Huntington Memoranda    Memorandum from an one HLS              WIF   (b)(4) &    This Memorandum contains the discussion of issues arising
                                           employee to another HLS employee              (b)(7)(C)   during the course of study, pursuant to the confidential
                                           for an animal study on the effects of                     standard operating procedures and test protocols for the
                                           a drug on an animal                                       study. The Memorandum includes the study number, the
                                                                                                     company code for the company sponsoring the study, the
                                                                                                     names and initials of HLS employees, and a description of
                                                                                                     observation and treatment of animals in the study.




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LSR1796   Internal Huntington Memoranda   Memorandum from an one HLS              WIF   (b)(4) &    This Memorandum contains the discussion of issues arising
                                          employee to another HLS employee              (b)(7)(C)   during the course of study, pursuant to the confidential
                                          for an animal study on the effects of                     standard operating procedures and test protocols for the
                                          a drug on an animal                                       study. The Memorandum includes the study number, the
                                                                                                    company code for the company sponsoring the study, the
                                                                                                    names and initials of HLS employees, and a description of
                                                                                                    observation and treatment of animals in the study.

LSR1797   Internal Huntington Memoranda   Memorandum from an one HLS              WIF   (b)(4) &    This Memorandum contains the discussion of issues arising
                                          employee to another HLS employee              (b)(7)(C)   during the course of study, pursuant to the confidential
                                          for an animal study on the effects of                     standard operating procedures and test protocols for the
                                          a drug on an animal                                       study. The Memorandum includes the study number, the
                                                                                                    company code for the company sponsoring the study, the
                                                                                                    names and initials of HLS employees, and a description of
                                                                                                    observation and treatment of animals in the study.

LSR1798   Internal Huntington Memoranda   Memorandum from an one HLS              WIF   (b)(4) &    This Memorandum contains the discussion of issues arising
                                          employee to another HLS employee              (b)(7)(C)   during the course of study, pursuant to the confidential
                                          for an animal study on the effects of                     standard operating procedures and test protocols for the
                                          a drug on an animal                                       study. The Memorandum includes the study number, the
                                                                                                    company code for the company sponsoring the study, the
                                                                                                    names and initials of HLS employees, and a description of
                                                                                                    observation and treatment of animals in the study.

LSR1830   Internal Huntington Memoranda    Interdepartmental Memorandum           WIF   (b)(4) &    This Memorandum contains the discussion of issues arising
                                           from an HLS employee to the Study            (b)(7)(C)   during the course of study, pursuant to the confidential
                                           File for an animal study on the                          standard operating procedures and test protocols for the
                                           effects of a drug on an animal                           study. The Memorandum includes the study number, the
                                                                                                    company code for the company sponsoring the study, the
                                                                                                    names and initials of HLS employees, and a description of
                                                                                                    observations and treatment of animals in the study.




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LSR1886   Internal Huntington Memoranda   Memorandum from an one HLS               WIF   (b)(4) &    This Memorandum contains the discussion of issues arising
                                          employee to another HLS employee               (b)(7)(C)   during the course of study, pursuant to the confidential
                                          for an animal study on the effects of                      standard operating procedures and test protocols for the
                                          a drug on an animal                                        study. The Memorandum includes the study number, the
                                                                                                     company code for the company sponsoring the study, the
                                                                                                     names and initials of HLS employees, and a description of
                                                                                                     observation and treatment of animals in the study.

LSR1904   Internal Huntington Memoranda   Memorandum from an one HLS               WIF   (b)(4) &    This Memorandum contains the discussion of issues arising
                                          employee to another HLS employee               (b)(7)(C)   during the course of study, pursuant to the confidential
                                          for an animal study on the effects of                      standard operating procedures and test protocols for the
                                          a drug on an animal                                        study. The Memorandum includes the study number, the
                                                                                                     company code for the company sponsoring the study, the
                                                                                                     names and initials of HLS employees, and a description of
                                                                                                     observation and treatment of animals in the study.

LSR1905   Internal Huntington Memoranda   Memorandum from an one HLS               WIF   (b)(4) &    This Memorandum contains the discussion of issues arising
                                          employee to another HLS employee               (b)(7)(C)   during the course of study, pursuant to the confidential
                                          for an animal study on the effects of                      standard operating procedures and test protocols for the
                                          a drug on an animal                                        study. The Memorandum includes the study number, the
                                                                                                     company code for the company sponsoring the study, the
                                                                                                     names and initials of HLS employees, and a description of
                                                                                                     observation and treatment of animals in the study.

LSR1906   Internal Huntington Memoranda    Memorandum from an one HLS              WIF   (b)(4) &    This Memorandum contains the discussion of issues arising
                                           employee to another HLS employee              (b)(7)(C)   during the course of study, pursuant to the confidential
                                           for an animal study on the effects of                     standard operating procedures and test protocols for the
                                           a drug on an animal                                       study. The Memorandum includes the study number, the
                                                                                                     company code for the company sponsoring the study, the
                                                                                                     names and initials of HLS employees, and a description of
                                                                                                     observation and treatment of animals in the study.




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LSR1918   Internal Huntington Memoranda   Memorandum from an one HLS               WIF   (b)(4) &    This Memorandum contains the discussion of issues arising
                                          employee to another HLS employee               (b)(7)(C)   during the course of study, pursuant to the confidential
                                          for an animal study on the effects of                      standard operating procedures and test protocols for the
                                          a drug on an animal                                        study. The Memorandum includes the study number, the
                                                                                                     company code for the company sponsoring the study, the
                                                                                                     names and initials of HLS employees, and a description of
                                                                                                     observation and treatment of animals in the study.

LSR2062   Internal Huntington Memoranda   Memorandum from an HLS                   WIF   (b)(4) &    This Memorandum contains the discussion of issues arising
                                          employee to the Study File for an              (b)(7)(C)   during the course of study, pursuant to the confidential
                                          animal study on the effects of a drug                      standard operating procedures and test protocols for the
                                          on an animal                                               study. The Memorandum includes the study number, the
                                                                                                     company code for the company sponsoring the study, the
                                                                                                     names and initials of HLS employees, and a description of
                                                                                                     observation and treatment of animals in the study.

LSR2137   Internal Huntington Memoranda   Memorandum from an one HLS               WIF   (b)(4) &    This Memorandum contains the discussion of issues arising
                                          employee to another HLS employee               (b)(7)(C)   during the course of study, pursuant to the confidential
                                          for an animal study on the effects of                      standard operating procedures and test protocols for the
                                          a drug on an animal                                        study. The Memorandum includes the study number, the
                                                                                                     company code for the company sponsoring the study, the
                                                                                                     names and initials of HLS employees, and a description of
                                                                                                     observation and treatment of animals in the study.

LSR2138   Internal Huntington Memoranda    Memorandum from an one HLS              WIF   (b)(4) &    This Memorandum contains the discussion of issues arising
                                           employee to another HLS employee              (b)(7)(C)   during the course of study, pursuant to the confidential
                                           for an animal study on the effects of                     standard operating procedures and test protocols for the
                                           a drug on an animal                                       study. The Memorandum includes the study number, the
                                                                                                     company code for the company sponsoring the study, the
                                                                                                     names and initials of HLS employees, and a description of
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LSR2298    Internal Huntington Memoranda       Memorandum from an HLS                  WIF   (b)(4) &    This Memorandum contains the discussion of issues arising
                                               employee to the Study File for an             (b)(7)(C)   during the course of study, pursuant to the confidential
                                               animal study on the effects of a drug                     standard operating procedures and test protocols for the
                                               on an animal                                              study. The Memorandum includes the study number, the
                                                                                                         company code for the company sponsoring the study, the
                                                                                                         names and initials of HLS employees, and a description of
                                                                                                         observation and treatment of animals in the study.

LSR2306    Internal Huntington Memoranda       Memorandum from an HLS                  WIF   (b)(4) &    This Memorandum contains the discussion of issues arising
                                               employee to the Study File for an             (b)(7)(C)   during the course of study, pursuant to the confidential
                                               animal study on the effects of a drug                     standard operating procedures and test protocols for the
                                               on an animal                                              study. The Memorandum includes the study number, the
                                                                                                         company code for the company sponsoring the study, the
                                                                                                         names and initials of HLS employees, and a description of
                                                                                                         observation and treatment of animals in the study.

LSR2371    Internal Huntington Memoranda       Memorandum from an HLS                  WIF   (b)(4) &    This Memorandum contains the discussion of issues arising
                                               employee to the Study File for an             (b)(7)(C)   during the course of study, pursuant to the confidential
                                               animal study on the effects of a drug                     standard operating procedures and test protocols for the
                                               on an animal                                              study. The Memorandum includes the study number, the
                                                                                                         company code for the company sponsoring the study, the
                                                                                                         names and initials of HLS employees, and a description of
                                                                                                         observation and treatment of animals in the study.

LSR2062    Internal Huntington Memoranda       Observation sheet for a study on the    WIP   (b)(4) &    This sheet contains the discussion of issues arising during
                                               effects of a drug on an animal                (b)(7)(C)   the course of study, pursua nt to the confidential standard
                                                                                                         operating procedures and test protocols for the study. The
                                                                                                         sheet includes the study nu mber.

LSR2102    Institutional Animal Care and Use   Prestudy Protocol Review Checklist      WIP   (b)(4) &    The redactions include the study number, the number for
           Committee (IACUC) Records           for a study on the effects of a drug          (b)(7)(C)   the company sponsoring the study, and the name of an HLS
                                               on an animal                                              employe e.

LSR22297   Institutional Animal Care and Use   Prestudy IACUC Information Sheet        WIP   (b)(4) &    The redactions include the study number, the number for
           Committee (IACUC) Records           for a study on the effects of a drug          (b)(7)(C)   the company sponsoring the study, and the name of an HLS
                                               on an animal                                              employe e.




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LSR0245   Institutional Animal Care and Use   IACUC Meeting Minutes regarding          WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           a study on the effects of a drug on            (b)(7)(C)   implementation of the confidential standard operating
                                              an animal                                                  procedures and test protocols for the studies conducted by
                                                                                                         HLS and the names of HL S employees.

LSR0246   Institutional Animal Care and Use   IACUC Meeting Minutes regarding          WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           a study on the effects of a drug on            (b)(7)(C)   implementation of the confidential standard operating
                                              an animal                                                  procedures and test protocols for the studies conducted by
                                                                                                         HLS and the names of HL S employees.

LSR0247   Institutional Animal Care and Use   IACUC Meeting Minutes regarding          WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           a study on the effects of a drug on            (b)(7)(C)   implementation of the confidential standard operating
                                              an animal                                                  procedures and test protocols for the studies conducted by
                                                                                                         HLS and the names of HL S employees.

LSR0245   Institutional Animal Care and Use   IACUC Meeting Minutes regarding          WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           a study on the effects of a drug on            (b)(7)(C)   implementation of the confidential standard operating
                                              an animal                                                  procedures and test protocols for the studies conducted by
                                                                                                         HLS and the names of HL S employees.

LSR0251   Institutional Animal Care and Use   Form listing a ctions taken in           WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           response to IACUC determinations               (b)(7)(C)   implementation of the confidential standard operating
                                              for a study on the effects of a drug                       procedures and test protocols for the studies conducted by
                                              on an anim al                                              HLS.

LSR0252   Institutional Animal Care and Use   IACUC Facility Inspection Report         WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           for a study on the effects of a drug           (b)(7)(C)   implementation of the confidential standard operating
                                              on an anim al                                              procedures and test protocols for the studies conducted by
                                                                                                         HLS.

LSR0253   Institutional Animal Care and Use   IACUC Facility Inspection Report         WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           for a study on the effects of a drug           (b)(7)(C)   implementation of the confidential standard operating
                                              on an anim al                                              procedures and test protocols for the studies conducted by
                                                                                                         HLS.




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LSR0254   Institutional Animal Care and Use   IACUC Facility Inspection Report         WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           for a study on the effects of a drug           (b)(7)(C)   implementation of the confidential standard operating
                                              on an anim al                                              procedures and test protocols for the studies conducted by
                                                                                                         HLS.

LSR0255   Institutional Animal Care and Use   IACUC Facility Inspection Report         WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           for a study on the effects of a drug           (b)(7)(C)   implementation of the confidential standard operating
                                              on an anim al                                              procedures and test protocols for the studies conducted by
                                                                                                         HLS.

LSR0256   Institutional Animal Care and Use   IACUC Facility Inspection Report         WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           for a study on the effects of a drug           (b)(7)(C)   implementation of the confidential standard operating
                                              on an anim al                                              procedures and test protocols for the studies conducted by
                                                                                                         HLS.

LSR0257   Institutional Animal Care and Use   IACUC Facility Inspection Report         WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           for a study on the effects of a drug           (b)(7)(C)   implementation of the confidential standard operating
                                              on an anim al                                              procedures and test protocols for the studies conducted by
                                                                                                         HLS.

LSR0258   Institutional Animal Care and Use   IACUC Facility Inspection Report         WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           for a study on the effects of a drug           (b)(7)(C)   implementation of the confidential standard operating
                                              on an anim al                                              procedures and test protocols for the studies conducted by
                                                                                                         HLS.

LSR0259   Institutional Animal Care and Use   IACUC Facility Inspection Report         WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           for a study on the effects of a drug           (b)(7)(C)   implementation of the confidential standard operating
                                              on an anim al                                              procedures and test protocols for the studies conducted by
                                                                                                         HLS.

LSR0260   Institutional Animal Care and Use   IACUC Facility Inspection Report         WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           for a study on the effects of a drug           (b)(7)(C)   implementation of the confidential standard operating
                                              on an anim al                                              procedures and test protocols for the studies conducted by
                                                                                                         HLS.




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LSR0261   Institutional Animal Care and Use   IACUC Facility Inspection Report         WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           for a study on the effects of a drug           (b)(7)(C)   implementation of the confidential standard operating
                                              on an anim al                                              procedures and test protocols for the studies conducted by
                                                                                                         HLS.

LSR0262   Institutional Animal Care and Use   IACUC Facility Inspection Report         WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           for a study on the effects of a drug           (b)(7)(C)   implementation of the confidential standard operating
                                              on an anim al                                              procedures and test protocols for the studies conducted by
                                                                                                         HLS.

LSR0263   Institutional Animal Care and Use   IACUC Facility Inspection Report         WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           for a study on the effects of a drug           (b)(7)(C)   implementation of the confidential standard operating
                                              on an anim al                                              procedures and test protocols for the studies conducted by
                                                                                                         HLS.

LSR0264   Institutional Animal Care and Use   IACUC Facility Inspection Report         WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           for a study on the effects of a drug           (b)(7)(C)   implementation of the confidential standard operating
                                              on an anim al                                              procedures and test protocols for the studies conducted by
                                                                                                         HLS.

LSR0265   Institutional Animal Care and Use   IACUC Facility Inspection Report         WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           for a study on the effects of a drug           (b)(7)(C)   implementation of the confidential standard operating
                                              on an anim al                                              procedures and test protocols for the studies conducted by
                                                                                                         HLS.

LSR0276   Institutional Animal Care and Use   IACUC Meeting Minutes regarding          WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           a study on the effects of a drug on            (b)(7)(C)   implementation of the confidential standard operating
                                              an animal                                                  procedures and test protocols for the studies conducted by
                                                                                                         HLS and the names of HL S employees.

LSR0277   Institutional Animal Care and Use   IACUC Meeting Minutes regarding          WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           a study on the effects of a drug on            (b)(7)(C)   implementation of the confidential standard operating
                                              an animal                                                  procedures and test protocols for the studies conducted by
                                                                                                         HLS and the names of HL S employees.




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LSR0278   Institutional Animal Care and Use   IACUC Meeting Minutes regarding          WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           a study on the effects of a drug on            (b)(7)(C)   implementation of the confidential standard operating
                                              an animal                                                  procedures and test protocols for the studies conducted by
                                                                                                         HLS and the names of HL S employees.

LSR0279   Institutional Animal Care and Use   IACUC Meeting Minutes regarding          WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           a study on the effects of a drug on            (b)(7)(C)   implementation of the confidential standard operating
                                              an animal                                                  procedures and test protocols for the studies conducted by
                                                                                                         HLS and the names of HL S employees.

LSR0280   Institutional Animal Care and Use   IACUC Meeting Minutes regarding          WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           a study on the effects of a drug on            (b)(7)(C)   implementation of the confidential standard operating
                                              an animal                                                  procedures and test protocols for the studies conducted by
                                                                                                         HLS and the names of HL S employees.

LSR0281   Institutional Animal Care and Use   IACUC Meeting Minutes regarding          WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           a study on the effects of a drug on            (b)(7)(C)   implementation of the confidential standard operating
                                              an animal                                                  procedures and test protocols for the studies conducted by
                                                                                                         HLS and the names of HL S employees.

LSR0282   Institutional Animal Care and Use   IACUC Meeting Minutes regarding          WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           a study on the effects of a drug on            (b)(7)(C)   implementation of the confidential standard operating
                                              an animal                                                  procedures and test protocols for the studies conducted by
                                                                                                         HLS and the names of HL S employees.

LSR0283   Institutional Animal Care and Use   IACUC Meeting Minutes regarding          WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           a study on the effects of a drug on            (b)(7)(C)   implementation of the confidential standard operating
                                              an animal                                                  procedures and test protocols for the studies conducted by
                                                                                                         HLS and the names of HL S employees.

LSR0286   Institutional Animal Care and Use   IACUC Facility Inspection Report         WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           for a study on the effects of a drug           (b)(7)(C)   implementation of the confidential standard operating
                                              on an anim al                                              procedures and test protocols for the studies conducted by
                                                                                                         HLS.




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LSR0287   Institutional Animal Care and Use   IACUC Facility Inspection Report         WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           for a study on the effects of a drug           (b)(7)(C)   implementation of the confidential standard operating
                                              on an anim al                                              procedures and test protocols for the studies conducted by
                                                                                                         HLS.

LSR0288   Institutional Animal Care and Use   IACUC Facility Inspection Report         WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           for a study on the effects of a drug           (b)(7)(C)   implementation of the confidential standard operating
                                              on an anim al                                              procedures and test protocols for the studies conducted by
                                                                                                         HLS.

LSR0289   Institutional Animal Care and Use   IACUC Facility Inspection Report         WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           for a study on the effects of a drug           (b)(7)(C)   implementation of the confidential standard operating
                                              on an anim al                                              procedures and test protocols for the studies conducted by
                                                                                                         HLS.

LSR0290   Institutional Animal Care and Use   IACUC Facility Inspection Report         WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           for a study on the effects of a drug           (b)(7)(C)   implementation of the confidential standard operating
                                              on an anim al                                              procedures and test protocols for the studies conducted by
                                                                                                         HLS.

LSR0291   Institutional Animal Care and Use   IACUC Facility Inspection Report         WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           for a study on the effects of a drug           (b)(7)(C)   implementation of the confidential standard operating
                                              on an anim al                                              procedures and test protocols for the studies conducted by
                                                                                                         HLS.

LSR0292   Institutional Animal Care and Use   IACUC Meeting Minutes regarding          WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           a study on the effects of a drug on            (b)(7)(C)   implementation of the confidential standard operating
                                              an animal                                                  procedures and test protocols for the studies conducted by
                                                                                                         HLS and the names of HL S employees.

LSR0293   Institutional Animal Care and Use   IACUC Meeting Minutes regarding          WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           a study on the effects of a drug on            (b)(7)(C)   implementation of the confidential standard operating
                                              an animal                                                  procedures and test protocols for the studies conducted by
                                                                                                         HLS and the names of HL S employees.




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LSR0294   Institutional Animal Care and Use   IACUC Meeting Minutes regarding         WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           a study on the effects of a drug on           (b)(7)(C)   implementation of the confidential standard operating
                                              an animal                                                 procedures and test protocols for the studies conducted by
                                                                                                        HLS and the names of HL S employees.

LSR0295   Institutional Animal Care and Use   IACUC Meeting Minutes regarding         WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           a study on the effects of a drug on           (b)(7)(C)   implementation of the confidential standard operating
                                              an animal                                                 procedures and test protocols for the studies conducted by
                                                                                                        HLS and the names of HL S employees.

LSR0296   Institutional Animal Care and Use   IACUC Meeting Minutes regarding         WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           a study on the effects of a drug on           (b)(7)(C)   implementation of the confidential standard operating
                                              an animal                                                 procedures and test protocols for the studies conducted by
                                                                                                        HLS and the names of HL S employees.

LSR0298   Institutional Animal Care and Use   IACUC Meeting Minutes regarding         WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           a study on the effects of a drug on           (b)(7)(C)   implementation of the confidential standard operating
                                              an animal                                                 procedures and test protocols for the studies conducted by
                                                                                                        HLS and the names of HL S employees.

LSR0299   Institutional Animal Care and Use   IACUC Meeting Minutes regarding         WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           a study on the effects of a drug on           (b)(7)(C)   implementation of the confidential standard operating
                                              an animal                                                 procedures and test protocols for the studies conducted by
                                                                                                        HLS and the names of HL S employees.

LSR0300   Institutional Animal Care and Use   IACUC Meeting Minutes regarding         WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           a study on the effects of a drug on           (b)(7)(C)   implementation of the confidential standard operating
                                              an animal                                                 procedures and test protocols for the studies conducted by
                                                                                                        HLS and the names of HL S employees.

LSR0301   Institutional Animal Care and Use   IACUC Meeting Minutes regarding         WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           a study on the effects of a drug on           (b)(7)(C)   implementation of the confidential standard operating
                                              an animal                                                 procedures and test protocols for the studies conducted by
                                                                                                        HLS and the names of HL S employees.




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LSR0303   Institutional Animal Care and Use   IACUC Meeting Minutes regarding          WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           a study on the effects of a drug on            (b)(7)(C)   implementation of the confidential standard operating
                                              an animal                                                  procedures and test protocols for the studies conducted by
                                                                                                         HLS and the names of HL S employees.

LSR0304   Institutional Animal Care and Use   IACUC Meeting Minutes regarding          WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           a study on the effects of a drug on            (b)(7)(C)   implementation of the confidential standard operating
                                              an animal                                                  procedures and test protocols for the studies conducted by
                                                                                                         HLS and the names of HL S employees.

LSR0305   Institutional Animal Care and Use   IACUC Meeting Minutes regarding          WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           a study on the effects of a drug on            (b)(7)(C)   implementation of the confidential standard operating
                                              an animal                                                  procedures and test protocols for the studies conducted by
                                                                                                         HLS and the names of HL S employees.

LSR0306   Institutional Animal Care and Use   IACUC Meeting Minutes regarding          WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           a study on the effects of a drug on            (b)(7)(C)   implementation of the confidential standard operating
                                              an animal                                                  procedures and test protocols for the studies conducted by
                                                                                                         HLS and the names of HL S employees.

LSR0309   Institutional Animal Care and Use   Memorandum from an HLS                   WIF   (b)(4) &    This mem orandum includes dis cussions o f issues related to
          Committee (IACUC) Records           employee to the IACUC File for                 (b)(7)(C)   the implementation of the confidential standard operating
                                              two studies on the effects of a drug                       procedures and test protocols for the studies conducted by
                                              on an animal                                               HLS and the names of HLS employees. This Memorandum
                                                                                                         includes the study number, the names and initials of HLS
                                                                                                         employees, and a description of observation and treatment
                                                                                                         of animals in the study.

LSR2133   Institutional Animal Care and Use   Memorandum from an HLS                   WIF   (b)(4) &    This mem orandum includes dis cussions o f issues related to
          Committee (IACUC) Records           employee to the IACUC File for                 (b)(7)(C)   the implementation of the confidential standard operating
                                              two studies on the effects of a drug                       procedures and test protocols for the studies conducted by
                                              on an animal                                               HLS and the names of HLS employees. This Memorandum
                                                                                                         includes the study number, the names and initials of HLS
                                                                                                         employees, and a description of observation and treatment
                                                                                                         of animals in the study.




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LSR2134   Institutional Animal Care and Use   Memorandum from an HLS                   WIF   (b)(4) &    This mem orandum includes dis cussions o f issues related to
          Committee (IACUC) Records           employee to the IACUC for a study              (b)(7)(C)   the implementation of the confidential standard operating
                                              on the effects of a drug on an animal                      procedures and test protocols for the studies conducted by
                                                                                                         HLS and the names of HLS employees. This Memorandum
                                                                                                         the names and initials of HLS employees and a description
                                                                                                         of observation and treatment of animals in the study.

LSR2135   Institutional Animal Care and Use   Memorandum from an HLS                   WIF   (b)(4) &    This mem orandum includes dis cussions o f issues related to
          Committee (IACUC) Records           employee to the IA CUC F ile for a             (b)(7)(C)   the implementation of the confidential standard operating
                                              study on the effects of a drug on an                       procedures and test protocols for the studies conducted by
                                              animal                                                     HLS and the names of HLS employees. This Memorandum
                                                                                                         includes the study number, the names and initials of HLS
                                                                                                         employees, and a description of observation and treatment
                                                                                                         of animals in the study.

LSR2136   Institutional Animal Care and Use   Memorandum from an HLS                   WIF   (b)(4) &    This mem orandum includes dis cussions o f issues related to
          Committee (IACUC) Records           employee to the IACUC for a study              (b)(7)(C)   the implementation of the confidential standard operating
                                              on the effects of a drug on an animal                      procedures and test protocols for the studies conducted by
                                                                                                         HLS and the names of HLS employees. This Memorandum
                                                                                                         the names and initials of HLS employees and a description
                                                                                                         of observation and treatment of animals in the study.

LSR2139   Institutional Animal Care and Use   Memorandum from an HLS                   WIF   (b)(4) &    This mem orandum includes dis cussions o f issues related to
          Committee (IACUC) Records           employee to the IA CUC F ile for a             (b)(7)(C)   the implementation of the confidential standard operating
                                              study on the effects of a drug on an                       procedures and test protocols for the studies conducted by
                                              animal                                                     HLS and the names of HLS employees. This Memorandum
                                                                                                         includes the study number, the names and initials of HLS
                                                                                                         employees, and a description of observation and treatment
                                                                                                         of animals in the study.

LSR2140   Institutional Animal Care and Use   Memorandum from an HLS                   WIF   (b)(4) &    This mem orandum includes dis cussions o f issues related to
          Committee (IACUC) Records           employee to the IA CUC F ile for a             (b)(7)(C)   the implementation of the confidential standard operating
                                              study on the effects of a drug on an                       procedures and test protocols for the studies conducted by
                                              animal                                                     HLS and the names of HLS employees. This Memorandum
                                                                                                         includes the study number, the names and initials of HLS
                                                                                                         employees, and a description of observation and treatment
                                                                                                         of animals in the study.



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LSR2231   Institutional Animal Care and Use   IACUC Meeting Minutes regarding          WIF   (b)(4) &    This record includes discussions of issues related to the
          Committee (IACUC) Records           a study on the effects of a drug on            (b)(7)(C)   implementation of the confidential standard operating
                                              an animal                                                  procedures and test protocols for the studies conducted by
                                                                                                         HLS and the names of HL S employees.

LSR001    Internal USDA Investigatory         Mem orandum to Elizabeth                 WIP   (b)(4)      The items redacted contain confidential business
          Memoranda                           Goldentyer, USDA, from Mary E.                             information that would cause com petitors of H LS to obta in
                                              Geib, USDA, regarding HLS, dated                           an unfair competitive advantage over HLS. These items
                                              August 1, 1997.                                            include study numbers, study methodologies as discussed
                                                                                                         in the standard operating procedure for a study, animal
                                                                                                         reactions to the drug being studied, and animals number

LSR002    Internal USDA Investigatory         Memorandum to Dr. Ron DeHaven,           WIP   (b)(4)      The items redacted contain confidential business
          Memoranda                           USDA , from Elizabeth Golde ntyer,                         information that would cause com petitors of H LS to obta in
                                              USDA, regarding HLS issued, dated                          an unfair competitive advantage over HLS. These items
                                              August 1, 1997.                                            include study numbers, study methodologies as discussed
                                                                                                         in the standard operating procedure for a study, animal
                                                                                                         reactions to the drug being studied, and animals number

LSR003    Internal USDA Investigatory         Memorandum to Dr. Ron DeHaven,           WIP   (b)(4)      The items redacted contain confidential business
          Memoranda                           USDA , from Elizabeth Golde ntyer,                         information that would cause com petitors of H LS to obta in
                                              USDA, dated August 1, 1997.                                an unfair competitive advantage over HLS. These items
                                                                                                         include study numbers, study methodologies as discussed
                                                                                                         in the standard operating procedure for a study, animal
                                                                                                         reactions to the drug being studied, and animals number

LSR0311   Internal USDA Investigatory         Summary of Animal Welfare Act            WIP   (b)(4)      The items redacted contain confidential business
          Memoranda                           Violations found by USDA for a                             information that would cause com petitors of H LS to obta in
                                              study on the effects of a drug on an                       an unfair competitive advantage over HLS. These items
                                              animal                                                     include study numbers, study methodologies as discussed
                                                                                                         in the standard operating procedure for a study, animal
                                                                                                         reactions to the drug being studied, and animals number




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LSR0387   Internal USDA Investigatory      Summary of Animal Welfare Act             WIP   (b)(4)   The items redacted contain confidential business
          Memoranda                        Violations found by USDA for a                           information that would cause com petitors of H LS to obta in
                                           study on the effects of a drug on an                     an unfair competitive advantage over HLS. These items
                                           animal                                                   include study numbers, study methodologies as discussed
                                                                                                    in the standard operating procedure for a study, animal
                                                                                                    reactions to the drug being studied, and animals number

LSR0388   Internal USDA Investigatory      Summary of Animal Welfare Act             WIP   (b)(4)   The items redacted contain confidential business
          Memoranda                        Violations found by USDA for a                           information that would cause com petitors of H LS to obta in
                                           study on the effects of a drug on an                     an unfair competitive advantage over HLS. These items
                                           animal                                                   include study numbers, study methodologies as discussed
                                                                                                    in the standard operating procedure for a study, animal
                                                                                                    reactions to the drug being studied, and animals number

LSR1037   Internal USDA Investigatory      Summary of Animal Welfare Act             WIP   (b)(4)   The items redacted contain confidential business
          Memoranda                        Violations found by USDA for a                           information that would cause com petitors of H LS to obta in
                                           study on the effects of a drug on an                     an unfair competitive advantage over HLS. These items
                                           animal                                                   include study numbers, study methodologies as discussed
                                                                                                    in the standard operating procedure for a study, animal
                                                                                                    reactions to the drug being studied, and animals number

LSR1065   Internal USDA Investigatory      Summary of Animal Welfare Act             WIP   (b)(4)   The items redacted contain confidential business
          Memoranda                        Violations found by USDA for a                           information that would cause com petitors of H LS to obta in
                                           study on the effects of a drug on an                     an unfair competitive advantage over HLS. These items
                                           animal                                                   include study numbers, study methodologies as discussed
                                                                                                    in the standard operating procedure for a study, animal
                                                                                                    reactions to the drug being studied, and animals number

LSR1066   Internal USDA Investigatory       Summary of Animal Welfare Act            WIP   (b)(4)   The items redacted contain confidential business
          Memoranda                         Violations found by USDA for a                          information that would cause com petitors of H LS to obta in
                                            study on the effects of a drug on an                    an unfair competitive advantage over HLS. These items
                                            animal                                                  include study numbers, study methodologies as discussed
                                                                                                    in the standard operating procedure for a study, animal
                                                                                                    reactions to the drug being studied, and animals number




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LSR1169   Internal USDA Investigatory      Summary of Animal Welfare Act             WIP   (b)(4)   The items redacted contain confidential business
          Memoranda                        Violations found by USDA for a                           information that would cause com petitors of H LS to obta in
                                           study on the effects of a drug on an                     an unfair competitive advantage over HLS. These items
                                           animal                                                   include study numbers, study methodologies as discussed
                                                                                                    in the standard operating procedure for a study, animal
                                                                                                    reactions to the drug being studied, and animals number

LSR1170   Internal USDA Investigatory      Summary of Animal Welfare Act             WIP   (b)(4)   The items redacted contain confidential business
          Memoranda                        Violations found by USDA for a                           information that would cause com petitors of H LS to obta in
                                           study on the effects of a drug on an                     an unfair competitive advantage over HLS. These items
                                           animal                                                   include study numbers, study methodologies as discussed
                                                                                                    in the standard operating procedure for a study, animal
                                                                                                    reactions to the drug being studied, and animals number

LSR1171   Internal USDA Investigatory      Summary of Animal Welfare Act             WIP   (b)(4)   The items redacted contain confidential business
          Memoranda                        Violations found by USDA for a                           information that would cause com petitors of H LS to obta in
                                           study on the effects of a drug on an                     an unfair competitive advantage over HLS. These items
                                           animal                                                   include study numbers, study methodologies as discussed
                                                                                                    in the standard operating procedure for a study, animal
                                                                                                    reactions to the drug being studied, and animals number

LSR1289   Internal USDA Investigatory      Summary of Animal Welfare Act             WIP   (b)(4)   The items redacted contain confidential business
          Memoranda                        Violations found by USDA for a                           information that would cause com petitors of H LS to obta in
                                           study on the effects of a drug on an                     an unfair competitive advantage over HLS. These items
                                           animal                                                   include study numbers, study methodologies as discussed
                                                                                                    in the standard operating procedure for a study, animal
                                                                                                    reactions to the drug being studied, and animals number

LSR1290   Internal USDA Investigatory       Summary of Animal Welfare Act            WIP   (b)(4)   The items redacted contain confidential business
          Memoranda                         Violations found by USDA for a                          information that would cause com petitors of H LS to obta in
                                            study on the effects of a drug on an                    an unfair competitive advantage over HLS. These items
                                            animal                                                  include study numbers, study methodologies as discussed
                                                                                                    in the standard operating procedure for a study, animal
                                                                                                    reactions to the drug being studied, and animals number




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LSR1291   Internal USDA Investigatory      Summary of Animal Welfare Act             WIP   (b)(4)   The items redacted contain confidential business
          Memoranda                        Violations found by USDA for a                           information that would cause com petitors of H LS to obta in
                                           study on the effects of a drug on an                     an unfair competitive advantage over HLS. These items
                                           animal                                                   include study numbers, study methodologies as discussed
                                                                                                    in the standard operating procedure for a study, animal
                                                                                                    reactions to the drug being studied, and animals number

LSR1292   Internal USDA Investigatory      Summary of Animal Welfare Act             WIP   (b)(4)   The items redacted contain confidential business
          Memoranda                        Violations found by USDA for a                           information that would cause com petitors of H LS to obta in
                                           study on the effects of a drug on an                     an unfair competitive advantage over HLS. These items
                                           animal                                                   include study numbers, study methodologies as discussed
                                                                                                    in the standard operating procedure for a study, animal
                                                                                                    reactions to the drug being studied, and animals number

LSR1293   Internal USDA Investigatory      Summary of Animal Welfare Act             WIP   (b)(4)   The items redacted contain confidential business
          Memoranda                        Violations found by USDA for a                           information that would cause com petitors of H LS to obta in
                                           study on the effects of a drug on an                     an unfair competitive advantage over HLS. These items
                                           animal                                                   include study numbers, study methodologies as discussed
                                                                                                    in the standard operating procedure for a study, animal
                                                                                                    reactions to the drug being studied, and animals number

LSR1704   Internal USDA Investigatory      Summary of Animal Welfare Act             WIP   (b)(4)   The items redacted contain confidential business
          Memoranda                        Violations found by USDA for a                           information that would cause com petitors of H LS to obta in
                                           study on the effects of a drug on an                     an unfair competitive advantage over HLS. These items
                                           animal                                                   include study numbers, study methodologies as discussed
                                                                                                    in the standard operating procedure for a study, animal
                                                                                                    reactions to the drug being studied, and animals number

LSR1705   Internal USDA Investigatory       Summary of Animal Welfare Act            WIP   (b)(4)   The items redacted contain confidential business
          Memoranda                         Violations found by USDA for a                          information that would cause com petitors of H LS to obta in
                                            study on the effects of a drug on an                    an unfair competitive advantage over HLS. These items
                                            animal                                                  include study numbers, study methodologies as discussed
                                                                                                    in the standard operating procedure for a study, animal
                                                                                                    reactions to the drug being studied, and animals number




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LSR1929   Internal USDA Investigatory      Summary of Animal Welfare Act             WIP   (b)(4)   The items redacted contain confidential business
          Memoranda                        Violations found by USDA for a                           information that would cause com petitors of H LS to obta in
                                           study on the effects of a drug on an                     an unfair competitive advantage over HLS. These items
                                           animal                                                   include study numbers, study methodologies as discussed
                                                                                                    in the standard operating procedure for a study, animal
                                                                                                    reactions to the drug being studied, and animals number

LSR2004   Internal USDA Investigatory      Summary of Animal Welfare Act             WIP   (b)(4)   The items redacted contain confidential business
          Memoranda                        Violations found by USDA for a                           information that would cause com petitors of H LS to obta in
                                           study on the effects of a drug on an                     an unfair competitive advantage over HLS. These items
                                           animal                                                   include study numbers, study methodologies as discussed
                                                                                                    in the standard operating procedure for a study, animal
                                                                                                    reactions to the drug being studied, and animals number

LSR2005   Internal USDA Investigatory      Summary of Animal Welfare Act             WIP   (b)(4)   The items redacted contain confidential business
          Memoranda                        Violations found by USDA for a                           information that would cause com petitors of H LS to obta in
                                           study on the effects of a drug on an                     an unfair competitive advantage over HLS. These items
                                           animal                                                   include study numbers, study methodologies as discussed
                                                                                                    in the standard operating procedure for a study, animal
                                                                                                    reactions to the drug being studied, and animals number

LSR2131   Internal USDA Investigatory      Summary of Animal Welfare Act             WIP   (b)(4)   The items redacted contain confidential business
          Memoranda                        Violations found by USDA for a                           information that would cause com petitors of H LS to obta in
                                           study on the effects of a drug on an                     an unfair competitive advantage over HLS. These items
                                           animal                                                   include study numbers, study methodologies as discussed
                                                                                                    in the standard operating procedure for a study, animal
                                                                                                    reactions to the drug being studied, and animals number

LSR2132   Internal USDA Investigatory       Summary of Animal Welfare Act            WIP   (b)(4)   The items redacted contain confidential business
          Memoranda                         Violations found by USDA for a                          information that would cause com petitors of H LS to obta in
                                            study on the effects of a drug on an                    an unfair competitive advantage over HLS. These items
                                            animal                                                  include study numbers, study methodologies as discussed
                                                                                                    in the standard operating procedure for a study, animal
                                                                                                    reactions to the drug being studied, and animals number




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LSR2232   Internal USDA Investigatory            Summary of Animal Welfare Act            WIP   (b)(4)   The items redacted contain confidential business
          Memoranda                              Violations found by USDA for a                          information that would cause com petitors of H LS to obta in
                                                 study on the effects of a drug on an                    an unfair competitive advantage over HLS. These items
                                                 animal                                                  include study numbers, study methodologies as discussed
                                                                                                         in the standard operating procedure for a study, animal
                                                                                                         reactions to the drug being studied, and animals number

LSR2233   Internal USDA Investigatory            Summary of Animal Welfare Act            WIP   (b)(4)   The items redacted contain confidential business
          Memoranda                              Violations found by USDA for a                          information that would cause com petitors of H LS to obta in
                                                 study on the effects of a drug on an                    an unfair competitive advantage over HLS. These items
                                                 animal                                                  include study numbers, study methodologies as discussed
                                                                                                         in the standard operating procedure for a study, animal
                                                                                                         reactions to the drug being studied, and animals number

LSR2272   Internal USDA Investigatory            Summary of Animal Welfare Act            WIP   (b)(4)   The items redacted contain confidential business
          Memoranda                              Violations found by USDA for a                          information that would cause com petitors of H LS to obta in
                                                 study on the effects of a drug on an                    an unfair competitive advantage over HLS. These items
                                                 animal                                                  include study numbers, study methodologies as discussed
                                                                                                         in the standard operating procedure for a study, animal
                                                                                                         reactions to the drug being stud ied, and animals num ber.

LSR0006   Comm unications fro m Hun tingdon to   Letter from HLS to Joseph A              WIP   (b)(4)   The items redacted contain confidential business
          USDA                                   Walker, D.V.M., USDA, dated                             information that would cause com petitors of H LS to obta in
                                                 November 11, 1996, discussing                           an unfair competitive advantage over HLS. These items
                                                 procedures used in various HLS                          include study numbers, study methodologies as discussed
                                                 studies                                                 in the standard operating procedure for a study, animal
                                                                                                         reactions to the drug being stud ied, and animals num ber.

LSR0008   Comm unications fro m Hun tingdon to   Letter from H LS to Eliza beth           WIP   (b)(4)   The items redacted contain confidential business
          USDA                                   Goldenteyer, DVM, USDA, dated                           information that would cause com petitors of H LS to obta in
                                                 June 6, 1996, discussing procedures                     an unfair competitive advantage over HLS. These items
                                                 used in various HLS studies                             include information discussed in the standard operating
                                                                                                         procedure for a study.




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LSR0009   Comm unications fro m Hun tingdon to   Letter from H LS to Eliza beth         WIP   (b)(4)      The items redacted contain confidential business
          USDA                                   Goldenteyer, DVM, USDA, dated                            information that would cause com petitors of H LS to obta in
                                                 June 6, 1996, discussing procedures                      an unfair competitive advantage over HLS. These items
                                                 used in various HLS studies                              include information discussed in the standard operating
                                                                                                          procedure for a study.

LSR0174   Comm unications fro m Hun tingdon to   Letter from H LS to Eliza beth         WIP   (b)(4)      The items redacted contain confidential business
          USDA                                   Goldenteyer, DVM, USDA, dated                            information that would cause com petitors of H LS to obta in
                                                 November 5, 1997, discussing HLS                         an unfair competitive advantage over HLS. These items
                                                 actions in light of the USDA                             include changes to H LS animal care an d laboratory
                                                 March/Ap ril 1997 Inspection Rep ort                     facilities.

LSR0175   Comm unications fro m Hun tingdon to   Letter from H LS to Eliza beth         WIP   (b)(4) &    The items redacted contain confidential business
          USDA                                   Goldenteyer, DVM, USDA, dated                (b)(7)(C)   information that would cause com petitors of H LS to obta in
                                                 November 5, 1997, discussing HLS                         an unfair competitive advantage over HLS. These items
                                                 actions in light of the USDA                             include changes to H LS animal care an d laboratory
                                                 March/Ap ril 1997 Inspection Rep ort                     facilities. The names of HLS employees have also been
                                                                                                          redacted.

LSR0177   Comm unications fro m Hun tingdon to   Letter from H LS to Eliza beth         WIP   (b)(4)      The items redacted contain confidential business
          USDA                                   Goldenteyer, DVM, USDA, dated                            information that would cause com petitors of H LS to obta in
                                                 November 5, 1997, discussing HLS                         an unfair competitive advantage over HLS. These items
                                                 actions in light of the USDA                             include changes to H LS animal care an d laboratory
                                                 March/Ap ril 1997 Inspection Rep ort                     facilities.

LSR0178   Comm unications fro m Hun tingdon to   Letter from H LS to Eliza beth         WIP   (b)(4) &    The items redacted contain confidential business
          USDA                                   Goldenteyer, DVM, USDA, dated                (b)(7)(C)   information that would cause com petitors of H LS to obta in
                                                 November 5, 1997, discussing HLS                         an unfair competitive advantage over HLS. These items
                                                 actions in light of the USDA                             include changes to H LS animal care an d laboratory
                                                 March/Ap ril 1997 Inspection Rep ort                     facilities. The names of HLS employees have also been
                                                                                                          redacted.




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LSR0435   Comm unications fro m Hun tingdon to   Letter from HLS to W. Ron              WIP   (b)(4) &    The items redacted contain confidential business
          USDA                                   DeHaven, DVM, USD A, dated                   (b)(7)(C)   information that would cause com petitors of H LS to obta in
                                                 November 18, 1999, discussing                            an unfair competitive advantage over HLS. These items
                                                 HLS actions in light of the USDA                         include changes to H LS animal care an d laboratory
                                                 March/Ap ril 1997 Inspection Rep ort                     facilities. The names of HLS employees have also been
                                                                                                          redacted.

LSR0436   Comm unications fro m Hun tingdon to   Letter from HLS to W. Ron              WIP   (b)(4)      The items redacted contain confidential business
          USDA                                   DeHaven, DVM, USD A, dated                               information that would cause com petitors of H LS to obta in
                                                 November 18, 1999, discussing                            an unfair competitive advantage over HLS. These items
                                                 HLS actions in light of the USDA                         include changes to H LS animal care an d laboratory
                                                 March/Ap ril 1997 Inspection Rep ort                     facilities.

LSR0484   Comm unications fro m Hun tingdon to   Letter from HLS to W. Ron              WIP   (b)(4) &    The items redacted contain confidential business
          USDA                                   DeHa ven, Actin g Depu ty                    (b)(7)(C)   information that would cause com petitors of H LS to obta in
                                                 Administrator, Animal Care,                              an unfair competitive advantage over HLS. These items
                                                 USDA, dated June 4, 1998,                                include information about the business operations of HLS,
                                                 discussing HLS actions in light of                       including number of workers and revenue figues. The
                                                 the USDA March/April 1997                                names of HLS employees have also been redacted.
                                                 Inspection Repo rt

LSR0485   Comm unications fro m Hun tingdon to   Letter from HLS to W. Ron              WIP   (b)(4)      The items redacted contain confidential business
          USDA                                   DeHa ven, Actin g Depu ty                                information that would cause com petitors of H LS to obta in
                                                 Administrator, Animal Care,                              an unfair competitive advantage over HLS. These items
                                                 USDA, dated June 4, 1998,                                include information about the business operations of HLS,
                                                 discussing HLS actions in light of                       including n umber of w orkers and revenue fig ues.
                                                 the USDA March/April 1997
                                                 Inspection Repo rt

LSR0577   Comm unications fro m Hun tingdon to   Letter from H LS to Eliza beth         WIP   (b)(4)      The items redacted contain confidential business
          USDA                                   Goldenteyer, DVM, USDA, dated                            information that would cause com petitors of H LS to obta in
                                                 November 5, 1997, discussing HLS                         an unfair competitive advantage over HLS. These items
                                                 actions in light of the USDA                             include changes to H LS animal care an d laboratory
                                                 March/Ap ril 1997 Inspection Rep ort                     facilities.




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LSR0578   Comm unications fro m Hun tingdon to   Letter from H LS to Eliza beth         WIP   (b)(4) &    The items redacted contain confidential business
          USDA                                   Goldenteyer, DVM, USDA, dated                (b)(7)(C)   information that would cause com petitors of H LS to obta in
                                                 November 5, 1997, discussing HLS                         an unfair competitive advantage over HLS. These items
                                                 actions in light of the USDA                             include changes to H LS animal care an d laboratory
                                                 March/Ap ril 1997 Inspection Rep ort                     facilities. The names of HLS employees have also been
                                                                                                          redacted.

LSR1694   Comm unications fro m Hun tingdon to   Letter from H LS to Eliza beth         WIP   (b)(4)      The items redacted contain confidential business
          USDA                                   Goldenteyer, DVM, USDA, dated                            information that would cause com petitors of H LS to obta in
                                                 September 19, 1997, discussing                           an unfair competitive advantage over HLS. These items
                                                 standard operating procedures used                       include information discussing HLS standard operating
                                                 by HLS in its studies                                    procedure for its studies.

LSR1696   Comm unications fro m Hun tingdon to   Letter from H LS to Eliza beth         WIP   (b)(4)      The items redacted contain confidential business
          USDA                                   Goldenteyer, DVM, USDA, dated                            information that would cause com petitors of H LS to obta in
                                                 June 6, 1996, discussing procedures                      an unfair competitive advantage over HLS. These items
                                                 used in various HLS studies                              include information discussed in the standard operating
                                                                                                          procedure for a study.

LSR1697   Comm unications fro m Hun tingdon to   Letter from H LS to Eliza beth         WIP   (b)(4)      The items redacted contain confidential business
          USDA                                   Goldenteyer, DVM, USDA, dated                            information that would cause com petitors of H LS to obta in
                                                 June 6, 1996, discussing procedures                      an unfair competitive advantage over HLS. These items
                                                 used in various HLS studies                              include information discussed in the standard operating
                                                                                                          procedure for a study.

LSR1698   Comm unications fro m Hun tingdon to   Letter from H LS to Eliza beth         WIP   (b)(4)      The items redacted contain confidential business
          USDA                                   Goldenteyer, DVM, USDA, dated                            information that would cause com petitors of H LS to obta in
                                                 June 6, 1996, discussing procedures                      an unfair competitive advantage over HLS. These items
                                                 used in various HLS studies                              include information discussed in the standard operating
                                                                                                          procedure for a study.

LSR0167   Communications Between                 Fax Cover Sheet from HLS to an         WIP   (b)(4) &    The items redacted contain confidential business
          Hunting don and its Clients            employee of an HLS Client, dated             (b)(7)(C)   information that would cause com petitors of H LS to obta in
                                                 June 16, 1997                                            an unfair competitive advantage over HLS. These items
                                                                                                          include the name of an HLS client, the fax number for the
                                                                                                          HLS client, and an employee of an HLS client. The names
                                                                                                          of HLS employees have also been redacted.



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LSR0163   Communications Between                Letter from an HLS Client to Alan      WIF   (b)(4) &    The letter contains confidential business information that
          Hunting don and its Clients           H. Staple, President, HLS, dated             (b)(7)(C)   would c ause com petitors of H LS to obta in an unfair
                                                May 21, 1997                                             competitive advantage over HLS. These letter includes a
                                                                                                         communication between HLS and its client regarding issues
                                                                                                         arising from an HLS sponsored by the client. The names of
                                                                                                         HLS employees have also been redacted.

LSR0164   Communications Between                Letter from Alan H. Staple,            WIF   (b)(4) &    The letter contains confidential business information that
          Hunting don and its Clients           President, HLS, to an HLS Client             (b)(7)(C)   would c ause com petitors of H LS to obta in an unfair
                                                dated June 9, 1997                                       competitive advantage over HLS. These letter includes a
                                                                                                         communication between HLS and its client regarding issues
                                                                                                         arising from an HLS sponsored by the client. The names of
                                                                                                         HLS employees have also been redacted.

LSR0165   Communications Between                Letter from Alan H. Staple,            WIF   (b)(4) &    The letter contains confidential business information that
          Hunting don and its Clients           President, HLS, to an HLS Client             (b)(7)(C)   would c ause com petitors of H LS to obta in an unfair
                                                dated June 9, 1997                                       competitive advantage over HLS. These letter includes a
                                                                                                         communication between HLS and its client regarding issues
                                                                                                         arising from an HLS sponsored by the client. The names of
                                                                                                         HLS employees have also been redacted.

LSR0166   Communications Between                Letter from Alan H. Staple,            WIF   (b)(4) &    The letter contains confidential business information that
          Hunting don and its Clients           President, HLS, to an HLS Client             (b)(7)(C)   would c ause com petitors of H LS to obta in an unfair
                                                dated June 9, 1997                                       competitive advantage over HLS. These letter includes a
                                                                                                         communication between HLS and its client regarding issues
                                                                                                         arising from an HLS sponsored by the client. The names of
                                                                                                         HLS employees have also been redacted.

LSR0168   Communications Between                 Letter from Michael Caulfield,        WIF   (b)(4) &    The letter contains confidential business information that
          Hunting don and its Clients            Director, Quality Assurance, HLS,           (b)(7)(C)   would c ause com petitors of H LS to obta in an unfair
                                                 to an HLS Client dated June 16,                         competitive advantage over HLS. These letter includes a
                                                 1997                                                    communication between HLS and its client regarding issues
                                                                                                         arising from an HLS sponsored by the client. The names of
                                                                                                         HLS employees have also been redacted.




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LSR0169   Communications Between                Letter from Michael Caulfield,        WIF   (b)(4) &    The letter contains confidential business information that
          Hunting don and its Clients           Director, Quality Assurance, HLS,           (b)(7)(C)   would c ause com petitors of H LS to obta in an unfair
                                                to an HLS Client dated June 16,                         competitive advantage over HLS. These letter includes a
                                                1997                                                    communication between HLS and its client regarding issues
                                                                                                        arising from an HLS sponsored by the client. The names of
                                                                                                        HLS employees have also been redacted.

LSR0170   Communications Between                Letter from Michael Caulfield,        WIF   (b)(4) &    The letter contains confidential business information that
          Hunting don and its Clients           Director, Quality Assurance, HLS,           (b)(7)(C)   would c ause com petitors of H LS to obta in an unfair
                                                to an HLS Client dated June 16,                         competitive advantage over HLS. These letter includes a
                                                1997                                                    communication between HLS and its client regarding issues
                                                                                                        arising from an HLS sponsored by the client. The names of
                                                                                                        HLS employees have also been redacted.

LSR0171   Communications Between                Memo from an HLS Client to an         WIF   (b)(4) &    The memorandum co ntains confidential business
          Hunting don and its Clients           HLS employee, no date provided              (b)(7)(C)   information that would cause com petitors of H LS to obta in
                                                                                                        an unfair competitive advantage over HLS. This memo
                                                                                                        includes a communication between HLS and its client
                                                                                                        regarding issues arising from an HLS sponsored by the
                                                                                                        client. The names of HLS employees have also been
                                                                                                        redacted.

LSR0172   Communications Between                Letter from Alan H. Staple,           WIF   (b)(4) &    The letter contains confidential business information that
          Hunting don and its Clients           President, HLS, to an HLS Client            (b)(7)(C)   would c ause com petitors of H LS to obta in an unfair
                                                dated June 10, 1997                                     competitive advantage over HLS. These letter includes a
                                                                                                        communication between HLS and its client regarding issues
                                                                                                        arising from an HLS sponsored by the client. The names of
                                                                                                        HLS employees have also been redacted.

LSR0173   Communications Between                 Letter from Alan H. Staple,          WIF   (b)(4) &    The letter contains confidential business information that
          Hunting don and its Clients            President, HLS, to an HLS Client           (b)(7)(C)   would c ause com petitors of H LS to obta in an unfair
                                                 dated June 10, 1997                                    competitive advantage over HLS. These letter includes a
                                                                                                        communication between HLS and its client regarding issues
                                                                                                        arising from an HLS sponsored by the client. The names of
                                                                                                        HLS employees have also been redacted.




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LSR1036    Communications Between                Letter from an HLS Client to an         WIF   (b)(4) &    The letter contains confidential business information that
           Hunting don and its Clients           HLS employee, dated June 5, 1997              (b)(7)(C)   would c ause com petitors of H LS to obta in an unfair
                                                                                                           competitive advantage over HLS. These letter includes a
                                                                                                           communication between HLS and its client regarding issues
                                                                                                           arising from an HLS sponsored by the client. The names of
                                                                                                           HLS employees have also been redacted.

LSR1073    Communications Between                Record of call between HLS              WIF   (b)(4) &    The record contains confidential business information that
           Hunting don and its Clients           employee and an HLS client                    (b)(7)(C)   would c ause com petitors of H LS to obta in an unfair
                                                 employee dated February 21, 1997                          competitive advantage over HLS. This record includes a
                                                                                                           communication between HLS and its client regarding issues
                                                                                                           arising from an HLS sponsored by the client. The names of
                                                                                                           HLS employees have also been redacted.

No Bates   Internal USDA Memoranda               Letter from Meredith Jones,             WIF   (b)(5)      This letter consists of deliberations among USDA
Stamp      Concerning the Drafting of the        Investigation s Specialist,                               investigators and the Office of the General Counsel about
           Animal Welfare Act Complaint Filed    Investigative and Enforcement                             charges that should or should not have been included in the
           Against Huntingdon                    Services, USDA to Kenneth H.                              Anima l Welfare Act com plaint filed aga inst Huntin gdon.
                                                 Vail, Ass istant Gene ral Couns el,                       This information was withheld under the deliberative
                                                 Marketing Division, Office of the                         process an d attorney w ork produ ct privileges p ursuant to
                                                 General Counsel, USDA, dated                              Exemption 5.
                                                 May 18, 1998 regarding HLS

No Bates   Internal USDA Memoranda                Letter from W. Ron DeHaven,            WIF   (b)(5)      This letter consists of deliberations among USDA
Stamp      Concerning the Drafting of the         Acting Depu ty Administrator,                            investigators and the Office of the General Counsel about
           Animal Welfare Act Complaint Filed     Anima l Care, US DA, to B etty                           charges that should or should not have been included in the
           Against Huntingdon                     Goldentyer, Reg ional Director,                          Anima l Welfare Act com plaint filed aga inst Huntin gdon.
                                                  USDA, dated March 2, 1998                                This information was withheld under the deliberative
                                                  regarding HLS                                            process an d attorney w ork produ ct privileges p ursuant to
                                                                                                           Exemption 5.




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No Bates   Internal USDA Memoranda              Mem orandum from Elizab eth            WIF   (b)(5)   This memorandum consists of deliberations among USDA
Stamp      Concerning the Drafting of the       Goldentyer, D.V .M., USD A, to Dr.                    investigators and the Office of the General Counsel about
           Animal Welfare Act Complaint Filed   Ron D eHave n, Acting D eputy                         charges that should or should not have been included in the
           Against Huntingdon                   Administrator, Animal Care,                           Anima l Welfare Act com plaint filed aga inst Huntin gdon.
                                                USDA, dated March 13, 1998                            This information was withheld under the deliberative
                                                regarding HLS Complaint                               process an d attorney w ork produ ct privileges p ursuant to
                                                                                                      Exemption 5.

No Bates   Internal USDA Memoranda              Mem orandum from Elizab eth            WIF   (b)(5)   This memorandum consists of deliberations among USDA
Stamp      Concerning the Drafting of the       Goldentyer, D.V .M., USD A, to Dr.                    investigators and the Office of the General Counsel about
           Animal Welfare Act Complaint Filed   Ron D eHave n, Acting D eputy                         charges that should or should not have been included in the
           Against Huntingdon                   Administrator, Animal Care,                           Anima l Welfare Act com plaint filed aga inst Huntin gdon.
                                                USDA, dated March 13, 1998                            This information was withheld under the deliberative
                                                regarding HLS Complaint                               process an d attorney w ork produ ct privileges p ursuant to
                                                                                                      Exemption 5.

No Bates   Internal USDA Memoranda              Mem orandum from Elizab eth            WIF   (b)(5)   This memorandum consists of deliberations among USDA
Stamp      Concerning the Drafting of the       Goldentyer, D.V .M., USD A, to Dr.                    investigators and the Office of the General Counsel about
           Animal Welfare Act Complaint Filed   Ron D eHave n, Acting D eputy                         charges that should or should not have been included in the
           Against Huntingdon                   Administrator, Animal Care,                           Anima l Welfare Act com plaint filed aga inst Huntin gdon.
                                                USDA, dated March 13, 1998                            This information was withheld under the deliberative
                                                regarding HLS Complaint                               process an d attorney w ork produ ct privileges p ursuant to
                                                                                                      Exemption 5.

No Bates   Internal USDA Memoranda              Mem orandum from Elizab eth            WIF   (b)(5)   This memorandum consists of deliberations among USDA
Stamp      Concerning the Drafting of the       Goldentyer, D.V .M., USD A, to Dr.                    investigators and the Office of the General Counsel about
           Animal Welfare Act Complaint Filed   Ron D eHave n, Acting D eputy                         charges that should or should not have been included in the
           Against Huntingdon                   Administrator, Animal Care,                           Anima l Welfare Act com plaint filed aga inst Huntin gdon.
                                                USDA, dated March 13, 1998                            This information was withheld under the deliberative
                                                regarding HLS Complaint                               process an d attorney w ork produ ct privileges p ursuant to
                                                                                                      Exemption 5.




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No Bates   Internal USDA Memoranda              Letter from Meredith Jones,             WIF   (b)(5)   This letter consists of deliberations among USDA
Stamp      Concerning the Drafting of the       Investigation s Specialist,                            investigators and the Office of the General Counsel about
           Animal Welfare Act Complaint Filed   Investigative and Enforcement                          charges that should or should not have been included in the
           Against Huntingdon                   Services, USDA to Kenneth H.                           Anima l Welfare Act com plaint filed aga inst Huntin gdon.
                                                Vail, Ass istant Gene ral Couns el,                    This information was withheld under the deliberative
                                                Marketing Division, Office of the                      process an d attorney w ork produ ct privileges p ursuant to
                                                General Counsel, USDA, dated                           Exemption 5.
                                                May 18, 1998 regarding HLS

No Bates   Internal USDA Memoranda              Memorandum from Kenneth H.              WIF   (b)(5)   This memorandum consists of deliberations among USDA
Stamp      Concerning the Drafting of the       Vail, Ass istant Gene ral Couns el,                    investigators and the Office of the General Counsel about
           Animal Welfare Act Complaint Filed   Marketing Division, Office of the                      charges that should or should not have been included in the
           Against Huntingdon                   General Cou nsel, USDA , to Dr.                        Anima l Welfare Act com plaint filed aga inst Huntin gdon.
                                                Ron D eHave n, Acting D eputy                          This information was withheld under the deliberative
                                                Administrator, Animal Care,                            process an d attorney w ork produ ct privileges p ursuant to
                                                USDA, dated February 26, 1998                          Exemption 5.
                                                regarding HLS Complaint

No Bates   Internal USDA Memoranda              Memorandum from Kenneth H.              WIF   (b)(5)   This memorandum consists of deliberations among USDA
Stamp      Concerning the Drafting of the       Vail, Ass istant Gene ral Couns el,                    investigators and the Office of the General Counsel about
           Animal Welfare Act Complaint Filed   Marketing Division, Office of the                      charges that should or should not have been included in the
           Against Huntingdon                   General Cou nsel, USDA , to Dr.                        Anima l Welfare Act com plaint filed aga inst Huntin gdon.
                                                Ron D eHave n, Acting D eputy                          This information was withheld under the deliberative
                                                Administrator, Animal Care,                            process an d attorney w ork produ ct privileges p ursuant to
                                                USDA, dated February 26, 1998                          Exemption 5.
                                                regarding HLS Complaint

No Bates   Internal USDA Memoranda              Memorandum from Kenneth H.              WIF   (b)(5)   This memorandum consists of deliberations among USDA
Stamp      Concerning the Drafting of the       Vail, Ass istant Gene ral Couns el,                    investigators and the Office of the General Counsel about
           Animal Welfare Act Complaint Filed   Marketing Division, Office of the                      charges that should or should not have been included in the
           Against Huntingdon                   General Cou nsel, USDA , to Dr.                        Anima l Welfare Act com plaint filed aga inst Huntin gdon.
                                                Ron D eHave n, Acting D eputy                          This information was withheld under the deliberative
                                                Administrator, Animal Care,                            process an d attorney w ork produ ct privileges p ursuant to
                                                USDA, dated February 26, 1998                          Exemption 5.
                                                regarding HLS Complaint




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No Bates   Internal USDA Memoranda              Memorandum from Kenneth H.              WIF   (b)(5)   This memorandum consists of deliberations among USDA
Stamp      Concerning the Drafting of the       Vail, Ass istant Gene ral Couns el,                    investigators and the Office of the General Counsel about
           Animal Welfare Act Complaint Filed   Marketing Division, Office of the                      charges that should or should not have been included in the
           Against Huntingdon                   General Cou nsel, USDA , to Dr.                        Anima l Welfare Act com plaint filed aga inst Huntin gdon.
                                                Ron D eHave n, Acting D eputy                          This information was withheld under the deliberative
                                                Administrator, Animal Care,                            process an d attorney w ork produ ct privileges p ursuant to
                                                USDA, dated February 26, 1998                          Exemption 5.
                                                regarding HLS Complaint

No Bates   Internal USDA Memoranda              Memorandum from Kenneth H.              WIF   (b)(5)   This memorandum consists of deliberations among USDA
Stamp      Concerning the Drafting of the       Vail, Ass istant Gene ral Couns el,                    investigators and the Office of the General Counsel about
           Animal Welfare Act Complaint Filed   Marketing Division, Office of the                      charges that should or should not have been included in the
           Against Huntingdon                   General Cou nsel, USDA , to Dr.                        Anima l Welfare Act com plaint filed aga inst Huntin gdon.
                                                Ron D eHave n, Acting D eputy                          This information was withheld under the deliberative
                                                Administrator, Animal Care,                            process an d attorney w ork produ ct privileges p ursuant to
                                                USDA, dated February 26, 1998                          Exemption 5.
                                                regarding HLS Complaint

No Bates   Internal USDA Memoranda              Memorandum from Kenneth H.              WIF   (b)(5)   This memorandum consists of deliberations among USDA
Stamp      Concerning the Drafting of the       Vail, Ass istant Gene ral Couns el,                    investigators and the Office of the General Counsel about
           Animal Welfare Act Complaint Filed   Marketing Division, Office of the                      charges that should or should not have been included in the
           Against Huntingdon                   General Cou nsel, USDA , to Dr.                        Anima l Welfare Act com plaint filed aga inst Huntin gdon.
                                                Ron D eHave n, Acting D eputy                          This information was withheld under the deliberative
                                                Administrator, Animal Care,                            process an d attorney w ork produ ct privileges p ursuant to
                                                USDA, dated February 26, 1998                          Exemption 5.
                                                regarding HLS Complaint

No Bates   Internal USDA Memoranda              Memorandum from Kenneth H.              WIF   (b)(5)   This memorandum consists of deliberations among USDA
Stamp      Concerning the Drafting of the       Vail, Ass istant Gene ral Couns el,                    investigators and the Office of the General Counsel about
           Animal Welfare Act Complaint Filed   Marketing Division, Office of the                      charges that should or should not have been included in the
           Against Huntingdon                   General Cou nsel, USDA , to Dr.                        Anima l Welfare Act com plaint filed aga inst Huntin gdon.
                                                Ron D eHave n, Acting D eputy                          This information was withheld under the deliberative
                                                Administrator, Animal Care,                            process an d attorney w ork produ ct privileges p ursuant to
                                                USDA, dated February 26, 1998                          Exemption 5.
                                                regarding HLS Complaint




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No Bates   Internal USDA Memoranda                   Memorandum from Kenneth H.               WIF   (b)(5)             This memorandum consists of deliberations among USDA
Stamp      Concerning the Drafting of the            Vail, Ass istant Gene ral Couns el,                               investigators and the Office of the General Counsel about
           Animal Welfare Act Complaint Filed        Marketing Division, Office of the                                 charges that should or should not have been included in the
           Against Huntingdon                        General Cou nsel, USDA , to Dr.                                   Anima l Welfare Act com plaint filed aga inst Huntin gdon.
                                                     Ron D eHave n, Acting D eputy                                     This information was withheld under the deliberative
                                                     Administrator, Animal Care,                                       process an d attorney w ork produ ct privileges p ursuant to
                                                     USDA, dated February 26, 1998                                     Exemption 5.
                                                     regarding HLS Complaint

No Bates   Internal USDA Memoranda                   Memorandum from Kenneth H.               WIF   (b)(5)             This memorandum consists of deliberations among USDA
Stamp      Concerning the Drafting of the            Vail, Ass istant Gene ral Couns el,                               investigators and the Office of the General Counsel about
           Animal Welfare Act Complaint Filed        Marketing Division, Office of the                                 charges that should or should not have been included in the
           Against Huntingdon                        General Cou nsel, USDA , to Dr.                                   Anima l Welfare Act com plaint filed aga inst Huntin gdon.
                                                     Ron D eHave n, Acting D eputy                                     This information was withheld under the deliberative
                                                     Administrator, Animal Care,                                       process an d attorney w ork produ ct privileges p ursuant to
                                                     USDA, dated February 26, 1998                                     Exemption 5.
                                                     regarding HLS Complaint

LSR0025    Record s Withh eld in Full Pu rsuant to   Signature Page for a Final Protocol      WIF   (b)(4), (b)(6) &   This page contains info rmation related to the Standard
           Exemptions 6 and 7(C)                     for a study on the effects of a drug           (b)(7)(C)          Operating Procedures that are no longer at issue in the
                                                     on an animal                                                      lawsuit. Included on the page are the test number, the
                                                                                                                       company sponsoring the test, and names and signatures of
                                                                                                                       HLS employees

LSR0036    Record s Withh eld in Full Pu rsuant to   Report Circulation Signature Page        WIF   (b)(4), (b)(6) &   This page contains info rmation related to the Standard
           Exemptions 6 and 7(C)                     for a study on the effects of a drug           (b)(7)(C)          Operating Procedures that are no longer at issue in the
                                                     on an animal                                                      lawsuit. Included on the page are the test number, the
                                                                                                                       company sponsoring the test, and names and signatures of
                                                                                                                       HLS employees

LSR0131    Record s Withh eld in Full Pu rsuant to   Signature Page for a Pro tocol for a     WIF   (b)(4), (b)(6) &   This page contains info rmation related to the Standard
           Exemptions 6 and 7(C)                     study on the effects of a drug on an           (b)(7)(C)          Operating Procedures that are no longer at issue in the
                                                     animal                                                            lawsuit. Included on the page are the test number, the
                                                                                                                       company sponsoring the test, and names and signatures of
                                                                                                                       HLS employees




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LSR0221   Record s Withh eld in Full Pu rsuant to   Signature Page for a Pro tocol for a     WIF   (b)(4), (b)(6) &   This page contains info rmation related to the Standard
          Exemptions 6 and 7(C)                     study on the effects of a drug on an           (b)(7)(C)          Operating Procedures that are no longer at issue in the
                                                    animal                                                            lawsuit. Included on the page are the test number, the
                                                                                                                      company sponsoring the test, and names and signatures of
                                                                                                                      HLS employees

LSR0222   Record s Withh eld in Full Pu rsuant to   Signature Page for a Pro tocol for a     WIF   (b)(4), (b)(6) &   This page contains info rmation related to the Standard
          Exemptions 6 and 7(C)                     study on the effects of a drug on an           (b)(7)(C)          Operating Procedures that are no longer at issue in the
                                                    animal                                                            lawsuit. Included on the page are the test number, the
                                                                                                                      company sponsoring the test, and names and signatures of
                                                                                                                      HLS employees

LSR0368   Record s Withh eld in Full Pu rsuant to   Signature Page for Approval of           WIF   (b)(4), (b)(6) &   This page contains info rmation related to the Standard
          Exemptions 6 and 7(C)                     Validation Test Protocol for a study           (b)(7)(C)          Operating Procedures that are no longer at issue in the
                                                    on the effects of a drug on an animal                             lawsuit. Included on the page are the test number, the
                                                                                                                      company sponsoring the test, and names and signatures of
                                                                                                                      HLS employees

LSR0391   Record s Withh eld in Full Pu rsuant to   Signature Page for a Pro tocol for a     WIF   (b)(4), (b)(6) &   This page contains info rmation related to the Standard
          Exemptions 6 and 7(C)                     study on the effects of a drug on an           (b)(7)(C)          Operating Procedures that are no longer at issue in the
                                                    animal                                                            lawsuit. Included on the page are the test number, the
                                                                                                                      company sponsoring the test, and names and signatures of
                                                                                                                      HLS employees

LSR1030   Record s Withh eld in Full Pu rsuant to   Signature Page for a Pro tocol for a     WIF   (b)(4), (b)(6) &   This page contains info rmation related to the Standard
          Exemptions 6 and 7(C)                     study on the effects of a drug on an           (b)(7)(C)          Operating Procedures that are no longer at issue in the
                                                    animal                                                            lawsuit. Included on the page are the test number, the
                                                                                                                      company sponsoring the test, and names and signatures of
                                                                                                                      HLS employees

LSR1034   Record s Withh eld in Full Pu rsuant to   Signature Page for a Protocol            WIF   (b)(4), (b)(6) &   This page contains info rmation related to the Standard
          Exemptions 6 and 7(C)                     Amendment for a study on the                   (b)(7)(C)          Operating Procedures that are no longer at issue in the
                                                    effects of a drug on an animal                                    lawsuit. Included on the page are the test number, the
                                                                                                                      company sponsoring the test, and names and signatures of
                                                                                                                      HLS employees




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LSR1057   Record s Withh eld in Full Pu rsuant to   Signature Page for a Pro tocol for a     WIF   (b)(4), (b)(6) &   This page contains info rmation related to the Standard
          Exemptions 6 and 7(C)                     study on the effects of a drug on an           (b)(7)(C)          Operating Procedures that are no longer at issue in the
                                                    animal                                                            lawsuit. Included on the page are the test number, the
                                                                                                                      company sponsoring the test, and names and signatures of
                                                                                                                      HLS employees

LSR1060   Record s Withh eld in Full Pu rsuant to   Signature Page for a Protocol            WIF   (b)(4), (b)(6) &   This page contains info rmation related to the Standard
          Exemptions 6 and 7(C)                     Amendment for a study on the                   (b)(7)(C)          Operating Procedures that are no longer at issue in the
                                                    effects of a drug on an animal                                    lawsuit. Included on the page are the test number, the
                                                                                                                      company sponsoring the test, and names and signatures of
                                                                                                                      HLS employees

LSR1061   Record s Withh eld in Full Pu rsuant to   Signature Page for a Protocol            WIF   (b)(4), (b)(6) &   This page contains info rmation related to the Standard
          Exemptions 6 and 7(C)                     Amendment for a study on the                   (b)(7)(C)          Operating Procedures that are no longer at issue in the
                                                    effects of a drug on an animal                                    lawsuit. Included on the page are the test number, the
                                                                                                                      company sponsoring the test, and names and signatures of
                                                                                                                      HLS employees

LSR1122   Record s Withh eld in Full Pu rsuant to   Signature Page for a Pro tocol for a     WIF   (b)(4), (b)(6) &   This page contains info rmation related to the Standard
          Exemptions 6 and 7(C)                     study on the effects of a drug on an           (b)(7)(C)          Operating Procedures that are no longer at issue in the
                                                    animal                                                            lawsuit. Included on the page are the test number, the
                                                                                                                      company sponsoring the test, and names and signatures of
                                                                                                                      HLS employees

LSR1242   Record s Withh eld in Full Pu rsuant to   Signature Page for a Pro tocol for a     WIF   (b)(4), (b)(6) &   This page contains info rmation related to the Standard
          Exemptions 6 and 7(C)                     study on the effects of a drug on an           (b)(7)(C)          Operating Procedures that are no longer at issue in the
                                                    animal                                                            lawsuit. Included on the page are the test number, the
                                                                                                                      company sponsoring the test, and names and signatures of
                                                                                                                      HLS employees

LSR1763   Record s Withh eld in Full Pu rsuant to   Signature Page for a Protocol            WIF   (b)(4), (b)(6) &   This page contains info rmation related to the Standard
          Exemptions 6 and 7(C)                     Amendment for a study on the                   (b)(7)(C)          Operating Procedures that are no longer at issue in the
                                                    effects of a drug on an animal                                    lawsuit. Included on the page are the test number, the
                                                                                                                      company sponsoring the test, and names and signatures of
                                                                                                                      HLS employees




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LSR1865   Record s Withh eld in Full Pu rsuant to   Signature Page for a Pro tocol for a      WIF   (b)(4), (b)(6) &   This page contains info rmation related to the Standard
          Exemptions 6 and 7(C)                     study on the effects of a drug on an            (b)(7)(C)          Operating Procedures that are no longer at issue in the
                                                    animal                                                             lawsuit. Included on the page are the test number, the
                                                                                                                       company sponsoring the test, and names and signatures of
                                                                                                                       HLS employees

LSR1877   Record s Withh eld in Full Pu rsuant to   Signature Page for a Protocol             WIF   (b)(4), (b)(6) &   This page contains info rmation related to the Standard
          Exemptions 6 and 7(C)                     Amendment for a study on the                    (b)(7)(C)          Operating Procedures that are no longer at issue in the
                                                    effects of a drug on an animal                                     lawsuit. Included on the page are the test number, the
                                                                                                                       company sponsoring the test, and names and signatures of
                                                                                                                       HLS employees

LSR0313   Observ ation Shee ts                      Summary of basic information for          WIF   (b)(4) &           The summary contains observations for an animal in the
                                                    an anima l in a study on the effects            (b)(7)(C)          study over a specified interval of time. T he summary
                                                    of a drug on an animal                                             contains information intrinsic to the standard operating
                                                                                                                       procedure for the study.

LSR1102   Observ ation Shee ts                      Chart containing basic information        WIF   (b)(4) &           The chart contains ob servations animals in the study over a
                                                    for animals in a study on the effects           (b)(7)(C)          specified interval of time, including body weight and
                                                    of a drug on an animal                                             amount of food eaten by the animal. The chart also
                                                                                                                       contains a description of the study, the study number, the
                                                                                                                       animal numbe r, the time and date the observa tions were
                                                                                                                       taken, and the initials of the HLS employee recording the
                                                                                                                       observations.

LSR1624   Observ ation Shee ts                      Chart containing basic information        WIF   (b)(4) &           The chart contains ob servations animals in the study over a
                                                    for animals in a study on the effects           (b)(7)(C)          specified interval of time, including body weight and
                                                    of a drug on an animal                                             amount of food eaten by the animal. The chart also
                                                                                                                       contains a description of the study, the study number, the
                                                                                                                       animal numbe r, the time and date the observa tions were
                                                                                                                       taken, and the initials of the HLS employee recording the
                                                                                                                       observations.




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LSR1626   Observ ation Shee ts           Chart containing basic information         WIF   (b)(4) &    The chart contains ob servations animals in the study over a
                                         for animals in a study on the effects            (b)(7)(C)   specified interval of time, including body weight and
                                         of a drug on an animal                                       amount of food eaten by the animal. The chart also
                                                                                                      contains a description of the study, the study number, the
                                                                                                      animal numbe r, the time and date the observa tions were
                                                                                                      taken, and the initials of the HLS employee recording the
                                                                                                      observations.

LSR1628   Observ ation Shee ts           Chart containing basic information         WIF   (b)(4) &    The chart contains ob servations animals in the study over a
                                         for animals in a study on the effects            (b)(7)(C)   specified interval of time, including body weight and
                                         of a drug on an animal                                       amount of food eaten by the animal. The chart also
                                                                                                      contains a description of the study, the study number, the
                                                                                                      animal numbe r, the time and date the observa tions were
                                                                                                      taken, and the initials of the HLS employee recording the
                                                                                                      observations.

LSR1717   Observ ation Shee ts           Chart containing basic information         WIF   (b)(4) &    The chart contains ob servations animals in the study over a
                                         for animals in a study on the effects            (b)(7)(C)   specified interval of time, including body weight and
                                         of a drug on an animal                                       amount of food eaten by the animal. The chart also
                                                                                                      contains a description of the study, the study number, the
                                                                                                      animal numbe r, the time and date the observa tions were
                                                                                                      taken, and the initials of the HLS employee recording the
                                                                                                      observations.

LSR1800   Observ ation Shee ts            Chart containing basic information        WIF   (b)(4) &    The chart contains ob servations animals in the study over a
                                          for animals in a study on the effects           (b)(7)(C)   specified interval of time, including body weight and
                                          of a drug on an animal                                      amount of food eaten by the animal. The chart also
                                                                                                      contains a description of the study, the study number, the
                                                                                                      animal numbe r, the time and date the observa tions were
                                                                                                      taken, and the initials of the HLS employee recording the
                                                                                                      observations.




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LSR1803   Observ ation Shee ts           Chart containing basic information         WIF   (b)(4) &    The chart contains ob servations animals in the study over a
                                         for animals in a study on the effects            (b)(7)(C)   specified interval of time, including body weight and
                                         of a drug on an animal                                       amount of food eaten by the animal. The chart also
                                                                                                      contains a description of the study, the study number, the
                                                                                                      animal numbe r, the time and date the observa tions were
                                                                                                      taken, and the initials of the HLS employee recording the
                                                                                                      observations.

LSR1826   Observ ation Shee ts           Chart containing basic information         WIF   (b)(4) &    The chart contains ob servations animals in the study over a
                                         for animals in a study on the effects            (b)(7)(C)   specified interval of time, including body weight and
                                         of a drug on an animal                                       amount of food eaten by the animal. The chart also
                                                                                                      contains a description of the study, the study number, the
                                                                                                      animal numbe r, the time and date the observa tions were
                                                                                                      taken, and the initials of the HLS employee recording the
                                                                                                      observations.

LSR1922   Observ ation Shee ts           Chart containing basic information         WIF   (b)(4) &    The chart contains ob servations animals in the study over a
                                         for animals in a study on the effects            (b)(7)(C)   specified interval of time, including body weight and
                                         of a drug on an animal                                       amount of food eaten by the animal. The chart also
                                                                                                      contains a description of the study, the study number, the
                                                                                                      animal numbe r, the time and date the observa tions were
                                                                                                      taken, and the initials of the HLS employee recording the
                                                                                                      observations.

LSR1923   Observ ation Shee ts            Chart containing basic information        WIF   (b)(4) &    The chart contains ob servations animals in the study over a
                                          for animals in a study on the effects           (b)(7)(C)   specified interval of time, including body weight and
                                          of a drug on an animal                                      amount of food eaten by the animal. The chart also
                                                                                                      contains a description of the study, the study number, the
                                                                                                      animal numbe r, the time and date the observa tions were
                                                                                                      taken, and the initials of the HLS employee recording the
                                                                                                      observations.




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LSR1924   Observ ation Shee ts           Chart containing basic information         WIF   (b)(4) &    The chart contains ob servations animals in the study over a
                                         for animals in a study on the effects            (b)(7)(C)   specified interval of time, including body weight and
                                         of a drug on an animal                                       amount of food eaten by the animal. The chart also
                                                                                                      contains a description of the study, the study number, the
                                                                                                      animal numbe r, the time and date the observa tions were
                                                                                                      taken, and the initials of the HLS employee recording the
                                                                                                      observations.

LSR1925   Observ ation Shee ts           Chart containing basic information         WIF   (b)(4) &    The chart contains ob servations animals in the study over a
                                         for animals in a study on the effects            (b)(7)(C)   specified interval of time, including body weight and
                                         of a drug on an animal                                       amount of food eaten by the animal. The chart also
                                                                                                      contains a description of the study, the study number, the
                                                                                                      animal numbe r, the time and date the observa tions were
                                                                                                      taken, and the initials of the HLS employee recording the
                                                                                                      observations.

LSR1926   Observ ation Shee ts           Chart containing basic information         WIF   (b)(4) &    The chart contains ob servations animals in the study over a
                                         for animals in a study on the effects            (b)(7)(C)   specified interval of time, including body weight and
                                         of a drug on an animal                                       amount of food eaten by the animal. The chart also
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                                                                                                      animal numbe r, the time and date the observa tions were
                                                                                                      taken, and the initials of the HLS employee recording the
                                                                                                      observations.

LSR1927   Observ ation Shee ts            Chart containing basic information        WIF   (b)(4) &    The chart contains ob servations animals in the study over a
                                          for animals in a study on the effects           (b)(7)(C)   specified interval of time, including body weight and
                                          of a drug on an animal                                      amount of food eaten by the animal. The chart also
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                                                                                                      animal numbe r, the time and date the observa tions were
                                                                                                      taken, and the initials of the HLS employee recording the
                                                                                                      observations.




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LSR1928   Observ ation Shee ts           Chart containing basic information         WIF   (b)(4) &    The chart contains ob servations animals in the study over a
                                         for animals in a study on the effects            (b)(7)(C)   specified interval of time, including body weight and
                                         of a drug on an animal                                       amount of food eaten by the animal. The chart also
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                                                                                                      animal numbe r, the time and date the observa tions were
                                                                                                      taken, and the initials of the HLS employee recording the
                                                                                                      observations.

LSR2063   Observ ation Shee ts           Chart containing basic information         WIF   (b)(4) &    The chart contains ob servations animals in the study over a
                                         for animals in a study on the effects            (b)(7)(C)   specified interval of time, including body weight and
                                         of a drug on an animal                                       amount of food eaten by the animal. The chart also
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                                                                                                      animal numbe r, the time and date the observa tions were
                                                                                                      taken, and the initials of the HLS employee recording the
                                                                                                      observations.

LSR2064   Observ ation Shee ts           Chart containing basic information         WIF   (b)(4) &    The chart contains ob servations animals in the study over a
                                         for animals in a study on the effects            (b)(7)(C)   specified interval of time, including body weight and
                                         of a drug on an animal                                       amount of food eaten by the animal. The chart also
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                                                                                                      animal numbe r, the time and date the observa tions were
                                                                                                      taken, and the initials of the HLS employee recording the
                                                                                                      observations.

LSR2065   Observ ation Shee ts            Chart containing basic information        WIF   (b)(4) &    The chart contains ob servations animals in the study over a
                                          for animals in a study on the effects           (b)(7)(C)   specified interval of time, including body weight and
                                          of a drug on an animal                                      amount of food eaten by the animal. The chart also
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LSR2066   Observ ation Shee ts           Chart containing basic information         WIF   (b)(4) &    The chart contains ob servations animals in the study over a
                                         for animals in a study on the effects            (b)(7)(C)   specified interval of time, including body weight and
                                         of a drug on an animal                                       amount of food eaten by the animal. The chart also
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                                                                                                      animal numbe r, the time and date the observa tions were
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                                                                                                      observations.

LSR2067   Observ ation Shee ts           Chart containing basic information         WIF   (b)(4) &    The chart contains ob servations animals in the study over a
                                         for animals in a study on the effects            (b)(7)(C)   specified interval of time, including body weight and
                                         of a drug on an animal                                       amount of food eaten by the animal. The chart also
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LSR2068   Observ ation Shee ts           Chart containing basic information         WIF   (b)(4) &    The chart contains ob servations animals in the study over a
                                         for animals in a study on the effects            (b)(7)(C)   specified interval of time, including body weight and
                                         of a drug on an animal                                       amount of food eaten by the animal. The chart also
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                                                                                                      taken, and the initials of the HLS employee recording the
                                                                                                      observations.

LSR2069   Observ ation Shee ts            Chart containing basic information        WIF   (b)(4) &    The chart contains ob servations animals in the study over a
                                          for animals in a study on the effects           (b)(7)(C)   specified interval of time, including body weight and
                                          of a drug on an animal                                      amount of food eaten by the animal. The chart also
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LSR2070   Observ ation Shee ts           Chart containing basic information         WIF   (b)(4) &    The chart contains ob servations animals in the study over a
                                         for animals in a study on the effects            (b)(7)(C)   specified interval of time, including body weight and
                                         of a drug on an animal                                       amount of food eaten by the animal. The chart also
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                                                                                                      taken, and the initials of the HLS employee recording the
                                                                                                      observations.

LSR2071   Observ ation Shee ts           Chart containing basic information         WIF   (b)(4) &    The chart contains ob servations animals in the study over a
                                         for animals in a study on the effects            (b)(7)(C)   specified interval of time, including body weight and
                                         of a drug on an animal                                       amount of food eaten by the animal. The chart also
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                                                                                                      taken, and the initials of the HLS employee recording the
                                                                                                      observations.

LSR2151   Observ ation Shee ts           Chart containing basic information         WIF   (b)(4) &    The chart contains ob servations animals in the study over a
                                         for animals in a study on the effects            (b)(7)(C)   specified interval of time, including body weight and
                                         of a drug on an animal                                       amount of food eaten by the animal. The chart also
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                                                                                                      animal numbe r, the time and date the observa tions were
                                                                                                      taken, and the initials of the HLS employee recording the
                                                                                                      observations.

LSR2157   Observ ation Shee ts            Chart containing basic information        WIF   (b)(4) &    The chart contains ob servations animals in the study over a
                                          for animals in a study on the effects           (b)(7)(C)   specified interval of time, including body weight and
                                          of a drug on an animal                                      amount of food eaten by the animal. The chart also
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LSR2165   Observ ation Shee ts           Chart containing basic information        WIF   (b)(4) &    The chart contains ob servations animals in the study over a
                                         for animals in a study on the effects           (b)(7)(C)   specified interval of time, including body weight and
                                         of a drug on an animal                                      amount of food eaten by the animal. The chart also
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